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In re            USA Commercial Mortgage Company                    ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                            EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                   Mailing Address                     Loan Name            Amount    Contingent
        First Savings Bank Custodian For Carol J. Simcock IRA       P O Box 2932                   Lerin Hills                         Unknown            Y
                                                                    Sunnyvale, CA 94087
        First Savings Bank Custodian For Carol J. Simcock IRA       P O Box 2932                   Marquis Hotel                       Unknown            Y
                                                                    Sunnyvale, CA 94087
        First Savings Bank Custodian For Carol J. Simcock IRA       P O Box 2932                   Marquis Hotel                       Unknown            Y
                                                                    Sunnyvale, CA 94087
        First Savings Bank Custodian For Carol Kiland IRA           20 Via Potenza Court           Placer Vineyards                    Unknown            Y
                                                                    Henderson, NV 89011
        First Savings Bank Custodian For Carol Kiland IRA           20 Via Potenza Court           BarUSA/$15,300,000                  Unknown            Y
                                                                    Henderson, NV 89011
        First Savings Bank Custodian For Carolyn Rand Samuelson IRA 3933 Ocean Drive               Hasley Canyon                       Unknown            Y
                                                                    Oxnard, CA 93035
        First Savings Bank Custodian For Carolyn Rand Samuelson IRA 3933 Ocean Drive               Hasley Canyon                       Unknown            Y
                                                                    Oxnard, CA 93035
        First Savings Bank Custodian For Cesari Piazza IRA          1401 Monterey Drive            Bay Pompano Beach                   Unknown            Y
                                                                    Boulder City, NV 89005
        First Savings Bank Custodian For Cesari Piazza IRA          1401 Monterey Drive            Marlton Square                      Unknown            Y
                                                                    Boulder City, NV 89005
        First Savings Bank Custodian For Charles Kastler, III IRA   9170 Heritage Ridge Ct         Marlton Square 2nd                  Unknown            Y
                                                                    Reno, NV 89523
        First Savings Bank Custodian For Charles Kastler, III IRA   9170 Heritage Ridge Ct         Marlton Square 2nd                  Unknown            Y
                                                                    Reno, NV 89523
        First Savings Bank Custodian For Charles Kastler, III IRA   9170 Heritage Ridge Ct         HFA- Windham                        Unknown            Y
                                                                    Reno, NV 89523
        First Savings Bank Custodian For Charles Kastler, III IRA   9170 Heritage Ridge Ct         HFA- Windham                        Unknown            Y
                                                                    Reno, NV 89523
        First Savings Bank Custodian for Christian Hansen IRA       1466 Westwind Road             Eagle Meadows Development           Unknown            Y
                                                                    Las Vegas, NV 89146
        First Savings Bank Custodian for Christian Hansen IRA       1466 Westwind Road             Eagle Meadows Development           Unknown            Y
                                                                    Las Vegas, NV 89146
        First Savings Bank Custodian For Curtis Hattsrom IRA        14222 W Via Montoya            Harbor Georgetown                   Unknown            Y
                                                                    Sun City West, AZ 85375
        First Savings Bank Custodian For Curtis Hattsrom IRA        14222 W Via Montoya            Harbor Georgetown                   Unknown            Y
                                                                    Sun City West, AZ 85375
        First Savings Bank Custodian For Daniel O. Conner, IRA      5231 Suzy Saly Place           Amesbury/Hatters Point              Unknown            Y
                                                                    Las Vegas, NV 89122
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Tapia Ranch                         Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Tapia Ranch                         Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Tapia Ranch                         Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Midvale Marketplace, LLC            Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Midvale Marketplace, LLC            Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Midvale Marketplace, LLC            Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Brookmere/Matteson $27,050,000      Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Brookmere/Matteson $27,050,000      Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Daniel T. Drubin IRA       1363 W Stony Run Pl            Brookmere/Matteson $27,050,000      Unknown            Y
                                                                    Oro Valley, AZ 85755
        First Savings Bank Custodian For Darrell Rogers IRA         2869 Del Mar Dr.               Harbor Georgetown                   Unknown            Y
                                                                    Minden, NV 89423
        First Savings Bank Custodian For Darrell Rogers IRA         2869 DelMar Drive              Harbor Georgetown                   Unknown            Y
                                                                    Minden, NV 89423
        First Savings Bank Custodian For David G. Bremner IRA       2870 NW Kline Street           Ashby Financial $7,200,000          Unknown            Y
                                                                    Roseburg, OR 97470




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In re            USA Commercial Mortgage Company                   ,                                                                  Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                            EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                               Legal vesting                                    Mailing Address                     Loan Name            Amount    Contingent
        First Savings Bank Custodian For David G. Bremner IRA       2870 NW Kline Street           Ashby Financial $7,200,000          Unknown            Y
                                                                    Roseburg, OR 97470
        First Savings Bank Custodian For David M. Berkowitz SEP/IRA 2013 Ottawa Drive              Bay Pompano Beach                   Unknown            Y
                                                                    Las Vegas, NV 89109
        First Savings Bank Custodian For David Stoebling IRA        3568 E Russell Rd Ste D        HFA- Riviera 2nd                    Unknown            Y
                                                                    Las Vegas, NV 89120
        First Savings Bank Custodian For David Stoebling IRA        3568 E Russell Rd Ste D        HFA- Riviera 2nd                    Unknown            Y
                                                                    Las Vegas, NV 89120
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      Marlton Square 2nd                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      Marlton Square 2nd                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 NE 38th Ct Apt #1803     Marlton Square 2nd                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      BarUSA/$15,300,000                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      BarUSA/$15,300,000                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 NE 38th Ct Apt #1803     BarUSA/$15,300,000                  Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      Amesbury/Hatters Point              Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 Porto Vita Way 1803      Amesbury/Hatters Point              Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis Flier IRA           20155 NE 38th Ct Apt #1803     Amesbury/Hatters Point              Unknown            Y
                                                                    Aventura, FL 33180
        First Savings Bank Custodian For Dennis J. Dalton, IRA      P O Box 402                    Amesbury/Hatters Point              Unknown            Y
                                                                    Hatch, UT 84735
        First Savings Bank Custodian For Dennis J. Dalton, IRA      P O Box 402                    Amesbury/Hatters Point              Unknown            Y
                                                                    Hatch, UT 84735
        First Savings Bank Custodian For Dennis J. Dalton, IRA      P O Box 402                    Hasley Canyon                       Unknown            Y
                                                                    Hatch, UT 84735
        First Savings Bank Custodian For Dennis J. Dalton, IRA      P O Box 402                    Hasley Canyon                       Unknown            Y
                                                                    Hatch, UT 84735
        First Savings Bank Custodian For Dianna Wilkinson, IRA      RR1 Box 55E                    Marlton Square                      Unknown            Y
                                                                    Kooskia, ID 83539
        First Savings Bank Custodian For Dianna Wilkinson, IRA      RR1 Box 55E                    Marlton Square                      Unknown            Y
                                                                    Kooskia, ID 83539
        First Savings Bank Custodian for Donald C. Dunbar IRA       18124 Wedge Pkwy #153          Amesbury/Hatters Point              Unknown            Y
                                                                    Reno, NV 89511
        First Savings Bank Custodian for Donald C. Dunbar IRA       18124 Wedge Pkwy # 153         Amesbury/Hatters Point              Unknown            Y
                                                                    Reno, NV 89511
        First Savings Bank Custodian for Donald Lechman IRA         2561 Date Circle               Gateway Stone                       Unknown            Y
                                                                    Torrance, CA 90505
        First Savings Bank Custodian for Donald Lechman IRA         2561 Date Circle               Eagle Meadows Development           Unknown            Y
                                                                    Torrance, CA 90505
        First Savings Bank Custodian For Earlene E Fitzner IRA      7456 W Mulford Street          Amesbury/Hatters Point              Unknown            Y
                                                                    Niles, IL 60714
        First Savings Bank Custodian For Earlene E Fitzner IRA      7456 W Mulford Street          Brookmere/Matteson $27,050,000      Unknown            Y
                                                                    Niles, IL 60714
        First Savings Bank Custodian For Edward Burgess IRA         P O Box 422                    Fiesta Oak Valley                   Unknown            Y
                                                                    Royal, AR 71968
        First Savings Bank Custodian For Edward Burgess IRA         P O Box 422                    Gateway Stone                       Unknown            Y
                                                                    Royal, AR 71968
        First Savings Bank Custodian For Edward Burgess IRA         P O Box 422                    Gramercy Court Condos               Unknown            Y
                                                                    Royal, AR 71968
        First Savings Bank Custodian For Edward Burgess IRA         P O Box 422                    HFA- Clear Lake                     Unknown            Y
                                                                    Royal, AR 71968
        First Savings Bank Custodian For Edward Burgess IRA         P O Box 422                    Marquis Hotel                       Unknown            Y
                                                                    Royal, AR 71968




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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                 Legal vesting                                     Mailing Address                     Loan Name           Amount     Contingent
        First Savings Bank Custodian For Edward Burgess IRA            P O Box 422                    Amesbury/Hatters Point              Unknown          Y
                                                                       Royal, AR 71968
        First Savings Bank Custodian For Edward C. Fraser IRA          14220 Sorrel Lane              Brookmere/Matteson $27,050,000      Unknown          Y
                                                                       Reno, NV 89511
        First Savings Bank Custodian For Edward C. Fraser IRA          14220 Sorrel Lane              Brookmere/Matteson $27,050,000      Unknown          Y
                                                                       Reno, NV 89511
        First Savings Bank Custodian For Edward Galvin IRA             3970 Saddlewood Court          Placer Vineyards 2nd                Unknown          Y
                                                                       Las Vegas, NV 89121
        First Savings Bank Custodian for Edwin E. Arnold IRA           20170 Redwood Drive            Margarita Annex                     Unknown          Y
                                                                       Foresthill, CA 95631
        First Savings Bank Custodian For Ellis L. Elgart IRA           4534 White Cedar Lane          Gramercy Court Condos               Unknown          Y
                                                                       Delray Beach, FL 33445
        First Savings Bank Custodian For Ellis L. Elgart IRA           4534 White Cedar Lane          Gramercy Court Condos               Unknown          Y
                                                                       Delray Beach, FL 33445
        First Savings Bank Custodian For Ernest W. Libman, IRA         1709 Glenview Drive            Amesbury/Hatters Point              Unknown          Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Ernest W. Libman, IRA         1709 Glenview Dr               Amesbury/Hatters Point              Unknown          Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Eugene F. Koppenhaver IRA                                    Brookmere/Matteson $27,050,000      Unknown          Y

        First Savings Bank Custodian For Eva M. Gehle Roth IRA         9123 Garden View Drive         Gramercy Court Condos               Unknown          Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Frank C. Kendrick IRA         3140 Scarlet Oaks Court        Fiesta Oak Valley                   Unknown          Y
                                                                       Sparks, NV 89436
        First Savings Bank Custodian For Frank T. Novak IRA            2593 Sumter Street             Wasco Investments                   Unknown          Y
                                                                       Henderson, NV 89052
        First Savings Bank Custodian For Frank T. Novak IRA            2593 Sumter St                 Wasco Investments                   Unknown          Y
                                                                       Henderson, NV 89052
        First Savings Bank Custodian For Frank T. Novak IRA            2593 Sumter Street             Gramercy Court Condos               Unknown          Y
                                                                       Henderson, NV 89052
        First Savings Bank Custodian For Frank T. Novak IRA            2593 Sumter St                 Gramercy Court Condos               Unknown          Y
                                                                       Henderson, NV 89052
        First Savings Bank Custodian For Gary D. Ward IRA              26077 Charing Cross Rd         Marlton Square                      Unknown          Y
                                                                       Valencia, CA 91355
        First Savings Bank Custodian For Gary DeMaine IRA              12602 James Circle             Gramercy Court Condos               Unknown          Y
                                                                       Broomfield, CO 80020
        First Savings Bank Custodian For Gary DeMaine IRA              12602 James Circle             Marlton Square                      Unknown          Y
                                                                       Broomfield, CO 80020
        First Savings Bank Custodian For Gary McMahon SEP IRA          2921 Granite Point Dr          6425 Gess, LTD                      Unknown          Y
                                                                       Reno, NV 89511
        First Savings Bank Custodian For Gary McMahon SEP IRA          2921 Granite Point Dr          HFA- North Yonkers                  Unknown          Y
                                                                       Reno, NV 89511
        First Savings Bank Custodian For George A. Di Gioia IRA        1843 Bougainvillea Dr.         Placer Vineyards                    Unknown          Y
                                                                       Minden, NV 89423
        First Savings Bank Custodian For George A. Di Gioia IRA        1843 Bougainvillea Dr.         BarUSA/$15,300,000                  Unknown          Y
                                                                       Minden, NV 89423
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Road         Gramercy Court Condos               Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Rd           Gramercy Court Condos               Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Road         Hasley Canyon                       Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Rd           Hasley Canyon                       Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Road         HFA- Riviera 2nd                    Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Rd           HFA- Riviera 2nd                    Unknown          Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Road         Tapia Ranch                         Unknown          Y
                                                                       Poolesville, MD 20837




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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                     Loan Name           Amount     Contingent
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Rd           Tapia Ranch                         Unknown         Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Road         Eagle Meadows Development           Unknown         Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George J. Motto IRA           17212 Spates Hill Rd           Eagle Meadows Development           Unknown         Y
                                                                       Poolesville, MD 20837
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Gateway Stone                       Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Gateway Stone                       Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Eagle Meadows Development           Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Eagle Meadows Development           Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Bay Pompano Beach                   Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Bay Pompano Beach                   Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Marlton Square                      Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For George W. Hubbard Roth IRA    6340 N Calle Tregua Serena     Marlton Square                      Unknown         Y
                                                                       Tucson, AZ 85750
        First Savings Bank Custodian For Gerald J. Caron IRA           1956 Barranca Drive            Placer Vineyards 2nd                Unknown         Y
                                                                       Henderson, NV 89074
        First Savings Bank Custodian For Gordon Cross IRA              5009 Forest Oaks               Amesbury/Hatters Point              Unknown         Y
                                                                       Las Vegas, NV 89129
        First Savings Bank Custodian For Harriet Kutzman IRA           2529 High Range Drive          Marlton Square                      Unknown         Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Harvey Alderson IRA           4941 E Harris Avenue           BarUSA/$15,300,000                  Unknown         Y
                                                                       Las Vegas, NV 89110
        First Savings Bank Custodian For Harvey Alderson IRA           4941 East Harris Avenue        BarUSA/$15,300,000                  Unknown         Y
                                                                       Las Vegas, NV 89110
        First Savings Bank Custodian For Harvey Alderson IRA           4941 E Harris Avenue           Fiesta Oak Valley                   Unknown         Y
                                                                       Las Vegas, NV 89110
        First Savings Bank Custodian For Harvey Alderson IRA           4941 East Harris Avenue        Fiesta Oak Valley                   Unknown         Y
                                                                       Las Vegas, NV 89110
        First Savings Bank Custodian for Henri L. Louvigny IRA         2648 Aspen Valley Ln           BarUSA/$15,300,000                  Unknown         Y
                                                                       Sacramento, CA 95835
        First Savings Bank Custodian for Henri L. Louvigny IRA         2648 Aspen Valley Ln.          BarUSA/$15,300,000                  Unknown         Y
                                                                       Sacramento, CA 95835
        First Savings Bank Custodian for Henri L. Louvigny IRA         2648 Aspen Valley Ln           Gramercy Court Condos               Unknown         Y
                                                                       Sacramento, CA 95835
        First Savings Bank Custodian for Henri L. Louvigny IRA         2648 Aspen Valley Ln.          Gramercy Court Condos               Unknown         Y
                                                                       Sacramento, CA 95835
        First Savings Bank Custodian For Herbert R. Heider IRA         9721 SW 192 Ct Rd              Fiesta Oak Valley                   Unknown         Y
                                                                       Dunnellon, FL 34432
        First Savings Bank Custodian For Herbert R. Heider IRA         9721 SW 192 Ct Rd              Brookmere/Matteson $27,050,000      Unknown         Y
                                                                       Dunnellon, FL 34432
        First Savings Bank Custodian For Howard Molitch IRA            4448 NW Crescent Valley Dr     Gramercy Court Condos               Unknown         Y
                                                                       Corvallis, OR 97330
        First Savings Bank Custodian For Ian Yamane IRA                2304 Silver Bluff Ct           Amesbury/Hatters Point              Unknown         Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Jack Mennis IRA               4074 Little Spring Drive       6425 Gess, LTD                      Unknown         Y
                                                                       Allison Park, PA 15101
        First Savings Bank Custodian For Jack Mennis IRA               4074 Little Spring Drive       6425 Gess, LTD                      Unknown         Y
                                                                       Allison Park, PA 15101
        First Savings Bank Custodian For Jack Mennis IRA               4074 Little Spring Drive       Bay Pompano Beach                   Unknown         Y
                                                                       Allison Park, PA 15101
        First Savings Bank Custodian For Jack Mennis IRA               4074 Little Spring Drive       Bay Pompano Beach                   Unknown         Y
                                                                       Allison Park, PA 15101




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In re            USA Commercial Mortgage Company                        ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                               (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                                Description and Location of Property                                               Property


                                Legal vesting                                       Mailing Address                      Loan Name           Amount     Contingent
        First Savings Bank Custodian For Jacqueline ThurmondIRA         1512 MacDonald Ranch Dr         HFA- Clear Lake                     Unknown         Y
                                                                        Henderson, NV 89012
        First Savings Bank Custodian For Jacqueline ThurmondIRA         347 Marlin Cove Road            HFA- Clear Lake                     Unknown         Y
                                                                        Henderson, NV 89012
        First Savings Bank Custodian For Jacqueline ThurmondIRA         1512 MacDonald Ranch Dr         HFA- Clear Lake                     Unknown         Y
                                                                        Henderson, NV 89012
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          BarUSA/$15,300,000                  Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          BarUSA/$15,300,000                  Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Castaic Partners II, LLC            Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Castaic Partners II, LLC            Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Gramercy Court Condos               Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Gramercy Court Condos               Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James C. Presswood IRA         9227 Arbor Trail Drive          Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                        Dallas, TX 75243
        First Savings Bank Custodian For James D. Gillmore IRA          17502 N Rainbow Blvd            Marlton Square                      Unknown         Y
                                                                        Surprise, AZ 85734
        First Savings Bank Custodian For James F. Eves IRA              P O Box 6860                    6425 Gess, LTD                      Unknown         Y
                                                                        Incline Village, NV 89450
        First Savings Bank Custodian for James M. McConnell IRA         970 Fairway Blvd                Eagle Meadows Development           Unknown         Y
                                                                        Incline Village, NV 89451
        First Savings Bank Custodian for James M. McConnell IRA         970 Fairway Blvd.               Eagle Meadows Development           Unknown         Y
                                                                        Incline Village, NV 89451
        First Savings Bank Custodian For James N. Deglandon IRA         P O Box 958                     Harbor Georgetown                   Unknown         Y
                                                                        North San Juan, CA 95960
        First Savings Bank Custodian For James N. Deglandon IRA         P O Box 958                     Harbor Georgetown                   Unknown         Y
                                                                        North San Juan, CA 95960
        First Savings Bank Custodian For James W. Shaw IRA              14225 Prairie Flower Ct         HFA- North Yonkers                  Unknown         Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For James W. Shaw IRA              14225 Prairie Flower Ct         Margarita Annex                     Unknown         Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Janice A. Lucas, IRA           1310 Secret Lake Loop           Bay Pompano Beach                   Unknown         Y
                                                                        Lincoln, CA 95648
        First Savings Bank Custodian For Jay P. Hingst IRA              7287 E. Mingus Trail            Placer Vineyards                    Unknown         Y
                                                                        Prescott Valley, AZ 86314
        First Savings Bank Custodian For Jay P. Hingst IRA              7287 E. Mingus Trail            Gramercy Court Condos               Unknown         Y
                                                                        Prescott Valley, AZ 86314
        First Savings Bank Custodian For Jay P. Hingst IRA              7287 E. Mingus Trail            6425 Gess, LTD                      Unknown         Y
                                                                        Prescott Valley, AZ 86314
        First Savings Bank Custodian For Joan Sailon IRA                2436 Cliffwood Drive            BarUSA/$15,300,000                  Unknown         Y
                                                                        Henderson, NV 89074
        First Savings Bank Custodian For Jocelyne Helzer IRA            115 S S Deer Run Rd             BarUSA/$15,300,000                  Unknown         Y
                                                                        Carson City, NV 89701
        First Savings Bank Custodian For Jocelyne Helzer IRA            115 South Deer Run              BarUSA/$15,300,000                  Unknown         Y
                                                                        Carson City, NV 89701
        First Savings Bank Custodian For Jocelyne Helzer IRA            115 S Deer Run Rd               BarUSA/$15,300,000                  Unknown         Y
                                                                        Carson City, NV 89701
        First Savings Bank Custodian for John A. Hoglund IRA            7574 E Green Lake Dr N          Eagle Meadows Development           Unknown         Y
                                                                        Seattle, WA 98103
        First Savings Bank Custodian for John A. Hoglund IRA            7574 E Green Lake Drive North   Eagle Meadows Development           Unknown         Y
                                                                        Seattle, WA 98103
        First Savings Bank Custodian for John A. M. Handal IRA          3575 Siskiyou Court             Gateway Stone                       Unknown         Y
                                                                        Hayward, CA 94542




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In re            USA Commercial Mortgage Company                       ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                Legal vesting                                     Mailing Address                      Loan Name           Amount     Contingent
        First Savings Bank Custodian for John A. M. Handal IRA         3575 Siskiyou Court            Gateway Stone                       Unknown         Y
                                                                       Hayward, CA 94542
        First Savings Bank Custodian for John A. M. Handal IRA         3575 Siskiyou Court            Eagle Meadows Development           Unknown         Y
                                                                       Hayward, CA 94542
        First Savings Bank Custodian for John A. M. Handal IRA         3575 Siskiyou Court            Eagle Meadows Development           Unknown         Y
                                                                       Hayward, CA 94542
        First Savings Bank Custodian For John Bauer IRA                40808 N. Riverbend             Freeway 101                         Unknown         Y
                                                                       Anthem, AZ 85086
        First Savings Bank Custodian For John Bauer IRA                40808 N. Riverbend             Marlton Square                      Unknown         Y
                                                                       Anthem, AZ 85086
        First Savings Bank Custodian For John C. Dunklee IRA           700 Flanders Road              Fiesta Oak Valley                   Unknown         Y
                                                                       Reno, NV 89511
        First Savings Bank Custodian For John Cooke IRA                9790 Brightridge Drive         HFA- Riviera 2nd                    Unknown         Y
                                                                       Reno, NV 89506
        First Savings Bank Custodian For John Cooke IRA                9790 Brightridge Drive         Placer Vineyards 2nd                Unknown         Y
                                                                       Reno, NV 89506
        First Savings Bank Custodian For John Cooke IRA                9790 Brightridge Drive         Brookmere/Matteson $27,050,000      Unknown         Y
                                                                       Reno, NV 89506
        First Savings Bank Custodian For John Lloyd IRA                6050 Glowing Cottage Ct        Amesbury/Hatters Point              Unknown         Y
                                                                       Las Vegas, NV 89139
        First Savings Bank Custodian For John Lloyd IRA                6050 Glowing Cottage Ct        Amesbury/Hatters Point              Unknown         Y
                                                                       Las Vegas, NV 89139
        First Savings Bank Custodian For John W. Brouwers MD SEP       2333 Dolphin Court             Lerin Hills                         Unknown         Y
        IRA                                                            Henderson, NV 89074
        First Savings Bank Custodian For John W. Brouwers MD SEP       2333 Dolphin Court             Lerin Hills                         Unknown         Y
        IRA                                                            Henderson, NV 89074
        First Savings Bank Custodian For John W. Brouwers MD SEP       2333 Dolphin Court             Marlton Square                      Unknown         Y
        IRA                                                            Henderson, NV 89074
        First Savings Bank Custodian For John W. Brouwers MD SEP       2333 Dolphin Court             Marlton Square                      Unknown         Y
        IRA                                                            Henderson, NV 89074
        First Savings Bank Custodian For Joseph Davis IRA              3100 Ashby Avenue              Brookmere/Matteson $27,050,000      Unknown         Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Joseph Davis IRA              3100 Ashby Avenue              Brookmere/Matteson $27,050,000      Unknown         Y
                                                                       Las Vegas, NV 89102
        First Savings Bank Custodian For Karen E. Sass IRA             250 River Front Drive          Placer Vineyards                    Unknown         Y
                                                                       Reno, NV 89523
        First Savings Bank Custodian for Kenneth A. Wener IRA          226 California Ave.            Marlton Square 2nd                  Unknown         Y
                                                                       Reno, NV 89509
        First Savings Bank Custodian For Kenneth Addes IRA             100 W Broadway Apt # 7V        6425 Gess, LTD                      Unknown         Y
                                                                       Long Beach, NY 11561
        First Savings Bank Custodian For Kenneth Addes IRA             100 W Broadway Apt # 7V        6425 Gess, LTD                      Unknown         Y
                                                                       Long Beach, NY 11561
        First Savings Bank Custodian For Kenneth H. Wyatt IRA          P. O. Box 370400               6425 Gess, LTD                      Unknown         Y
                                                                       Las Vegas, NV 89137
        First Savings Bank Custodian For Kenneth H. Wyatt IRA          P .O. Box 370400               6425 Gess, LTD                      Unknown         Y
                                                                       Las Vegas, NV 89137
        First Savings Bank Custodian For Kenneth H. Wyatt IRA          P.O. Box 370400                6425 Gess, LTD                      Unknown         Y
                                                                       Las Vegas, NV 89137
        First Savings Bank Custodian For Kenneth H. Wyatt IRA          P O Box 370400                 6425 Gess, LTD                      Unknown         Y
                                                                       Las Vegas, NV 89137
        First Savings Bank Custodian For Kevin Taylor IRA              P O Box 911209                 Amesbury/Hatters Point              Unknown         Y
                                                                       St. George, UT 84791
        First Savings Bank Custodian For Kevin Taylor IRA              P O Box 911209                 BarUSA/$15,300,000                  Unknown         Y
                                                                       St. George, UT 84791
        First Savings Bank Custodian For Kevin Taylor IRA              P O Box 911209                 Bay Pompano Beach                   Unknown         Y
                                                                       St. George, UT 84791
        First Savings Bank Custodian For Kip E. Virts IRA              5925 Bar Harbor Ct             BarUSA/$15,300,000                  Unknown         Y
                                                                       Elk Grove, CA 95758
        First Savings Bank Custodian For Kip E. Virts IRA              5925 Bar Harbor Crt            BarUSA/$15,300,000                  Unknown         Y
                                                                       Elk Grove, CA 95758




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In re            USA Commercial Mortgage Company                         ,                                                                 Case No. 06-10725-LBR
                                    Debtor                                                                                                              (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                                 Description and Location of Property                                              Property


                                 Legal vesting                                       Mailing Address                     Loan Name           Amount     Contingent
        First Savings Bank Custodian for Kristie A. Kayser IRA           8647 Solera Drive              Eagle Meadows Development           Unknown         Y
                                                                         San Jose, CA 95135
        First Savings Bank Custodian For L. Earle Romak IRA              P O Box 6185                   Amesbury/Hatters Point              Unknown         Y
                                                                         Incline Village, NV 89450
        First Savings Bank Custodian For L. Earle Romak IRA              P O Box 6185                   Gramercy Court Condos               Unknown         Y
                                                                         Incline Village, NV 89450
        First Savings Bank Custodian For L. Earle Romak IRA              P O Box 6185                   HFA- North Yonkers                  Unknown         Y
                                                                         Incline Village, NV 89450
        First Savings Bank Custodian For L. Earle Romak IRA              P O Box 6185                   Marquis Hotel                       Unknown         Y
                                                                         Incline Village, NV 89450
        First Savings Bank Custodian For L. Ronald Trepp IRA             13829 Jolly Roger St           Gramercy Court Condos               Unknown         Y
                                                                         Corpus Chrisi, TX 78418
        First Savings Bank Custodian For Lamberto Eugenio IRA            3012 Crib Point Drive          Fiesta Oak Valley                   Unknown         Y
                                                                         Las Vegas, NV 89134
        First Savings Bank Custodian For Lamberto Eugenio IRA            3012 Crib Point Drive          Gramercy Court Condos               Unknown         Y
                                                                         Las Vegas, NV 89134
        First Savings Bank Custodian For Lamberto Eugenio IRA            3012 Crib Point Drive          Huntsville                          Unknown         Y
                                                                         Las Vegas, NV 89134
        First Savings Bank Custodian For Lance M. Patrick IRA            4122 E McLellan # 3            Bay Pompano Beach                   Unknown         Y
                                                                         Mesa, AZ 85205
        First Savings Bank Custodian For Lance M. Patrick IRA            4122 E MC Lellan Rd Unit 3     Bay Pompano Beach                   Unknown         Y
                                                                         Mesa, AZ 85205
        First Savings Bank Custodian For Larry H. Anderson IRA           13250 Mahgony Dr               Placer Vineyards                    Unknown         Y
                                                                         Reno, NV 89511
        First Savings Bank Custodian For Larry H. Anderson IRA           13250 Mahogany Dr              Placer Vineyards                    Unknown         Y
                                                                         Reno, NV 89511
        First Savings Bank Custodian For Larry H. Anderson IRA           13250 Mahogany Dr              Placer Vineyards                    Unknown         Y
                                                                         Reno, NV 89511
        First Savings Bank Custodian For Larry L. Rieger IRA             2615 Glen Eagles Dr            Huntsville                          Unknown         Y
                                                                         Reno, NV 89523
        First Savings Bank Custodian for Leo W. Lloyd IRA                P O Box 347 379 E Lakeside     Eagle Meadows Development           Unknown         Y
                                                                         Bayfield, CO 81122
        First Savings Bank Custodian For Linda S. Reed IRA               259 Overlook Drive             HFA- North Yonkers                  Unknown         Y
                                                                         Cadiz, KY 42211
        First Savings Bank Custodian for Lindsey H. Kesler Jr. IRA       4847 Damon Circle              Gramercy Court Condos               Unknown         Y
                                                                         Salt Lake City, UT 84117
        First Savings Bank Custodian for Lindsey H. Kesler Jr. IRA       4847 Damon Circle              Marlton Square                      Unknown         Y
                                                                         Salt Lake City, UT 84117
        First Savings Bank Custodian for Lindsey H. Kesler Jr. IRA       4847 Damon Circle              Marquis Hotel                       Unknown         Y
                                                                         Salt Lake City, UT 84117
        First Savings Bank Custodian for Lindsey H. Kesler Jr. IRA       4847 Damon Circle              Gateway Stone                       Unknown         Y
                                                                         Salt Lake City, UT 84117
        First Savings Bank Custodian For Lloyd Frey IRA                  16 Meredith Drive              6425 Gess, LTD                      Unknown         Y
                                                                         Nashua, NH 3063
        First Savings Bank Custodian For Lloyd Frey IRA                  16 Meredith Drive              Amesbury/Hatters Point              Unknown         Y
                                                                         Nashua, NH 3063
        First Savings Bank Custodian For Louis Canepa IRA                1395 HillTop Rd                Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                         Reno, NV 89509
        First Savings Bank Custodian For Louis Canepa IRA                1395 HillTop Rd                Opaque/Mt. Edge $7,350,000          Unknown         Y
                                                                         Reno, NV 89509
        First Savings Bank Custodian For Louis Canepa IRA                1395 HillTop Rd                Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Reno, NV 89509
        First Savings Bank Custodian For Louis Canepa IRA                1395 HillTop Rd                Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Reno, NV 89509
        First Savings Bank Custodian For Louise Teeter IRA Rollover      4201 Via Marina 300            Amesbury/Hatters Point              Unknown         Y
                                                                         Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover      4201 Via Marina 300            Bay Pompano Beach                   Unknown         Y
                                                                         Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover      4201 Via Marina 300            Fiesta Oak Valley                   Unknown         Y
                                                                         Marina Del Rey, CA 90292




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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                              Description and Location of Property                                                   Property


                                Legal vesting                                     Mailing Address                     Loan Name                Amount     Contingent
        First Savings Bank Custodian For Louise Teeter IRA Rollover   4201 Via Marina 300            Fiesta USA/Stoneridge                    Unknown         Y
                                                                      Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover   4201 Via Marina 300            Gateway Stone                            Unknown         Y
                                                                      Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover   4201 Via Marina 300            Gramercy Court Condos                    Unknown         Y
                                                                      Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover   4201 Via Marina 300            Placer Vineyards                         Unknown         Y
                                                                      Marina Del Rey, CA 90292
        First Savings Bank Custodian For Louise Teeter IRA Rollover   4201 Via Marina 300            Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Marina Del Rey, CA 90292
        First Savings Bank Custodian For Lynn Fetterly IRA            P O Box 5986                   Fiesta Oak Valley                        Unknown         Y
                                                                      Incline Village, NV 89451
        First Savings Bank Custodian For Lynn Fetterly IRA            P O Box 5986                   HFA- Clear Lake                          Unknown         Y
                                                                      Incline Village, NV 89451
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Marquis Hotel                            Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Fiesta Oak Valley                        Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Fiesta USA/Stoneridge                    Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Freeway 101                              Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Gateway Stone                            Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             HFA- Clear Lake                          Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             6425 Gess, LTD                           Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian For Manuel G. Rice IRA           2061 Sea Cove Lane             Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Costa Mesa, CA 92627
        First Savings Bank Custodian for Marcelle A. Louvigny IRA     2648 Aspen Valley Lane         Riviera - Homes for America Holdings,    Unknown         Y
                                                                      Sacramento, CA 95835           L.L.C.
        First Savings Bank Custodian for Marguerite F. Harrison IRA   930 Dorcey Drive               Gateway Stone                            Unknown         Y
                                                                      Incline Village, NV 89451
        First Savings Bank Custodian For Marion C.Sharp IRA           20 Leroy Terrace               BarUSA/$15,300,000                       Unknown         Y
                                                                      New Haven, CT 6512
        First Savings Bank Custodian For Marion C.Sharp IRA           20 Leroy Terrace               Huntsville                               Unknown         Y
                                                                      New Haven, CT 6512
        First Savings Bank Custodian For Martin W. McColly IRA        1009 Domnus Lane #102          Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89144
        First Savings Bank Custodian For Martin W. McColly IRA        1009 Domnus Lane #102          Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89144
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Marlton Square                           Unknown         Y
                                                                      La Mesa, CA 91941
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Marlton Square                           Unknown         Y
                                                                      La Mesa , CA 91941
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Anchor B, LLC                            Unknown         Y
                                                                      La Mesa, CA 91941
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Anchor B, LLC                            Unknown         Y
                                                                      La Mesa , CA 91941
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Eagle Meadows Development                Unknown         Y
                                                                      La Mesa, CA 91941
        First Savings Bank Custodian For Marvin Nicola, IRA           10447 Chevy Lane               Eagle Meadows Development                Unknown         Y
                                                                      La Mesa , CA 91941
        First Savings Bank Custodian for Mary Ann Rees IRA            2304 Sun Cliffs Street         BarUSA/$15,300,000                       Unknown         Y
                                                                      Las Vegas, NV 89134
        First Savings Bank Custodian for Mary Ann Rees IRA            2304 Sun Cliffs Street         Bay Pompano Beach                        Unknown         Y
                                                                      Las Vegas, NV 89134
        First Savings Bank Custodian For Mary Coleman IRA             2270 Silver Ridge Circle       Amesbury/Hatters Point                   Unknown         Y
                                                                      Reno, NV 89059




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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                    Mailing Address                  Loan Name              Amount    Contingent
        First Savings Bank Custodian For Mary Coleman IRA            2270 Silver Ridge Circle       Bay Pompano Beach                  Unknown            Y
                                                                     Reno, NV 89059
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             HFA- North Yonkers                 Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             HFA- North Yonkers                 Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             HFA- North Yonkers                 Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Tapia Ranch                        Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Tapia Ranch                        Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Tapia Ranch                        Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Harbor Georgetown                  Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Harbor Georgetown                  Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary H. Earp IRA            700 Post Oak Court             Harbor Georgetown                  Unknown            Y
                                                                     El Paso, TX 79932
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     Placer Vineyards                   Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     Placer Vineyards                   Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Ave South        Placer Vineyards                   Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     6425 Gess, LTD                     Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     6425 Gess, LTD                     Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Ave South        6425 Gess, LTD                     Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     BarUSA/$15,300,000                 Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Avenue South     BarUSA/$15,300,000                 Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Jellison IRA           1415 Lakeview Ave South        BarUSA/$15,300,000                 Unknown            Y
                                                                     Minneapolis, MN 55416
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              Tapia Ranch                        Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              Tapia Ranch                        Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              Amesbury/Hatters Point             Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              Amesbury/Hatters Point             Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              BarUSA/$15,300,000                 Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Mary Monica Cady IRA        3261 Waterview Ct              BarUSA/$15,300,000                 Unknown            Y
                                                                     Hayward, CA 94542
        First Savings Bank Custodian For Michael H. Greeley IRA      5631 Granary Way               HFA- North Yonkers                 Unknown            Y
                                                                     Athens , AL 35611
        First Savings Bank Custodian For Michael H. Greeley IRA      5631 Granary Way               HFA- North Yonkers                 Unknown            Y
                                                                     Athens, AL 35611
        First Savings Bank Custodian For Michael H. Greeley IRA      5631 Granary Way               Placer Vineyards                   Unknown            Y
                                                                     Athens , AL 35611
        First Savings Bank Custodian For Michael H. Greeley IRA      5631 Granary Way               Placer Vineyards                   Unknown            Y
                                                                     Athens, AL 35611
        First Savings Bank Custodian For Michael H. Greeley IRA      5631 Granary Way               HFA- Clear Lake                    Unknown            Y
                                                                     Athens , AL 35611




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In re            USA Commercial Mortgage Company                       ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                  (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                               Description and Location of Property                                                   Property


                                Legal vesting                                     Mailing Address                     Loan Name                 Amount     Contingent
        First Savings Bank Custodian For Michael H. Greeley IRA        5631 Granary Way               HFA- Clear Lake                          Unknown         Y
                                                                       Athens, AL 35611
        First Savings Bank Custodian For Michael J. McLaws IRA         755 Keokuk Lane                6425 Gess, LTD                           Unknown         Y
                                                                       Mendota Heights, MN 55120
        First Savings Bank Custodian For Michael J. McLaws IRA         755 Keokuk Lane                6425 Gess, LTD                           Unknown         Y
                                                                       Mendota Heights, MN 55120
        First Savings Bank Custodian For Michael J. McLaws IRA         755 Keokuk Lane                Gramercy Court Condos                    Unknown         Y
                                                                       Mendota Heights, MN 55120
        First Savings Bank Custodian For Michael J. McLaws IRA         755 Keokuk Lane                Gramercy Court Condos                    Unknown         Y
                                                                       Mendota Heights, MN 55120
        First Savings Bank Custodian For Michael Reed IRA              259 Overlook Drive             Castaic Partners II, LLC                 Unknown         Y
                                                                       Cadiz, KY 42211
        First Savings Bank Custodian For Michael S. Braida IRA         1168 Dover Lane                Bay Pompano Beach                        Unknown         Y
                                                                       Foster City, CA 94404
        First Savings Bank Custodian For Michael S. Braida IRA         1168 Dover Lane                6425 Gess, LTD                           Unknown         Y
                                                                       Foster City, CA 94404
        First Savings Bank Custodian For Michael S. Simcock IRA        7601 Killdeer Way              Marlton Square 2nd                       Unknown         Y
                                                                       Elk Grove, CA 95758
        First Savings Bank Custodian For Michael S. Simcock IRA        7601 Killldeer Way             Marlton Square 2nd                       Unknown         Y
                                                                       Elk Grove, CA 95758
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Bay Pompano Beach                        Unknown         Y
                                                                       Denver, CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Bay Pompano Beach                        Unknown         Y
                                                                       Denver , CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Eagle Meadows Development                Unknown         Y
                                                                       Denver, CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Eagle Meadows Development                Unknown         Y
                                                                       Denver , CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             HFA- North Yonkers                       Unknown         Y
                                                                       Denver, CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             HFA- North Yonkers                       Unknown         Y
                                                                       Denver , CO 80207
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Riviera - Homes for America Holdings,    Unknown         Y
                                                                       Denver, CO 80207               L.L.C.
        First Savings Bank Custodian for Nancy Brauer IRA              2222 Albion Street             Riviera - Homes for America Holdings,    Unknown         Y
                                                                       Denver , CO 80207              L.L.C.
        First Savings Bank Custodian For Nancy C. Serino IRA           177 Rainbow Dr #7730           Gateway Stone                            Unknown         Y
                                                                       Livingston, TX 77399
        First Savings Bank Custodian for Nancy R. Gilmour IRA          P O Box 1241                   Gateway Stone                            Unknown         Y
                                                                       Camano Island, WA 98282
        First Savings Bank Custodian for Nancy R. Gilmour IRA          P O Box 1241                   Wasco Investments                        Unknown         Y
                                                                       Camano Island, WA 98282
        First Savings Bank Custodian For Nelson L. Cohen IRA           9004 Rockville Ave             6425 Gess, LTD                           Unknown         Y
                                                                       Las Vegas, NV 89143
        First Savings Bank Custodian for Nila Ganahl SEP IRA           522 S San Vicente Ln           Eagle Meadows Development                Unknown         Y
                                                                       Anaheim, CA 92807
        First Savings Bank Custodian for Nila Ganahl SEP IRA           522 S San Vicente Ln           Gateway Stone                            Unknown         Y
                                                                       Anaheim, CA 92807
        First Savings Bank Custodian For Noel E. Rees IRA              2304 Sun Cliffs Street         Lerin Hills                              Unknown         Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Noel E. Rees IRA              2304 Sun Cliffs Street         Gramercy Court Condos                    Unknown         Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian for Orloff IRA                    275 Snowy River Circle         Eagle Meadows Development                Unknown         Y
                                                                       Henderson, NV 89074
        First Savings Bank Custodian For Pat Davis IRA                 104 Van Buren Court            BarUSA/$15,300,000                       Unknown         Y
                                                                       Colleyville, TX 76034
        First Savings Bank Custodian For Pat Davis IRA                 104 Van Buren Court            BarUSA/$15,300,000                       Unknown         Y
                                                                       Colleyville, TX 76034
        First Savings Bank Custodian For Pat Davis IRA                 104 Van Buren Court            BarUSA/$15,300,000                       Unknown         Y
                                                                       Colleyville, TX 76034




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In re            USA Commercial Mortgage Company                        ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                                Description and Location of Property                                          Property


                                Legal vesting                                        Mailing Address                 Loan Name           Amount    Contingent
        First Savings Bank Custodian For Pat Davis IRA                  104 Van Buren Court            Amesbury/Hatters Point          Unknown            Y
                                                                        Colleyville, TX 76034
        First Savings Bank Custodian For Pat Davis IRA                  104 Van Buren Court            Amesbury/Hatters Point          Unknown            Y
                                                                        Colleyville, TX 76034
        First Savings Bank Custodian For Pat Davis IRA                  104 Van Buren Court            Amesbury/Hatters Point          Unknown            Y
                                                                        Colleyville, TX 76034
        First Savings Bank Custodian For Patsy R. Rieger IRA            2615 Glen Eagles Drive         Gramercy Court Condos           Unknown            Y
                                                                        Reno, NV 89523
        First Savings Bank Custodian for Paul Bloch IRA                 2111 Strada Mia                Lerin Hills                     Unknown            Y
                                                                        Las Vegas, NV 89117
        First Savings Bank Custodian for Paul Bloch IRA                 2111 Strada Mia                Lerin Hills                     Unknown            Y
                                                                        Las Vegas, NV 89117
        First Savings Bank Custodian for Paula S. Bender IRA            733 Champagne                  Lerin Hills                     Unknown            Y
                                                                        Incline Village, NV 89451
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             6425 Gess, LTD                  Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             6425 Gess, LTD                  Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             6425 Gess, LTD                  Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             Placer Vineyards                Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             Placer Vineyards                Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peggy Ann Valley IRA           1952 Dolphin Place             Placer Vineyards                Unknown            Y
                                                                        Discovery Bay, CA 94514
        First Savings Bank Custodian For Peter C. Cranston IRA          8709 Litchfield Avenue         HFA- Clear Lake                 Unknown            Y
                                                                        Las Vegas, NV 89134
        First Savings Bank Custodian For Phyllis P. Wyatt IRA           P O Box 370400                 Bay Pompano Beach               Unknown            Y
                                                                        Las Vegas, NV 89137
        First Savings Bank Custodian For R. David Ferrera IRA           621 Mills Road                 HFA- Clear Lake                 Unknown            Y
                                                                        Sacramento, CA 95864
        First Savings Bank Custodian For R. David Ferrera IRA           621 Mills Road                 HFA- Clear Lake                 Unknown            Y
                                                                        Sacramento, CA 95864
        First Savings Bank Custodian For R. David Ferrera IRA           621 Mills Road                 Cabernet                        Unknown            Y
                                                                        Sacramento, CA 95864
        First Savings Bank Custodian For R. David Ferrera IRA           621 Mills Road                 Cabernet                        Unknown            Y
                                                                        Sacramento, CA 95864
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          HFA- North Yonkers              Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          HFA- North Yonkers              Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Placer Vineyards 2nd            Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Placer Vineyards 2nd            Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          6425 Gess, LTD                  Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          6425 Gess, LTD                  Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Cabernet                        Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Cabernet                        Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Placer Vineyards                Unknown            Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian For Randy Sanchez IRA              5713 N White Sands Rd          Placer Vineyards                Unknown            Y
                                                                        Reno, NV 89511




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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                                Description and Location of Property                                            Property


                                Legal vesting                                       Mailing Address                    Loan Name          Amount     Contingent
        First Savings Bank Custodian For Rena DeHart IRA                NULL                           6425 Gess, LTD                    Unknown          Y
                                                                        NULL
                                                                        NULL, NULL
        First Savings Bank Custodian For Rena DeHart IRA                NULL                           Amesbury/Hatters Point            Unknown          Y
                                                                        NULL
                                                                        NULL, NULL
        First Savings Bank Custodian For Rena DeHart IRA                NULL                           HFA- Windham                      Unknown          Y
                                                                        NULL
                                                                        NULL, NULL
        First Savings Bank Custodian For Rena DeHart IRA                NULL                           Marquis Hotel                     Unknown          Y
                                                                        NULL
                                                                        NULL, NULL
        First Savings Bank Custodian For Richard A Helmberger IRA       39080 Santa Rosa Ct            Amesbury/Hatters Point            Unknown          Y
                                                                        Murrieta, CA 92563
        First Savings Bank Custodian For Richard A Helmberger IRA       2300 Rock Springs Dr # 2044    Amesbury/Hatters Point            Unknown          Y
                                                                        Las Vegas, NV 89125
        First Savings Bank Custodian For Richard L. Cadieux IRA         1730 Terrace Heights Lane      6425 Gess, LTD                    Unknown          Y
                                                                        Reno, NV 89523
        First Savings Bank Custodian For Richard L. Cadieux IRA         1730 Terrace Heights Ln        6425 Gess, LTD                    Unknown          Y
                                                                        Reno, NV 89523
        First Savings Bank Custodian For Richard L. Cadieux IRA         1730 Terrace Heights Lane      Amesbury/Hatters Point            Unknown          Y
                                                                        Reno, NV 89523
        First Savings Bank Custodian For Richard L. Cadieux IRA         1730 Terrace Heights Ln        Amesbury/Hatters Point            Unknown          Y
                                                                        Reno, NV 89523
        First Savings Bank Custodian For Richard Small IRA              4801 Calle Santa Cruz          Amesbury/Hatters Point            Unknown          Y
                                                                        Prescott Valley, AZ 86314
        First Savings Bank Custodian For Richard Small IRA              4801 N Calle Santa Cruz        Amesbury/Hatters Point            Unknown          Y
                                                                        Prescott Valley, AZ 86314
        First Savings Bank Custodian For Robert M. Taylor IRA           275 La Cuenta Circle           Midvale Marketplace, LLC          Unknown          Y
                                                                        Henderson, NV 89014
        First Savings Bank Custodian For Robert A. Schell IRA           855 Blue Spruce Rd             Brookmere/Matteson $27,050,000    Unknown          Y
                                                                        Reno, NV 89511
        First Savings Bank Custodian for Robert B. Bender, IRA          733 Champagne                  HFA- North Yonkers                Unknown          Y
                                                                        Incline Village, NV 89451
        First Savings Bank Custodian for Robert B. Bender, IRA          733 Champagne                  HFA- North Yonkers                Unknown          Y
                                                                        Incline Village, NV 89451
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Gramercy Court Condos             Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Gramercy Court Condos             Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Gramercy Court Condos             Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Marquis Hotel                     Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Marquis Hotel                     Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Marquis Hotel                     Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Fiesta Oak Valley                 Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Fiesta Oak Valley                 Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Fiesta Oak Valley                 Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Bay Pompano Beach                 Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Bay Pompano Beach                 Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Bay Pompano Beach                 Unknown          Y
                                                                        El Paso, TX 79903




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In re            USA Commercial Mortgage Company                        ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                                Description and Location of Property                                            Property


                                Legal vesting                                       Mailing Address                    Loan Name          Amount     Contingent
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Freeway 101                       Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Freeway 101                       Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Freeway 101                       Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Brookmere/Matteson $27,050,000    Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Brookmere/Matteson $27,050,000    Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert D. Earp IRA             609 North Laurel               Brookmere/Matteson $27,050,000    Unknown          Y
                                                                        El Paso, TX 79903
        First Savings Bank Custodian For Robert E. Ray IRA              1202 Jessie Rd                 HFA- North Yonkers                Unknown          Y
                                                                        Henderson, NV 89015
        First Savings Bank Custodian For Robert E. Ray IRA              1202 Jessie Rd                 HFA- North Yonkers                Unknown          Y
                                                                        Henderson, NV 89015
        First Savings Bank Custodian For Robert E. Ray IRA              1202 Jessie Rd                 Placer Vineyards                  Unknown          Y
                                                                        Henderson, NV 89015
        First Savings Bank Custodian For Robert E. Ray IRA              1202 Jessie Rd                 Placer Vineyards                  Unknown          Y
                                                                        Henderson, NV 89015
        First Savings Bank Custodian For Robert G. Fuller IRA           5172 English Daisy Way         6425 Gess, LTD                    Unknown          Y
                                                                        Las Vegas, NV 89142
        First Savings Bank Custodian For Robert G. Fuller IRA           5172 English Daisy Way         6425 Gess, LTD                    Unknown          Y
                                                                        Las Vegas, NV 89142
        First Savings Bank Custodian For Robert J. D'Ambrosio           14 Madrono Court               Gateway Stone                     Unknown          Y
        Contributory IRA                                                Corte Madera, CA 94925
        First Savings Bank Custodian For Robert J. D'Ambrosio           14 Madrono Court               Gateway Stone                     Unknown          Y
        Contributory IRA                                                Corte Madera, CA 94925
        First Savings Bank Custodian For Robert J. D'Ambrosio           14 Madrono Court               Gateway Stone                     Unknown          Y
        Contributory IRA                                                Corte Madera, CA 94925
        First Savings Bank Custodian for Robert L. Pech, IRA            80382 Green Hills Drive        HFA- North Yonkers                Unknown          Y
                                                                        Indio, CA 92201
        First Savings Bank Custodian for Robert L. Pech, IRA            80382 Green Hills Dr           HFA- North Yonkers                Unknown          Y
                                                                        Indio, CA 92201
        First Savings Bank Custodian For Robert Sullivan IRA            21005 Rios Street              6425 Gess, LTD                    Unknown          Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian For Robert Sullivan IRA            21005 Rios St                  6425 Gess, LTD                    Unknown          Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian For Robert Sullivan IRA            21005 Rios Street              Placer Vineyards                  Unknown          Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian For Robert Sullivan IRA            21005 Rios St                  Placer Vineyards                  Unknown          Y
                                                                        Woodland Hills, CA 91364
        First Savings Bank Custodian For Robert W. Inch IRA             73487 Purselane                Eagle Meadows Development         Unknown          Y
                                                                        Palm Desert, CA 92260
        First Savings Bank Custodian For Robert W. Inch IRA             73487 Purslane                 Eagle Meadows Development         Unknown          Y
                                                                        Palm Desert, CA 92260
        First Savings Bank Custodian For Roger Canary IRA               561 Calle de La Plata          Amesbury/Hatters Point            Unknown          Y
                                                                        Sparks, NV 89436
        First Savings Bank Custodian For Ronald Gene Brown IRA          P O Box 7006                   Tapia Ranch                       Unknown          Y
                                                                        Menlo Park, CA 94026
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place           Huntsville                        Unknown          Y
                                                                        Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place           Huntsville                        Unknown          Y
                                                                        Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place           HFA- Windham                      Unknown          Y
                                                                        Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place           HFA- Windham                      Unknown          Y
                                                                        Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA             10000 Rossbury Place           Harbor Georgetown                 Unknown          Y
                                                                        Los Angeles, CA 90064




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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                     Mailing Address                     Loan Name          Amount    Contingent
        First Savings Bank Custodian For Rudolf Winkler IRA            10000 Rossbury Place            Harbor Georgetown                Unknown            Y
                                                                       Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA            10000 Rossbury Place            Amesbury/Hatters Point           Unknown            Y
                                                                       Los Angeles, CA 90064
        First Savings Bank Custodian For Rudolf Winkler IRA            10000 Rossbury Place            Amesbury/Hatters Point           Unknown            Y
                                                                       Los Angeles, CA 90064
        First Savings Bank Custodian For Sharon E. Presswood IRA       9227 Arbor Trail Drive          Amesbury/Hatters Point           Unknown            Y
                                                                       Dallas, TX 75243
        First Savings Bank Custodian For Sharon E. Presswood IRA       9227 Arbor Trail Drive          Placer Vineyards 2nd             Unknown            Y
                                                                       Dallas, TX 75243
        First Savings Bank custodian for Shellie Hilgenberg IRA        370 Pinecrest Dr                HFA- Clear Lake                  Unknown            Y
                                                                       Laguna Beach, CA 92651
        First Savings Bank custodian for Shellie Hilgenberg IRA        370 Pinecrest Dr                HFA- Clear Lake                  Unknown            Y
                                                                       Laguna beach, CA 92651
        First Savings Bank custodian for Shellie Hilgenberg IRA        370 Pinecrest Dr                Amesbury/Hatters Point           Unknown            Y
                                                                       Laguna Beach, CA 92651
        First Savings Bank custodian for Shellie Hilgenberg IRA        370 Pinecrest Dr                Amesbury/Hatters Point           Unknown            Y
                                                                       Laguna beach, CA 92651
        First Savings Bank Custodian for Stephen V. Kowalski IRA       29202 Posey Way                 Lerin Hills                      Unknown            Y
                                                                       Rancho Palos Verdes, CA 90275
        First Savings Bank Custodian for Stephen V. Kowalski IRA       29202 Posey Way                 Lerin Hills                      Unknown            Y
                                                                       Rancho Palos Verdes, CA 90275
        First Savings Bank Custodian for Stephen V. Kowalski IRA       29202 Posey Way                 Gateway Stone                    Unknown            Y
                                                                       Rancho Palos Verdes, CA 90275
        First Savings Bank Custodian for Stephen V. Kowalski IRA       29202 Posey Way                 Gateway Stone                    Unknown            Y
                                                                       Rancho Palos Verdes, CA 90275
        First Savings Bank Custodian For Steven A. Shane IRA           1810 Lakeland Hills Dr          Amesbury/Hatters Point           Unknown            Y
                                                                       Reno, NV 89523
        First Savings Bank Custodian For Susan Davis IRA               104 Van Buren Court             Amesbury/Hatters Point           Unknown            Y
                                                                       Colleyville, TX 76034
        First Savings Bank Custodian For Susan Davis IRA               104 Van Buren Court             BarUSA/$15,300,000               Unknown            Y
                                                                       Colleyville, TX 76034
        First Savings Bank Custodian For Susan Hauser IRA              3635 Brighton Way               HFA- Riviera 2nd                 Unknown            Y
                                                                       Reno, NV 89509
        First Savings Bank Custodian For Susan J. Ward IRA             26077 Charing Cross Rd          BarUSA/$15,300,000               Unknown            Y
                                                                       Valencia, CA 91355
        First Savings Bank Custodian For Sylvia Hooks IRA              2737 Billy Casper Drive         Eagle Meadows Development        Unknown            Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Sylvia Hooks IRA              2737 Billy Casper Drive         HFA- North Yonkers               Unknown            Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Sylvia Hooks IRA              2737 Billy Casper Drive         Margarita Annex                  Unknown            Y
                                                                       Las Vegas, NV 89134
        First Savings Bank Custodian For Tana Stigile IRA              4110 Santa Fe Drive             Bay Pompano Beach                Unknown            Y
                                                                       Fallon, NV 89406
        First Savings Bank Custodian For Thomas Rehn IRA               15405 Robertson Dr.             HFA- Windham                     Unknown            Y
                                                                       Sun City West, AZ 85375
        First Savings Bank Custodian For Thomas Rehn IRA               15405 Robertson Dr.             HFA- North Yonkers               Unknown            Y
                                                                       Sun City West, AZ 85375
        First Savings Bank Custodian For Thomas Rehn IRA               15405 Robertson Dr.             Opaque/Mt. Edge $7,350,000       Unknown            Y
                                                                       Sun City West, AZ 85375
        First Savings Bank Custodian for Thomas T. Riedman IRA         995 Putnam Ave                  HFA-Clear Lake 2nd               Unknown            Y
                                                                       North Merrick, NY 11566
        First Savings Bank Custodian for Thomas T. Riedman IRA         995 Putnam Ave                  HFA-Clear Lake 2nd               Unknown            Y
                                                                       North Merrick, NY 11566
        First Savings Bank Custodian For Timothy J. Porter IRA         8970 S Bank Dr                  Anchor B, LLC                    Unknown            Y
                                                                       Roseburg, CA 97470
        First Savings Bank Custodian for Tina M. Wener IRA             226 California Ave              Harbor Georgetown                Unknown            Y
                                                                       Reno, NV 89509
        First Savings Bank Custodian for Tina M. Wener IRA             226 California Ave              HFA- Clear Lake                  Unknown            Y
                                                                       Reno, NV 89509




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In re            USA Commercial Mortgage Company                        ,                                                                        Case No. 06-10725-LBR
                                   Debtor                                                                                                                     (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                  Current Market Value of
                                                                                                                                                    Debtor's Interest in
                                                               Description and Location of Property                                                      Property


                                 Legal vesting                                      Mailing Address                      Loan Name                 Amount     Contingent
        First Savings Bank Custodian For Todd C. Maurer IRA             3100 Chino Hills Pkwy Apt 1411   Bay Pompano Beach                        Unknown         Y
                                                                        Chino Hills, CA 91709
        First Savings Bank Custodian For Todd C. Maurer IRA             3100 Chino Hills Pkwy Apt 1411   Bay Pompano Beach                        Unknown         Y
                                                                        Chino Hills, CA 91709
        First Savings Bank Custodian For Todd C. Maurer IRA             3100 Chino Hills Pkwy Apt 1411   Lerin Hills                              Unknown         Y
                                                                        Chino Hills, CA 91709
        First Savings Bank Custodian For Todd C. Maurer IRA             3100 Chino Hills Pkwy Apt 1411   Lerin Hills                              Unknown         Y
                                                                        Chino Hills, CA 91709
        First Savings Bank Custodian For Vernon K. Chun IRA             9 Auburn Crest Court             Marquis Hotel                            Unknown         Y
                                                                        Chico, CA 95973
        First Savings Bank Custodian For Vernon K. Chun IRA             9 Auburn Crest Court             Marquis Hotel                            Unknown         Y
                                                                        Chico, CA 95973
        First Savings Bank Custodian For Vernon K. Chun IRA             9 Auburn Crest Court             Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Chico, CA 95973                  L.L.C.
        First Savings Bank Custodian For Vernon K. Chun IRA             9 Auburn Crest Court             Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Chico, CA 95973                  L.L.C.
        First Savings Bank Custodian For Walter E. White IRA            2101 Calle De Espana             Bay Pompano Beach                        Unknown         Y
                                                                        Las Vegas, NV 89146
        First Savings Bank Custodian For William A. Carone IRA          3125 Quarry Road                 Amesbury/Hatters Point                   Unknown         Y
                                                                        Manchester, NJ 8759
        First Savings Bank Custodian For William G. A. Cox, IRA         P O Box 461                      HFA- Riviera 2nd                         Unknown         Y
                                                                        Sterling, IL 61081
        First Savings Bank Custodian For William M. Spangler IRA        711 Gordon Ave                   BarUSA/$15,300,000                       Unknown         Y
                                                                        Reno, NV 89509
        First Trust Co. Of Onaga Custodian For Arlene J. Fine IRA       P O Box 487                      Tapia Ranch                              Unknown         Y
                                                                        Oakley, UT 84055
        First Trust Co. Of Onaga Custodian For Arlene J. Fine IRA       P O Box 487                      Tapia Ranch                              Unknown         Y
                                                                        Oakley, UT 84055
        First Trust Co. Of Onaga Custodian For Arlene J. Fine IRA       P O Box 487                      Tapia Ranch                              Unknown         Y
                                                                        Oakley, UT 84055
        First Trust Co. Of Onaga Custodian For Bennie N. Revello, IRA   9728 Terrace Green Ave           Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89117
        First Trust Co. Of Onaga Custodian For Bennie N. Revello, IRA   9728 Terrace Green Ave           Bay Pompano Beach                        Unknown         Y
                                                                        Las Vegas, NV 89117
        First Trust Co. Of Onaga Custodian For Betty R. Pardo IRA       10932 Mill Cove Ave              6425 Gess, LTD                           Unknown         Y
                                                                        Las Vegas, NV 89134
        First Trust Co. Of Onaga Custodian For Betty R. Pardo IRA       10932 Mill Cove Ave              6425 Gess, LTD                           Unknown         Y
                                                                        Las Vegas, NV 89134
        First Trust Co. Of Onaga Custodian For Brenda J. High IRA       2884 E Point Dr                  Fiesta Oak Valley                        Unknown         Y
                                                                        Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian For Brenda J. High IRA       2884 E Point Dr                  HFA- Clear Lake                          Unknown         Y
                                                                        Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian For Calvin Bettencourt IRA   1325 Cinder Rock Dr #201         Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89128
        First Trust Co. Of Onaga Custodian For Charles D. Cunningham    1964 Oliver Springs Street       Amesbury/Hatters Point                   Unknown         Y
        IRA                                                             Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Charles D. Cunningham    1964 Oliver Springs Rd           Amesbury/Hatters Point                   Unknown         Y
        IRA                                                             Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Curtis Clark IRA         1403 Pueblo Dr                   Huntsville                               Unknown         Y
                                                                        Boulder City, NV 89005
        First Trust Co. Of Onaga Custodian For Daniel Rakich IRA        2613 Silverton Drive             BarUSA/$15,300,000                       Unknown         Y
                                                                        Las Vegas, NV 89134
        First Trust Co. Of Onaga Custodian For DeVera Cline IRA         1860 Papago Lane                 Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89109
        First Trust Co. Of Onaga Custodian For Donald Olsen IRA         8728 Castleview Ave              Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89129
        First Trust Co. Of Onaga Custodian For Eileen Marie Lakin IRA   2727 Amy Court                   Amesbury/Hatters Point                   Unknown         Y
                                                                        Mount Shasta, CA 96067
        First Trust Co. Of Onaga Custodian For Ernest W. Libman IRA     1709 Glenview Drive              Amesbury/Hatters Point                   Unknown         Y
                                                                        Las Vegas, NV 89134




SCHEDULES                                                                            Exhibit B-21                                                                PAGE 90
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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                              Description and Location of Property                                            Property


                                Legal vesting                                      Mailing Address                    Loan Name          Amount    Contingent
        First Trust Co. Of Onaga Custodian for Frank Wasko as          6222 W Wickieup               Placer Vineyards                  Unknown            Y
        Beneficiary of the Stephanie Wasko IRA                         Glendale, AZ 85308
        First Trust Co. Of Onaga Custodian for Frank Wasko as          6222 W. Wickieup              Placer Vineyards                  Unknown            Y
        Beneficiary of the Stephanie Wasko IRA                         Glendale , AZ 85308
        First Trust Co. Of Onaga Custodian For Georgette Aldrich IRA   2117 Las Flores Street        Amesbury/Hatters Point            Unknown            Y
                                                                       Las Vegas, NV 89102
        First Trust Co. Of Onaga Custodian For Glenda Lambert Sibley   16326 W Willow Creek Lane     Amesbury/Hatters Point            Unknown            Y
        IRA                                                            Surprise, AZ 85374
        First Trust Co. Of Onaga Custodian for Hamilton M. High IRA    2884 East Point Drive         Fiesta Oak Valley                 Unknown            Y
                                                                       Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian for Hamilton M. High IRA    2884 E Point Dr               Fiesta Oak Valley                 Unknown            Y
                                                                       Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian for Hamilton M. High IRA    2884 East Point Drive         HFA- Clear Lake                   Unknown            Y
                                                                       Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian for Hamilton M. High IRA    2884 E Point Dr               HFA- Clear Lake                   Unknown            Y
                                                                       Chesapeake, VA 23321
        First Trust Co. Of Onaga Custodian For Harold E. Pals IRA      226-2 Morgyn Lane             BarUSA/$15,300,000                Unknown            Y
                                                                       Boulder City, NV 89005
        First Trust Co. Of Onaga Custodian For Janice Mills IRA        1103 Sunshine Run             BarUSA/$15,300,000                Unknown            Y
                                                                       Arnolds Park, IA 51331
        First Trust Co. Of Onaga Custodian For Joan Scionti IRA        P O Box 29974                 Gramercy Court Condos             Unknown            Y
                                                                       Laughlin, NV 89028
        First Trust Co. Of Onaga Custodian For John W. Scionti IRA     P O Box 29974                 Gramercy Court Condos             Unknown            Y
                                                                       Laughlin, NV 89028
        First Trust Co. Of Onaga Custodian For Karen S. Moberly IRA    420 Warren Terrace            Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Hinsdale, IL 60521
        First Trust Co. Of Onaga Custodian For Karen S. Moberly IRA    420 Warren Terrace            Bay Pompano Beach                 Unknown            Y
                                                                       Hinsdale, IL 60521
        First Trust Co. Of Onaga Custodian For Karen S. Moberly IRA    420 Warren Terrace            HFA- Clear Lake                   Unknown            Y
                                                                       Hinsdale, IL 60521
        First Trust Co. of Onaga Custodian for Lewis H. Fine IRA       P O Box 487                   Tapia Ranch                       Unknown            Y
                                                                       Oakley, UT 84055
        First Trust Co. of Onaga Custodian for Lewis H. Fine IRA       P O Box 487                   Tapia Ranch                       Unknown            Y
                                                                       Oakley, UT 84055
        First Trust Co. of Onaga Custodian for Lewis H. Fine IRA       P O Box 487                   Tapia Ranch                       Unknown            Y
                                                                       Oakley, UT 84055
        First Trust Co. Of Onaga Custodian For Lois M. Campbell IRA    1733 Warrington Drive         Amesbury/Hatters Point            Unknown            Y
                                                                       Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Lynda M. Settle IRA     1001 S 9th Street             Amesbury/Hatters Point            Unknown            Y
                                                                       Mena, AR 71953
        First Trust Co. of Onaga Custodian For Marina Mehlman, IRA     2027 Hathaway Ave             Marlton Square                    Unknown            Y
                                                                       Westlake Village, CA 91362
        First Trust Co. of Onaga Custodian For Marina Mehlman, IRA     2027 Hathaway Ave             Castaic Partners II, LLC          Unknown            Y
                                                                       Westlake Village, CA 91362
        First Trust Co. Of Onaga Custodian For Mary Gambosh IRA        14669 Penmore Lane            Gramercy Court Condos             Unknown            Y
                                                                       Charlotte, NC 28269
        First Trust Co. Of Onaga Custodian For Mary Gambosh IRA        14669 Penmore Lane            Gramercy Court Condos             Unknown            Y
                                                                       Charlotte, NC 28269
        First Trust Co. Of Onaga Custodian For Michael Shubic IRA      750 Chimney Creek Dr          Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Golden, CO 80401
        First Trust Co. Of Onaga Custodian For Michael Shubic IRA      750 Chimney Creek Dr          Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Golden, CO 80401
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA      2578 Highmore Ave             Placer Vineyards 2nd              Unknown            Y
                                                                       Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA      2578 Highmore Avenue          Placer Vineyards 2nd              Unknown            Y
                                                                       Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA      2578 Highmore                 Placer Vineyards 2nd              Unknown            Y
                                                                       Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA      2578 Highmore Ave             HFA- Riviera 2nd                  Unknown            Y
                                                                       Henderson, NV 89052




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In re            USA Commercial Mortgage Company                      ,                                                                  Case No. 06-10725-LBR
                                   Debtor                                                                                                             (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                            Description and Location of Property                                                 Property


                                Legal vesting                                      Mailing Address                      Loan Name          Amount     Contingent
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA     2578 Highmore Avenue              HFA- Riviera 2nd                  Unknown         Y
                                                                      Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA     2578 Highmore                     HFA- Riviera 2nd                  Unknown         Y
                                                                      Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA     2578 Highmore Ave                 Marlton Square 2nd                Unknown         Y
                                                                      Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA     2578 Highmore Avenue              Marlton Square 2nd                Unknown         Y
                                                                      Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Morris Mansell IRA     2578 Highmore                     Marlton Square 2nd                Unknown         Y
                                                                      Henderson, NV 89052
        First Trust Co. Of Onaga Custodian For Patricia Darnold IRA   2061 Sapphire Valley Ave          Amesbury/Hatters Point            Unknown         Y
                                                                      Henderson, NV 89074
        First Trust Co. OF Onaga Custodian For Philip Stidham IRA     1930 Village Center Circle 3326   Harbor Georgetown                 Unknown         Y
                                                                      Las Vegas, NV 89134
        First Trust Co. OF Onaga Custodian For Philip Stidham IRA     1930 Village Center Circle 3326   Harbor Georgetown                 Unknown         Y
                                                                      Las Vegas, NV 89134
        First Trust Co. of Onaga Custodian For Robert Speckert IRA    2128 Red Dawn Sky St              6425 Gess, LTD                    Unknown         Y
                                                                      Las Vegas, NV 89134
        First Trust Co. of Onaga Custodian For Robert Speckert IRA    2128 Red Dawn Sky St              Bay Pompano Beach                 Unknown         Y
                                                                      Las Vegas, NV 89134
        First Trust Co. of Onaga Custodian For Robert Speckert IRA    2128 Red Dawn Sky St              Brookmere/Matteson $27,050,000    Unknown         Y
                                                                      Las Vegas, NV 89134
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Amesbury/Hatters Point            Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Amesbury/Hatters Point            Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Amesbury/Hatters Point            Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Brookmere/Matteson $27,050,000    Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Brookmere/Matteson $27,050,000    Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Ruby Simon, IRA        8728 Castle View Ave              Brookmere/Matteson $27,050,000    Unknown         Y
                                                                      Las Vegas, NV 89129
        First Trust Co. of Onaga Custodian For Suzane M. Bradshaw IRA 1015 Sundown Court                HFA- Riviera 2nd                  Unknown         Y
                                                                      Gardnerville, NV 89410
        First Trust Co. of Onaga Custodian For Suzanne Brehmer IRA    1235 White Avenue                 Tapia Ranch                       Unknown         Y
                                                                      Grand Junction, CO 81501
        First Trust Co. of Onaga Custodian For Suzanne Brehmer IRA    1235 White Avenue                 Harbor Georgetown                 Unknown         Y
                                                                      Grand Junction, CO 81501
        First Trust Co. of Onaga Custodian for Thomas C. Gray IRA     31672 Scenic Drive                Anchor B, LLC                     Unknown         Y
                                                                      Laguna Beach, CA 92651
        First Trust Co. Of Onaga Custodian For Victor Santiago - Roth 4604 Gretel Circle                HFA- Riviera 2nd                  Unknown         Y
        IRA                                                           Las Vegas, NV 89102
        First Trust Co. Of Onaga Custodian For Victor Santiago - Roth 4604 Gretel Circle                HFA- Riviera 2nd                  Unknown         Y
        IRA                                                           Las Vegas, NV 89102
        First Trust Company of Onaga Custodian For Herbert W. Mueller NULL                              Amesbury/Hatters Point            Unknown         Y
        IRA                                                           NULL
                                                                      NULL, NULL
        First Trust Company of Onaga Custodian For Herbert W. Mueller 2479 San Sebastian                Amesbury/Hatters Point            Unknown         Y
        IRA                                                           Los Osos, CA 93402
        First Trust Company of Onaga Custodian For Herbert W. Mueller 2479 San Sebastian                Amesbury/Hatters Point            Unknown         Y
        IRA                                                           Los Osos, CA 93402
        Fisko Ventures, LLC.                                          1906 Catherine Court              Gateway Stone                     Unknown         Y
                                                                      Gardnerville, NV 89410
        Fisko Ventures, LLC.                                          1906 Catherine Court              Gateway Stone                     Unknown         Y
                                                                      Gardnerville, NV 89410
        Florence Bolatin Trustee of the Florence Bolatin Living Trust 2105 Diamond Brook Ct             Bay Pompano Beach                 Unknown         Y
        dated 10/28/93                                                Las Vegas, NV 89117




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In re             USA Commercial Mortgage Company                         ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                           (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                                 Description and Location of Property                                            Property


                                  Legal vesting                                       Mailing Address                 Loan Name            Amount     Contingent
        Florence Bolatin Trustee of the Florence Bolatin Living Trust     2105 Diamond Brook Ct         Fiesta USA/Stoneridge             Unknown          Y
        dated 10/28/93                                                    Las Vegas, NV 89117
        Floyd H. Lander Trustee of the Floyd H. Lander Living Trust U-    2043 Sunburst Way             Ashby Financial $7,200,000        Unknown          Y
        A 4/23/99                                                         Reno, NV 89509
        Floyd H. Lander Trustee of the Floyd H. Lander Living Trust U-    2043 Sunburst Way             HFA- North Yonkers                Unknown          Y
        A 4/23/99                                                         Reno, NV 89509
        Floyd M. Spindle an unmarried man transferable on death to A.     706 N E 22nd Street           Placer Vineyards                  Unknown          Y
        Cherryl Sergeant                                                  Grand Prairie, TX 75050
        Floyd M. Spindle an unmarried man transferable on death to A.     706 NE 22nd Street            Placer Vineyards                  Unknown          Y
        Cherryl Sergeant                                                  Grand Praire, TX 75050
        Floyd M. Spindle, an unmarried man, transfer on death to Floyd    706 N E 22nd Street           Gramercy Court Condos             Unknown          Y
        Marvin Spindle Jr.                                                Grand Prairie, TX 75050
        Floyd M. Spindle, an unmarried man, transfer on death to Floyd    706 NE 22nd Street            Gramercy Court Condos             Unknown          Y
        Marvin Spindle Jr.                                                Grand Praire, TX 75050
        Ford S. Dunton, a married man dealing with his sole & separate    1119 Ironwood Pkwy            Amesbury/Hatters Point            Unknown          Y
        property                                                          Coeur D'Alene, ID 83814
        Ford S. Dunton, a married man dealing with his sole & separate    1119 Ironwood Pkwy            Midvale Marketplace, LLC          Unknown          Y
        property                                                          Coeur D'Alene, ID 83814
        Fraley Limited Partnership, a Nevada limited partnership          9030 W Sahara Ave #240        6425 Gess, LTD                    Unknown          Y
                                                                          Las Vegas, NV 89117
        Fraley Limited Partnership, a Nevada limited partnership          9030 W Sahara Ave #240        Bay Pompano Beach                 Unknown          Y
                                                                          Las Vegas, NV 89117
        Fraley Limited Partnership, a Nevada limited partnership          9030 W Sahara Ave #240        Midvale Marketplace, LLC          Unknown          Y
                                                                          Las Vegas, NV 89117
        Fraley Limited Partnership, a Nevada limited partnership          9030 W Sahara Ave #240        Opaque/Mt. Edge $7,350,000        Unknown          Y
                                                                          Las Vegas, NV 89117
        Fraley Limited Partnership, a Nevada limited partnership          9030 W Sahara Ave #240        Placer Vineyards                  Unknown          Y
                                                                          Las Vegas, NV 89117
        Frances E. Phillips, Trustee of the Phillips Family Trust dated   2275 Schooner Circle          Bay Pompano Beach                 Unknown          Y
        10/24/89                                                          Reno, NV 89509
        Frances J. Cook & John R. Cook, joint tenants with right of       10400 SW Cowan Rd             Wasco Investments                 Unknown          Y
        survivorship                                                      Vashon, WA 98070
        Francesco Soro                                                    P O Box 34602                 Eagle Meadows Development         Unknown          Y
                                                                          Las Vegas, NV 89133
        Francesco Soro                                                    P O Box 34602                 Eagle Meadows Development         Unknown          Y
                                                                          Las Vegas, NV 89133
        Francesco Soro                                                    P O Box 34602                 HFA- Clear Lake                   Unknown          Y
                                                                          Las Vegas, NV 89133
        Francesco Soro                                                    P O Box 34602                 HFA- Clear Lake                   Unknown          Y
                                                                          Las Vegas, NV 89133
        Francis Howard Trustee of the Jaime Kefalas Trust                 7 Commerce Center Dr # A      6425 Gess, LTD                    Unknown          Y
                                                                          Henderson , NV 89001
        Francis Howard Trustee of the Jaime Kefalas Trust                 7 Commerce Center Drive #A    6425 Gess, LTD                    Unknown          Y
                                                                          Henderson, NV 89014
        Francis Howard Trustee of the Jason A. Kefalas Trust              7 Commerce Center Dr # A      6425 Gess, LTD                    Unknown          Y
                                                                          Henderson , NV 89001
        Francis Howard Trustee of the Jason A. Kefalas Trust              7 Commerce Center Drive #A    6425 Gess, LTD                    Unknown          Y
                                                                          Henderson, NV 89014
        Francis J. Karlin Trustee of the Karlin Trust dated 3/3/89        4009 Cutting Horse St         Amesbury/Hatters Point            Unknown          Y
                                                                          North Las Vegas, NV 89032
        Francis R. Begnoche, an unmarried man & Christopher M.            685 Moonlight Mesa Dr         Amesbury/Hatters Point            Unknown          Y
        Begnoche, an unmarried man, as joint tenants with right of        Henderson, NV 89015
        survivorship
        Frank A. Cerrone & Shari L. Cerrone Trustees of The Cerrone   1502 Big Valley Drive             Placer Vineyards                  Unknown          Y
        Family Trust dated 1/26/96                                    Reno, NV 89521
        Frank Capodici & Marie Capodici Trustees of the Frank & Marie 9025 Rockville Ave                Brookmere/Matteson $27,050,000    Unknown          Y
        Capodici Family Trust dated 12/8/03                           Las Vegas, NV 89143
        Frank Charles Ruegg, Jr. & Margaret S. Ruegg Trustees of The 107 Navigator Lane                 Placer Vineyards                  Unknown          Y
        Ruegg Living Trust dated 11/28/94                             Friday Harbor, WA 98250




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In re            USA Commercial Mortgage Company                         ,                                                                      Case No. 06-10725-LBR
                                    Debtor                                                                                                                   (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                              Description and Location of Property                                                      Property


                                 Legal vesting                                        Mailing Address                    Loan Name                Amount     Contingent
        Frank Davenport, a single man                                      3372 Narod Street            Lerin Hills                              Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank Davenport, a single man                                      3372 Narod Street            Placer Vineyards 2nd                     Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank Davenport, a single man                                      3372 Narod Street            HFA- Riviera 2nd                         Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank Davenport, a single man                                      3372 Narod Street            Gramercy Court Condos                    Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank Davenport, a single man                                      3372 Narod Street            Amesbury/Hatters Point                   Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank Davenport, a single man                                      3372 Narod Street            HFA-Clear Lake 2nd                       Unknown         Y
                                                                           Las Vegas, NV 89121
        Frank E. Ensign, a single man                                      P O Box 61770                Bay Pompano Beach                        Unknown         Y
                                                                           Boulder City, NV 89006
        Frank E. Ensign, a single man                                      P O Box 61770                HFA- Clear Lake                          Unknown         Y
                                                                           Boulder City, NV 89006
        Frank J. Belmonte Trustee of the Belmonte Family Trust             3 Deerwood East              HFA- North Yonkers                       Unknown         Y
                                                                           Irvine, CA 92714
        Frank J. Belmonte Trustee of the Belmonte Family Trust             3 Deerwood East              Marlton Square                           Unknown         Y
                                                                           Irvine, CA 92714
        Frank J. Belmonte Trustee of the Belmonte Family Trust             3 Deerwood East              Brookmere/Matteson $27,050,000           Unknown         Y
                                                                           Irvine, CA 92714
        Frank J. Evangelho & Diana L Evangelho Trustees of the             867 Orange Ave               HFA- Windham                             Unknown         Y
        Evangelho Family Revocable Trust dated 10/7/03                     San Carlos, CA 94070
        Frank J. Murphy and Margaret F. Murphy, husband and wife, as 4945 San Pablo Court               Castaic Partners II, LLC                 Unknown         Y
        joint tenants with the right of survivorship                       Naples, FL 34109
        Frank J. Murphy and Margaret F. Murphy, husband and wife, as 4945 San Pablo Court               HFA- North Yonkers                       Unknown         Y
        joint tenants with the right of survivorship                       Naples, FL 34109
        Frank J. Tarantino, a married man dealing with his sole and        3495 Lakeside Dr. Box 146    Eagle Meadows Development                Unknown         Y
        separate property                                                  Reno, NV 89509
        Frank Reale, a single man                                          6908 Emerald Springs         Placer Vineyards 2nd                     Unknown         Y
                                                                           Las Vegas, NV 89113
        Frank Reale, a single man                                          6908 Emerald Springs         Huntsville                               Unknown         Y
                                                                           Las Vegas, NV 89113
        Frank Reale, a single man                                          6908 Emerald Springs         Brookmere/Matteson $27,050,000           Unknown         Y
                                                                           Las Vegas, NV 89113
        Frank Russell, Jr., a married man dealing with his sole & separate 3314 Paces Ferry Ave SE      Placer Vineyards                         Unknown         Y
        property                                                           Atlanta, GA 30339
        Frank S. Wasko, Trustee of the Frank S. Wasko Revocable Trust 6222 W Wickieup Ln                Bay Pompano Beach                        Unknown         Y
        dated 5-21-02                                                      Glendale, AZ 85308
        Frank Snopko Trustee of the Charlotte Snopko Marital Trust         278 Sussex Pl                Eagle Meadows Development                Unknown         Y
        dated 8/31/04                                                      Carson City, NV 89703
        Frank Snopko Trustee of the Charlotte Snopko Marital Trust         278 Sussex Pl                Eagle Meadows Development                Unknown         Y
        dated 8/31/04                                                      Carson City, NV 89703
        Frank Snopko Trustee of the Charlotte Snopko Marital Trust         278 Sussex St                Eagle Meadows Development                Unknown         Y
        dated 8/31/04                                                      Carson City, NV 89702
        Frank Snopko Trustee of the Charlotte Snopko Marital Trust         278 Sussex Pl                Eagle Meadows Development                Unknown         Y
        dated 8/31/04                                                      Carson City, NV 89701
        Frank Snopko Trustee of the Snopko 1981 Trust dated 10/27/81 278 Sussex Pl                      Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Carson City, NV 89703        L.L.C.
        Frank Snopko Trustee of the Snopko 1981 Trust dated 10/27/81 278 Sussex Pl                      Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Carson City, NV 89703        L.L.C.
        Frank Snopko Trustee of the Snopko 1981 Trust dated 10/27/81 278 Sussex St                      Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Carson City, NV 89702        L.L.C.
        Frank Snopko Trustee of the Snopko 1981 Trust dated 10/27/81 278 Sussex Pl                      Riviera - Homes for America Holdings,    Unknown         Y
                                                                           Carson City, NV 89701        L.L.C.
        Frank T. Novak & Patricia A. Novak Trustees of the Novak           2593 Sumter Street           HFA- North Yonkers                       Unknown         Y
        Living Trust dtd 10/21/97                                          Henderson, NV 89052
        Frank T. Novak & Patricia A. Novak Trustees of the Novak           2593 Sumter St               HFA- North Yonkers                       Unknown         Y
        Living Trust dtd 10/21/97                                          Henderson, NV 89052




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In re            USA Commercial Mortgage Company                       ,                                                                    Case No. 06-10725-LBR
                                   Debtor                                                                                                                (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                             Current Market Value of
                                                                                                                                               Debtor's Interest in
                                                             Description and Location of Property                                                   Property


                                Legal vesting                                     Mailing Address                    Loan Name                Amount     Contingent
        Frank T. Novak & Patricia A. Novak Trustees of the Novak       2593 Sumter Street           Bay Pompano Beach                        Unknown         Y
        Living Trust dtd 10/21/97                                      Henderson, NV 89052
        Frank T. Novak & Patricia A. Novak Trustees of the Novak       2593 Sumter St               Bay Pompano Beach                        Unknown         Y
        Living Trust dtd 10/21/97                                      Henderson, NV 89052
        Frank Valentino & Stella Valentino, husband & wife, as joint   15335 Del Gado Drive         Marlton Square                           Unknown         Y
        tenants with right of survivorship                             Sherman Oaks, CA 91403
        Frank Valentino & Stella Valentino, husband & wife, as joint   15335 Del Gado Drive         Marquis Hotel                            Unknown         Y
        tenants with right of survivorship                             Sherman Oaks, CA 91403
        Frank W. Richardson & Margaret S. Richardson Trustees of the   8 Corte Ladino               Fiesta USA/Stoneridge                    Unknown         Y
        Richardson Family Trust Under Agreement dated 11/2/88          San Clemente, CA 92673
        Frank W. Richardson & Margaret S. Richardson Trustees of the   8 Corte Ladino               Opaque/Mt. Edge $7,350,000               Unknown         Y
        Richardson Family Trust Under Agreement dated 11/2/88          San Clemente, CA 92673
        Frank Wasko, a single man                                      6222 W Wickieup              Fiesta Oak Valley                        Unknown         Y
                                                                       Glendale, AZ 85308
        Frank Wasko, a single man                                      6222 W. Wickieup             Fiesta Oak Valley                        Unknown         Y
                                                                       Glendale , AZ 85308
        Frank Weinman Trustee of the Weinman Family Trust dated        2947 Pinehurst Dr            Lerin Hills                              Unknown         Y
        9/6/96                                                         Las Vegas, NV 89109
        Franklin D. Ott and Kathryn R. Ott, Trustees of the Ott Family 5832 N Misty Ridge Dr        Wasco Investments                        Unknown         Y
        Revocable Trust dated 4/29/98                                  Tucson, AZ 85718
        Franz J. Zimmer Trustee of the Franz J. Zimmer Revocable Trust 900 Spring Lake Ct           Bay Pompano Beach                        Unknown         Y
        dated 02/05/97                                                 St Augustine, FL 32080
        Franz J. Zimmer Trustee of the Franz J. Zimmer Revocable Trust 900 Spring Lake Ct           Gramercy Court Condos                    Unknown         Y
        dated 02/05/97                                                 St Augustine, FL 32080
        Franz J. Zimmer Trustee of the Franz J. Zimmer Revocable Trust 900 Spring Lake Ct           Placer Vineyards                         Unknown         Y
        dated 02/05/97                                                 St Augustine, FL 32080
        Franz J. Zimmer Trustee of the Franz J. Zimmer Revocable Trust 900 Spring Lake Ct           Brookmere/Matteson $27,050,000           Unknown         Y
        dated 02/05/97                                                 St Augustine, FL 32080
        Fraser Atwater Properties, LLC                                 14220 Sorrel Lane            HFA-Clear Lake 2nd                       Unknown         Y
                                                                       Reno, NV 89511
        Fraser Atwater Properties, LLC                                 14220 Sorrel Lane            HFA-Clear Lake 2nd                       Unknown         Y
                                                                       Reno, NV 89511
        Fred A. Stevens and Marlys A. Stevens, Husband and Wife as     284 Merrick Way              Riviera - Homes for America Holdings,    Unknown         Y
        joint tenants with right survivorship                          Henderson, NV 89014          L.L.C.
        Fred Holland & Marjorie Holland Trustees of the The Holland    606 Bryant Court             Amesbury/Hatters Point                   Unknown         Y
        Family Trust dated 1993                                        Boulder City, NV 89005
        Fred Holland & Marjorie Holland Trustees of the The Holland    606 Bryant Court             BarUSA/$15,300,000                       Unknown         Y
        Family Trust dated 1993                                        Boulder City, NV 89005
        Fred Holland & Marjorie Holland Trustees of the The Holland    606 Bryant Court             Placer Vineyards                         Unknown         Y
        Family Trust dated 1993                                        Boulder City, NV 89005
        Fred Holland & Marjorie Holland Trustees of the The Holland    606 Bryant Court             Copper Sage Commerce Center, LLC         Unknown         Y
        Family Trust dated 1993                                        Boulder City, NV 89005
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft   P O Box 362                  Placer Vineyards                         Unknown         Y
        Living Trust dated 1/10/02                                     Carnelian Bay, CA 96140
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft   P O Box 362                  BarUSA/$15,300,000                       Unknown         Y
        Living Trust dated 1/10/02                                     Carnelian Bay, CA 96140
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft   P O Box 362                  Marlton Square                           Unknown         Y
        Living Trust dated 1/10/02                                     Carnelian Bay, CA 96140
        Fred J. Foxcroft & Roberta Foxcroft Trustees of the Foxcroft   P O Box 362                  Marquis Hotel                            Unknown         Y
        Living Trust dated 1/10/02                                     Carnelian Bay, CA 96140
        Fred Teriano                                                   P O Box 96331                6425 Gess, LTD                           Unknown         Y
                                                                       Las Vegas, NV 89193
        Fred Teriano                                                   P O Box 96331                BarUSA/$15,300,000                       Unknown         Y
                                                                       Las Vegas, NV 89193
        Fred Teriano                                                   P O Box 96331                Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                       Las Vegas, NV 89193
        Fred Vogel & Janis Moore Vogel, husband & wife, as joint       1710 Cedar Street            Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                             Calistoga, CA 94515
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd         Bay Pompano Beach                        Unknown         Y
                                                                       Rancho Mirage, CA 92270




SCHEDULES                                                                         Exhibit B-21                                                              PAGE 95
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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                 Loan Name                   Amount     Contingent
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd          Huntsville                               Unknown         Y
                                                                        Rancho Mirage, CA 92270
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd          HFA- North Yonkers                       Unknown         Y
                                                                        Rancho Mirage, CA 92270
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd          Harbor Georgetown                        Unknown         Y
                                                                        Rancho Mirage, CA 92270
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd          Gramercy Court Condos                    Unknown         Y
                                                                        Rancho Mirage, CA 92270
        Freda Newman Trustee of the Freda Newman Trust dated 7/26/84 189 International Blvd          Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Rancho Mirage, CA 92270
        Frederick J. Davis, a married man dealing with his sole &       14111 52nd Ave. NW           6425 Gess, LTD                           Unknown         Y
        separate property                                               Stanwood, WA 98292
        Frederick J. Maffeo & Alice Maffeo, husband & wife              4557 Eddie Ward Way          Amesbury/Hatters Point                   Unknown         Y
                                                                        Silver City, NM 88061
        Frederick P. Windisch Trustee of the Windisch 1998 Living Trust P O Box 626                  HFA-Clear Lake 2nd                       Unknown         Y
                                                                        Lake Havasu City, AZ 86405
        Frederick P. Windisch Trustee of the Windisch 1998 Living Trust P O Box 626                  Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Lake Havasu City, AZ 86405   L.L.C.
        Frederick P. Windisch Trustee of the Windisch 1998 Living Trust P O Box 626                  Bay Pompano Beach                        Unknown         Y
                                                                        Lake Havasu City, AZ 86405
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Amesbury/Hatters Point                   Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Amesbury/Hatters Point                   Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Amesbury/Hatters Point                   Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Ashby Financial $7,200,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Ashby Financial $7,200,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Ashby Financial $7,200,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Eagle Meadows Development                Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Eagle Meadows Development                Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Eagle Meadows Development                Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Fiesta Oak Valley                        Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Fiesta Oak Valley                        Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Fiesta Oak Valley                        Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Gramercy Court Condos                    Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Gramercy Court Condos                    Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Gramercy Court Condos                    Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Opaque/Mt. Edge $7,350,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Opaque/Mt. Edge $7,350,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Opaque/Mt. Edge $7,350,000               Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley CT        Placer Vineyards                         Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust  5426 Hidden Valley Ct        Placer Vineyards                         Unknown         Y
        dated 7/18/89                                                   Reno, NV 89502




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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                       Mailing Address                    Loan Name         Amount    Contingent
        Frederick W. Kewell II, Trustee of the Barbara J. Kewell Trust   5426 Hidden Valley Ct        Placer Vineyards                 Unknown            Y
        dated 7/18/89                                                    Reno, NV 89502
        Frederick W. Kewell, II Trustee of the Kewell Living Trust dated 5426 Hidden Valley CT        Placer Vineyards                 Unknown            Y
        7/18/89                                                          Reno, NV 89502
        Frederick W. Kewell, II Trustee of the Kewell Living Trust dated 5426 Hidden Valley Ct        Placer Vineyards                 Unknown            Y
        7/18/89                                                          Reno, NV 89502
        Frederick W. Kewell, II Trustee of the Kewell Living Trust dated 5426 Hidden Valley Ct        Placer Vineyards                 Unknown            Y
        7/18/89                                                          Reno, NV 89502
        Frederick William Scholem ll Trustee of the Williams Trust       9075 San Diego Ave NE        Fiesta USA/Stoneridge            Unknown            Y
                                                                         Albuquerque, NM 87122
        Freeda Cohen Trustee of the Freeda Cohen Trust dated 7/11/04     10905 Clarion Lane           6425 Gess, LTD                   Unknown            Y
                                                                         Las Vegas, NV 89134
        Freedom Properties, Inc.                                         1820 Star Pine Ct            HFA- North Yonkers               Unknown            Y
                                                                         Reno, NV 89523
        Freedom Properties, Inc.                                         1820 Star Pine Ct            Lerin Hills                      Unknown            Y
                                                                         Reno, NV 89523
        Freedom Properties, Inc.                                         1820 Star Pine Ct            Bay Pompano Beach                Unknown            Y
                                                                         Reno, NV 89523
        Freedom Properties, Inc.                                         1820 Star Pine Ct            Ashby Financial $7,200,000       Unknown            Y
                                                                         Reno, NV 89523
        Freedom Properties, Inc.                                         1820 Star Pine Ct            Marlton Square                   Unknown            Y
                                                                         Reno, NV 89523
        Frieda Mathes, a married woman dealing with her sole & separate 2232 Spring Water Dr          Amesbury/Hatters Point           Unknown            Y
        property                                                         Las Vegas, NV 89134
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           HFA- Clear Lake                  Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           HFA- Clear Lake                  Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           Bay Pompano Beach                Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           Bay Pompano Beach                Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           BarUSA/$15,300,000               Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon Trustee of The Decedent's Trust of the Restated      2504 Callita Court           BarUSA/$15,300,000               Unknown            Y
        Moon 1987 Irrevocable Trust dated 6/12/87                        Las Vegas, NV 89102
        Frieda Moon, an unmarried woman & Sharon C. Van Ert, an          2504 Callita Court           Marlton Square                   Unknown            Y
        unmarried woman, as joint tenants with right of survivorship     Las Vegas, NV 89102
        Frieda Moon, an unmarried woman & Sharon C. Van Ert, an          2504 Callita Court           Marlton Square                   Unknown            Y
        unmarried woman, as joint tenants with right of survivorship     Las Vegas, NV 89102
        Frieda Moon, an unmarried woman & Sharon C. Van Ert, an          2504 Callita Court           Gramercy Court Condos            Unknown            Y
        unmarried woman, as joint tenants with right of survivorship     Las Vegas, NV 89102
        Frieda Moon, an unmarried woman & Sharon C. Van Ert, an          2504 Callita Court           Gramercy Court Condos            Unknown            Y
        unmarried woman, as joint tenants with right of survivorship     Las Vegas, NV 89102
        Fu-Mei Tsai, a married woman dealing with her sole & separate 1716 S Monterey St              HFA- Riviera 2nd                 Unknown            Y
        property                                                         Alhambra, CA 91801
        Fumiko Beals, a widow                                            33 Tidwell Lane              Placer Vineyards 2nd             Unknown            Y
                                                                         Henderson, NV 89074
        G. Robert Knoles and Christina G. Knoles, husband and wife, as 85 Wolf Rock Road              Eagle Meadows Development        Unknown            Y
        joint tenants with the rights of survivorship                    Keystone, CO 80435
        G. Robert Knoles and Christina G. Knoles, husband and wife, as 85 Wolf Rock Road              Gramercy Court Condos            Unknown            Y
        joint tenants with the rights of survivorship                    Keystone, CO 80435
        G. Robert Knoles and Christina G. Knoles, husband and wife, as 85 Wolf Rock Road              Marlton Square 2nd               Unknown            Y
        joint tenants with the rights of survivorship                    Keystone, CO 80435
        G. Warren Newton A Single Man                                    25105 Carancho Rd            Eagle Meadows Development        Unknown            Y
                                                                         Temecula, CA 92590
        Gabriel A. Martinez Trustee of the GGRM Pension Profit Sharing 601 S 9th Street               Fiesta USA/Stoneridge            Unknown            Y
        Plan                                                             Las Vegas, NV 89101
        Gail A. Freitas Trustee of the Gail A. Freitas Revocable Trust   4572 Telephone Rd # 912      BarUSA/$15,300,000               Unknown            Y
        dated 6/20/03                                                    Ventura, CA 93003




SCHEDULES                                                                            Exhibit B-21                                                     PAGE 97
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In re            USA Commercial Mortgage Company                     ,                                                                Case No. 06-10725-LBR
                                  Debtor                                                                                                           (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                           Description and Location of Property                                               Property


                                Legal vesting                                     Mailing Address                    Loan Name           Amount    Contingent
        Gail A. Freitas Trustee of the Gail A. Freitas Revocable Trust 4572 Telephone Rd # 912      Placer Vineyards                   Unknown            Y
        dated 6/20/03                                                  Ventura, CA 93003
        Gail A. Gray and Robert W. Gray, Trustees of the Robert W. & 4572 Telephone Rd #912         Lerin Hills                        Unknown            Y
        Gail A. Gray Revocable Trust                                   Ventura , CA 93003
        Gail A. Gray and Robert W. Gray, Trustees of the Robert W. & 4572 Telephone Rd #912         Marlton Square                     Unknown            Y
        Gail A. Gray Revocable Trust                                   Ventura , CA 93003
        Gail Klevay, a married woman dealing with her sole & separate 818 N Victoria Park Rd        Lerin Hills                        Unknown            Y
        property                                                       Ft. Lauderdale, FL 33304
        Gail M. Hock, a married woman dealing with her sole & separate 2881 Sagittarius Drive       Bay Pompano Beach                  Unknown            Y
        property                                                       Reno, NV 89509
        Gail R. Hodes Trustee of the Gail Hodes Living Trust dated     16872 Baruna Lane            Gramercy Court Condos              Unknown            Y
        9/10/03                                                        Huntington Beach, CA 92649
        Gail R. Hodes Trustee of the Gail Hodes Living Trust dated     16872 Baruna Lane            Marlton Square                     Unknown            Y
        9/10/03                                                        Huntington Beach, CA 92649
        Gale Ebert, an unmarried woman                                 336 S Spalding Dr # 201      BarUSA/$15,300,000                 Unknown            Y
                                                                       Beverly Hills, CA 90212
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Harbor Georgetown                  Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Placer Vineyards                   Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           HFA- Clear Lake                    Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Gramercy Court Condos              Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Eagle Meadows Development          Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Bay Pompano Beach                  Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Amesbury/Hatters Point             Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Marquis Hotel                      Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gale Gladstone-Katz Trustee of the Gale Gladstone-Katz         1320 N Street # 29           Brookmere/Matteson $27,050,000     Unknown            Y
        Revocable Living Trust dated 12/10/03                          Santa Rosa, CA 95404
        Gareth A. R. Craner Trustee of the Craner Family Trust Under   P O Box 1284                 BarUSA/$15,300,000                 Unknown            Y
        Agreement dated 2/23/99                                        Minden, NV 89423
        Gareth A. R. Craner Trustee of the Craner Family Trust Under   P O Box 1284                 BarUSA/$15,300,000                 Unknown            Y
        Agreement dated 2/23/99                                        Minden, NV 89423
        Gareth A. R. Craner Trustee of the Craner Family Trust Under   P O Box 1284                 Bay Pompano Beach                  Unknown            Y
        Agreement dated 2/23/99                                        Minden, NV 89423
        Gareth A. R. Craner Trustee of the Craner Family Trust Under   P O Box 1284                 Bay Pompano Beach                  Unknown            Y
        Agreement dated 2/23/99                                        Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Bay Pompano Beach                  Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Bay Pompano Beach                  Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Fiesta Oak Valley                  Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Fiesta Oak Valley                  Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Fiesta USA/Stoneridge              Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 Fiesta USA/Stoneridge              Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 BarUSA/$15,300,000                 Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gareth A. R. Craner Trustee of The Gareth A. R. Craner Trust   P O Box 1284                 BarUSA/$15,300,000                 Unknown            Y
        Dtd 6/01/02                                                    Minden, NV 89423
        Gary A. Michelsen, an unmarried man                            P Box 2010                   Placer Vineyards                   Unknown            Y
                                                                       Stateline, NV 89449




SCHEDULES                                                                          Exhibit B-21                                                       PAGE 98
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In re            USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Gary A. Michelsen, an unmarried man                             P Box 2010                   HFA- Clear Lake                          Unknown         Y
                                                                        Stateline, NV 89449
        Gary A. Michelsen, an unmarried man                             P Box 2010                   Gateway Stone                            Unknown         Y
                                                                        Stateline, NV 89449
        Gary A. Michelsen, an unmarried man                             P Box 2010                   6425 Gess, LTD                           Unknown         Y
                                                                        Stateline, NV 89449
        Gary A. Michelsen, an unmarried man                             P Box 2010                   Bay Pompano Beach                        Unknown         Y
                                                                        Stateline, NV 89449
        Gary A. Thibault & Sandra C. Thibault, husband & wife, as joint 4525 Dawn Peak St            Marlton Square                           Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89129
        Gary A. Thibault & Sandra C. Thibault, husband & wife, as joint 4525 Dawn Peak St            HFA- North Yonkers                       Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89129
        Gary A. Thibault & Sandra C. Thibault, husband & wife, as joint 4525 Dawn Peak St            Eagle Meadows Development                Unknown         Y
        tenants with right of survivorship                              Las Vegas, NV 89129
        Gary B. Anderson & Barbara L. Anderson Trustees of the          P O Box 699                  Marlton Square                           Unknown         Y
        Anderson Family Trust dated 7/21/92                             Carnelian Bay, CA 96140
        Gary B. Anderson & Barbara L. Anderson Trustees of the          P O Box 699                  Gramercy Court Condos                    Unknown         Y
        Anderson Family Trust dated 7/21/92                             Carnelian Bay, CA 96140
        Gary B. Anderson & Barbara L. Anderson Trustees of the          P O Box 699                  BarUSA/$15,300,000                       Unknown         Y
        Anderson Family Trust dated 7/21/92                             Carnelian Bay, CA 96140
        Gary Deppe, A single man                                        5961 Cross Rd                HFA- Windham                             Unknown         Y
                                                                        Seguin, TX 78155
        Gary Deppe, A single man                                        5961 Cross Rd                HFA- Windham                             Unknown         Y
                                                                        Seguin, TX 78155
        Gary Deppe, A single man                                        5961 Cross Rd                Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Seguin, TX 78155             L.L.C.
        Gary Deppe, A single man                                        5961 Cross Rd                Riviera - Homes for America Holdings,    Unknown         Y
                                                                        Seguin, TX 78155             L.L.C.
        Gary Deppe, A single man                                        5961 Cross Rd                Marlton Square                           Unknown         Y
                                                                        Seguin, TX 78155
        Gary Deppe, A single man                                        5961 Cross Rd                Marlton Square                           Unknown         Y
                                                                        Seguin, TX 78155
        Gary Deppe, A single man                                        5961 Cross Rd                Eagle Meadows Development                Unknown         Y
                                                                        Seguin, TX 78155
        Gary Deppe, A single man                                        5961 Cross Rd                Eagle Meadows Development                Unknown         Y
                                                                        Seguin, TX 78155
        Gary E. Thompson, an unmarried man                              640 N Race Track Rd          Huntsville                               Unknown         Y
                                                                        Henderson, NV 89015
        Gary E. Topp, a married man dealing with his sole & separate    P O Box 3008                 Freeway 101                              Unknown         Y
        property                                                        Grass Valley, CA 95945
        Gary E. Topp, a married man dealing with his sole & separate    P O Box 3008                 HFA- Riviera 2nd                         Unknown         Y
        property                                                        Grass Valley, CA 95945
        Gary E. Topp, a married man dealing with his sole & separate    P O Box 3008                 Cabernet                                 Unknown         Y
        property                                                        Grass Valley, CA 95945
        Gary E. Topp, a married man dealing with his sole & separate    P O Box 3008                 Marlton Square                           Unknown         Y
        property                                                        Grass Valley, CA 95945
        Gary E. Topp, a married man dealing with his sole & separate    P O Box 3008                 Placer Vineyards 2nd                     Unknown         Y
        property                                                        Grass Valley, CA 95945
        Gary E. Tucker & Linda L. Tucker, husband & wife, as joint      388 Riesling Court           Tapia Ranch                              Unknown         Y
        tenants with right of survivorship                              Fremont, CA 94539
        Gary E. Tucker & Linda L. Tucker, husband & wife, as joint      388 Riesling Court           Marlton Square                           Unknown         Y
        tenants with right of survivorship                              Fremont, CA 94539
        Gary E. Tucker & Linda L. Tucker, husband & wife, as joint      388 Riesling Court           Marquis Hotel                            Unknown         Y
        tenants with right of survivorship                              Fremont, CA 94539
        Gary I. Miller & Barbara L. Miller Trustees of the Gary I. &    2832 Tilden Avenue           6425 Gess, LTD                           Unknown         Y
        Barbara L. Miller Trust dated 08/13-                            Los Angeles, CA 90064
        Gary I. Miller & Barbara L. Miller Trustees of the Gary I. &    2832 Tilden Avenue           Eagle Meadows Development                Unknown         Y
        Barbara L. Miller Trust dated 08/13/87                          Los Angeles, CA 90064
        Gary I. Miller & Barbara L. Miller Trustees of the Gary I. &    2832 Tilden Avenue           Gramercy Court Condos                    Unknown         Y
        Barbara L. Miller Trust dated 08/13/87                          Los Angeles, CA 90064




SCHEDULES                                                                           Exhibit B-21                                                             PAGE 99
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In re            USA Commercial Mortgage Company                      ,                                                                 Case No. 06-10725-LBR
                                   Debtor                                                                                                            (If known)




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                              EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                            Description and Location of Property                                                Property


                                Legal vesting                                      Mailing Address                      Loan Name         Amount     Contingent
        Gary I. Miller & Barbara L. Miller Trustees of the Gary I. &     2832 Tilden Avenue            Marlton Square                    Unknown          Y
        Barbara L. Miller Trust dated 08/13/87                           Los Angeles, CA 90064
        Gary J. O'Hara & Janice D. O'Hara Co-Trustees of the O'Hara      18310 Calle La Serra          Placer Vineyards                  Unknown          Y
        Familty Trust dated 2/26/93                                      Rancho Santa Fe, CA 92091
        Gary K Ashworth, a married man dealing with his sole & separate 3232 Shoreline Drive           Huntsville                        Unknown          Y
        property & Dan Schapiro, a married man dealing with his sole & Las Vegas, NV 89117
        separate property, as Tenants in Common
        Gary L. Bonnema, an unmarried man                                P. O. Box 8649                Gramercy Court Condos             Unknown          Y
                                                                         Horseshoe Bay, TX 78657
        Gary L. McDaniel & Virginia L. McDaniel Trustees of the Gary 2100 Lookout Point Circle         Marquis Hotel                     Unknown          Y
        L. McDaniel & Virginia L. McDaniel 1991 Living Trust dated       Las Vegas, NV 89117
        5/1/91
        Gary Larson & Dolores Larson, husband & wife, as joint tenants 544 Rolling Hills Dr            BarUSA/$15,300,000                Unknown          Y
        with right of survivorship                                       Mesquite, NV 89027
        Gary Larson & Dolores Larson, husband & wife, as joint tenants 544 Rolling Hills Dr            Bay Pompano Beach                 Unknown          Y
        with right of survivorship                                       Mesquite, NV 89027
        Gary Larson & Dolores Larson, husband & wife, as joint tenants 544 Rolling Hills Dr            Harbor Georgetown                 Unknown          Y
        with right of survivorship                                       Mesquite, NV 89027
        Gary Larson & Dolores Larson, husband & wife, as joint tenants 544 Rolling Hills Dr            Placer Vineyards                  Unknown          Y
        with right of survivorship                                       Mesquite, NV 89027
        Gary Larson & Dolores Larson, husband & wife, as joint tenants 544 Rolling Hills Dr            Wasco Investments                 Unknown          Y
        with right of survivorship                                       Mesquite, NV 89027
        Gary Leach & Stacie Leach, husband & wife, as joint tenants with 23 Milrose                    Fiesta USA/Stoneridge             Unknown          Y
        right of survivorship                                            Irvine, CA 92603
        Gary M. Hogan, an unmarried man                                  9900 Wilbur May Pkwy # 1604   Shamrock Tower, LP                Unknown          Y
                                                                         Reno, NV 89521
        Gary M. Hogan, an unmarried man                                  9900 Wilbur May Pkwy #1604    Shamrock Tower, LP                Unknown          Y
                                                                         Reno, NV 89521
        Gary Moberly & Karen Moberly, husband & wife, as joint           420 Warren Terrace            Wasco Investments                 Unknown          Y
        tenants with right of survivorship                               Hinsdale , IL 60521
        Gary Moberly & Karen Moberly, husband & wife, as joint           420 Warren Terrance           Wasco Investments                 Unknown          Y
        tenants with right of survivorship                               Hinsdale, IL 60521
        Gary Moberly & Karen Moberly, husband & wife, as joint           420 warren Terrace            Wasco Investments                 Unknown          Y
        tenants with right of survivorship                               Hinsdale, IL 60521
        Gary N. Taylor Trustee of the Gary N. Taylor PSP                 532 College Drive #313        Tapia Ranch                       Unknown          Y
                                                                         Henderson, NV 89015
        Gary N. Taylor Trustee of the Gary N. Taylor PSP                 532 College Drive #313        Eagle Meadows Development         Unknown          Y
                                                                         Henderson, NV 89015
        Gary N. Taylor Trustee of the Gary N. Taylor PSP                 532 College Drive #313        Marlton Square                    Unknown          Y
                                                                         Henderson, NV 89015
        Gary N. Taylor Trustee of the Gary N. Taylor PSP                 532 College Drive #313        Placer Vineyards                  Unknown          Y
                                                                         Henderson, NV 89015
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint       4645 Rio Encantado Ln         6425 Gess, LTD                    Unknown          Y
        tenants with right of survivorship                               Reno, NV 89502
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint       4645 Rio Encantado Ln         Amesbury/Hatters Point            Unknown          Y
        tenants with right of survivorship                               Reno, NV 89502
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint       4645 Rio Encantado Ln         Eagle Meadows Development         Unknown          Y
        tenants with right of survivorship                               Reno, NV 89502
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint       4645 Rio Encantado Ln         Brookmere/Matteson $27,050,000    Unknown          Y
        tenants with right of survivorship                               Reno, NV 89502
        Gary R. Barton & Mavis J. Barton, husband & wife, as joint       4645 Rio Encantado Ln         Clear Creek Plantation            Unknown          Y
        tenants with right of survivorship                               Reno, NV 89502
        Gary S. Brill Trustee of the Gary S. Brill Living Trust dated    16255 Ventura Blvd            Wasco Investments                 Unknown          Y
        9/21/83 as amended & restated on 3/20/88                         Encino, CA 91436
        Gary S. Brill Trustee of the Gary S. Brill Living Trust dated    16255 Ventura Blvd            HFA- North Yonkers                Unknown          Y
        9/21/83 as amended & restated on 3/20/88                         Encino, CA 91436
        Gary T. Canepa & Lori R. Canepa Trustees of the G. & L. Trust 14170 Powder River Dr.           Cabernet                          Unknown          Y
        dated 11/25/91                                                   Reno, NV 89511
        Gary Tebbutt, an unmarried man                                   3723 Vancouver Drive          Amesbury/Hatters Point            Unknown          Y
                                                                         Reno, NV 89511




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In re            USA Commercial Mortgage Company                       ,                                                                       Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                             Description and Location of Property                                                      Property


                                Legal vesting                                        Mailing Address                  Loan Name                  Amount     Contingent
        Gary Tebbutt, an unmarried man                                    3723 Vancouver Drive         Brookmere/Matteson $27,050,000           Unknown         Y
                                                                          Reno, NV 89511
        Gary W. Crowe & Susan R. Crowe Trustees of the Crowe 1989 9132 Golden Eagle Drive              Harbor Georgetown                        Unknown         Y
        Family Revocable Trust dated 6/29/89                              Las Vegas, NV 89134
        Gary W. Crowe & Susan R. Crowe Trustees of the Crowe 1989 9132 Golden Eagle Drive              HFA- Clear Lake                          Unknown         Y
        Family Revocable Trust dated 6/29/89                              Las Vegas, NV 89134
        Gary W. Crowe & Susan R. Crowe Trustees of the Crowe 1989 9132 Golden Eagle Drive              HFA- North Yonkers                       Unknown         Y
        Family Revocable Trust dated 6/29/89                              Las Vegas, NV 89134
        Gayle D. Hall, a married woman dealing with her sole and          2530 Pacific Heights Rd      Gramercy Court Condos                    Unknown         Y
        separate property                                                 Honolulu, HI 96813
        Gayle Harkins, a married woman dealing with her sole & separate 1204 Camballeria Drive         Lerin Hills                              Unknown         Y
        property                                                          Carson City, NV 89701
        Gayle Harkins, a married woman dealing with her sole & separate 1204 Camballeria Drive         Lerin Hills                              Unknown         Y
        property                                                          Carson City, NV 89701
        Gayle Harkins, a married woman dealing with her sole & separate 1204 Camballeria Drive         Placer Vineyards 2nd                     Unknown         Y
        property                                                          Carson City, NV 89701
        Gayle Harkins, a married woman dealing with her sole & separate 1204 Camballeria Drive         Placer Vineyards 2nd                     Unknown         Y
        property                                                          Carson City, NV 89701
        Gayle L. Robinson, an unmarried woman                             P.O. Box 20963               Golden State Investments II              Unknown         Y
                                                                          Reno, NV 89515
        Gazella Teague Trustee of the Gazella Teague Living Trust         1183 Lanaias Way             Fiesta Oak Valley                        Unknown         Y
                                                                          Roseburg, OR 97470
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Littleton, CO 80125          L.L.C.
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Cabernet                                 Unknown         Y
                                                                          Littleton, CO 80125
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Cabernet                                 Unknown         Y
                                                                          Littleton, CO 80125
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Cabernet                                 Unknown         Y
                                                                          Littleton, CO 80125
        GDSS Investors LLC, a Colorado limited liability company          6223 Buffalo Run             Cabernet                                 Unknown         Y
                                                                          Littleton, CO 80125
        Gene Smith & Emily Smith, husband & wife, & Patricia Gunn, a 419 Shipley Drive                 Placer Vineyards                         Unknown         Y
        married woman dealing with her sole & separate property, as joint Yerrington, NV 89447
        tenants with right of survivorship
        Gene Smith & Emily Smith, husband & wife, & Patricia Gunn, a 419 Shipley Drive                 Placer Vineyards                         Unknown         Y
        married woman dealing with her sole & separate property, as joint Yerington, NV 89447
        tenants with right of survivorship
        Gene Smith & Emily Smith, husband and wife, as joint tenants      419 Shipley Drive            Placer Vineyards                         Unknown         Y
        with right of survivorship                                        Yerrington, NV 89447
        Gene Smith & Emily Smith, husband and wife, as joint tenants      419 Shipley Drive            Placer Vineyards                         Unknown         Y
        with right of survivorship                                        Yerington, NV 89447
        George A. Roberts & Sharon D. Roberts Trustees of the Roberts 2415 High Vista Drive            Fiesta Oak Valley                        Unknown         Y
        Trust dated 3/11/03                                               Henderson, NV 89014
        George C. Gorman, a married man dealing with his sole &           952 The Alameda              Amesbury/Hatters Point                   Unknown         Y
        separate property                                                 Berkeley, CA 94707
        George F. Simao & Leonard Newman, as unmarried men                1597 Santa Anita Drive       Amesbury/Hatters Point                   Unknown         Y
                                                                          Las Vegas, NV 89119
        George H. Michael & Doramae Michael Trustees of the George 999 E Eliason Ave                   Fiesta USA/Stoneridge                    Unknown         Y
        H. Michael Family Trust Agreement dated 12/4/81                   Brigham City, UT 84302
        George J. Gage & Miriam B. Gage Co-Trustees of the George         10813 Brinkwood Avenue       Fiesta USA/Stoneridge                    Unknown         Y
        Gage Trust dated 10/8/99                                          Las Vegas, NV 89134
        George J. Gage & Miriam B. Gage Co-Trustees of the George         10813 Brinkwood Ave          Fiesta USA/Stoneridge                    Unknown         Y
        Gage Trust dated 10/8/99                                          Las Vegas, NV 89134




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In re            USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                      Mailing Address                    Loan Name         Amount     Contingent
        George J. Gage & Miriam B. Gage Co-Trustees of the George J.    10813 Brinkwood Avenue        Bay Pompano Beach                 Unknown           Y
        Gage Trust dated 10/8/99                                        Las Vegas, NV 89134
        George J. Gage & Miriam B. Gage Co-Trustees of the George J.    10813 Brinkwood Ave           Bay Pompano Beach                 Unknown           Y
        Gage Trust dated 10/8/99                                        Las Vegas, NV 89134
        George J. Gage & Miriam B. Gage Co-Trustees of the George J.    10813 Brinkwood Avenue        Marlton Square                    Unknown           Y
        Gage Trust dated 10/8/99                                        Las Vegas, NV 89134
        George J. Gage & Miriam B. Gage Co-Trustees of the George J.    10813 Brinkwood Ave           Marlton Square                    Unknown           Y
        Gage Trust dated 10/8/99                                        Las Vegas, NV 89134
        George J. Gish & Deanna K. Gish Trustees of the Gish Family     2104 Red Dawn Sky St.         Placer Vineyards                  Unknown           Y
        Trust dtd 6/25/89                                               Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The   10800 Clarion Lane            Marlton Square                    Unknown           Y
        Virginia & George Minar Living Trust                            Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The   10800 Clarion Lane            Marquis Hotel                     Unknown           Y
        Virginia & George Minar Living Trust                            Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The   10800 Clarion Lane            Gramercy Court Condos             Unknown           Y
        Virginia & George Minar Living Trust                            Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The   10800 Clarion Lane            Amesbury/Hatters Point            Unknown           Y
        Virginia & George Minar Living Trust                            Las Vegas, NV 89134
        George Minar & Virginia Minar Trustees for the benefit of The   10800 Clarion Lane            Brookmere/Matteson $27,050,000    Unknown           Y
        Virginia & George Minar Living Trust                            Las Vegas, NV 89134
        George Motto & Jane R. Motto, husband & wife, as joint tenants  17212 Spates Hill Road        Placer Vineyards 2nd              Unknown           Y
        with right of survivorship                                      Poolesville, MD 20837
        George Motto & Jane R. Motto, husband & wife, as joint tenants  17212 Spates Hill Rd          Placer Vineyards 2nd              Unknown           Y
        with right of survivorship                                      Poolesville, MD 20837
        George S. Cohan Trustee of the George S. Cohan & Natalie H.     2048 Foxfire Court            HFA- Clear Lake                   Unknown           Y
        Cohan Family Trust dated 4/1/03                                 Henderson, NV 89012
        George S. Cohan Trustee of the George S. Cohan & Natalie H.     2048 Foxfire Court            HFA- North Yonkers                Unknown           Y
        Cohan Family Trust dated 4/1/03                                 Henderson, NV 89012
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    Fiesta USA/Stoneridge             Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    Fiesta USA/Stoneridge             Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    Bay Pompano Beach                 Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    Bay Pompano Beach                 Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    6425 Gess, LTD                    Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        George W. Hubbard and Carol N. Hubbard Trustees of the          6340 N Calle Tregua Serena    6425 Gess, LTD                    Unknown           Y
        Hubbard trust dated 7/29/1998                                   Tucson, AZ 85750
        Gerald A. Sherwin, Transfer on Death to Pamela J. Sherwin       1195 81st South               Wasco Investments                 Unknown           Y
                                                                        St. Petersburg, FL 33707
        Gerald B. Merz & Nancy J. Merz, husband & wife                  2839 Scotts Valley Dr         Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        Henderson, NV 89052
        Gerald B. Merz & Nancy J. Merz, husband & wife                  2839 Scotts Valley Dr         Brookmere/Matteson $27,050,000    Unknown           Y
                                                                        Henderson, NV 89052
        Gerald B. Merz and Nancy J. Merz, Trustees of the Merz Family 2839 Scotts Valley Dr           Eagle Meadows Development         Unknown           Y
        Living Trust dated 10/26/05                                     Henderson, NV 89052
        Gerald B. Merz and Nancy J. Merz, Trustees of the Merz Family 2839 Scotts Valley Dr           Eagle Meadows Development         Unknown           Y
        Living Trust dated 10/26/05                                     Henderson, NV 89052
        Gerald B. Merz and Nancy J. Merz, Trustees of the Merz Family 2839 Scotts Valley Dr           Brookmere/Matteson $27,050,000    Unknown           Y
        Living Trust dated 10/26/05                                     Henderson, NV 89052
        Gerald B. Merz and Nancy J. Merz, Trustees of the Merz Family 2839 Scotts Valley Dr           Brookmere/Matteson $27,050,000    Unknown           Y
        Living Trust dated 10/26/05                                     Henderson, NV 89052
        Gerald E. Colligan, an unmarried man                            P O Box 5781                  Bay Pompano Beach                 Unknown           Y
                                                                        Incline Village, NV 89450
        Gerald L. Bittner Sr. DDS and Susan I. Bittner DDS, husband and 14067 Apricot Hill            Eagle Meadows Development         Unknown           Y
        wife as joint tenants with the right of survivorship            Saratoga, CA 95070
        Gerald L. Bittner Sr. DDS and Susan I. Bittner DDS, husband and 14067 Apricot Hill            Eagle Meadows Development         Unknown           Y
        wife as joint tenants with the right of survivorship            Saratoga, CA 95070




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In re             USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                  Legal vesting                                     Mailing Address                  Loan Name            Amount    Contingent
        Gerald L. Bittner, Jr. DDS Profit Sharing Plan                   14309 Chester Ave            HFA- Clear Lake                   Unknown            Y
                                                                         Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           Clear Creek Plantation            Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           Clear Creek Plantation            Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           Bay Pompano Beach                 Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           Bay Pompano Beach                 Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           6425 Gess, LTD                    Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald L. Bittner, Sr. DDS Inc Profit Sharing Plan & Trust dated 14067 Apricot Hill           6425 Gess, LTD                    Unknown            Y
        1/15/91                                                          Saratoga, CA 95070
        Gerald Lewis & Judith J. Lewis, husband & wife, as joint tenants 10524 Courtney Cove          Fiesta Oak Valley                 Unknown            Y
        with right of survivorship                                       Las Vegas, NV 89134
        Gerald Lewis & Judith J. Lewis, husband & wife, as joint tenants 4196 Kingsview Rd            Fiesta Oak Valley                 Unknown            Y
        with right of survivorship                                       Moorpark, CA 93021
        Gerald Lewis & Judith J. Lewis, husband & wife, as joint tenants 10524 Courtney Cove          Tapia Ranch                       Unknown            Y
        with right of survivorship                                       Las Vegas, NV 89134
        Gerald Lewis & Judith J. Lewis, husband & wife, as joint tenants 4196 Kingsview Rd            Tapia Ranch                       Unknown            Y
        with right of survivorship                                       Moorpark, CA 93021
        Gerald Marts & Linda R. Marts, husband & wife, as joint tenants 3181 Kips Korner Road         Amesbury/Hatters Point            Unknown            Y
        with right of survivorship                                       Norco, CA 92860
        Gerald Marts & Linda R. Marts, husband & wife, as joint tenants 3181 Kips Korner Road         Eagle Meadows Development         Unknown            Y
        with right of survivorship                                       Norco, CA 92860
        Gerald W. Bradish Trustee of the Bradish Family Trust dated      P O Box 667                  Amesbury/Hatters Point            Unknown            Y
        12/13/89                                                         Winston, OR 97496
        Gerald W. Wickland & Irene F. Wickland Co-Trustees of the        P O Box 8465                 Placer Vineyards                  Unknown            Y
        Wickland Family Trust dated 2/10/81                              6062 Via Posada Del Norte
                                                                         Rancho Santa Fe, CA 92067
        Gernot Leitzinger & Rosemarie Leitzinger, joint tenants with     2857 Sloat RD                Gramercy Court Condos             Unknown            Y
        right of survivorship                                            Pebble Beach, CA 93953
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Amesbury/Hatters Point            Unknown            Y
        property                                                         Truckee, CA 96161
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Marlton Square 2nd                Unknown            Y
        property                                                         Truckee, CA 96161
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Placer Vineyards 2nd              Unknown            Y
        property                                                         Truckee, CA 96161
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Eagle Meadows Development         Unknown            Y
        property                                                         Truckee, CA 96161
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Fiesta Oak Valley                 Unknown            Y
        property                                                         Truckee, CA 96161
        Gerry Topp, a married man dealing with his sole & separate       10745 W River St             Brookmere/Matteson $27,050,000    Unknown            Y
        property                                                         Truckee, CA 96161
        Gertrude J. Kuhny, Trustee of the Gertrude Kuhny Trust dated     2824 Link View Drive         Eagle Meadows Development         Unknown            Y
        8/1/95                                                           Las Vegas, NV 89134
        Gilbert Barbieri & Anna-Maria Barbieri, husband & wife, as joint 5 Ventana Canyon Drive       Opaque/Mt. Edge $7,350,000        Unknown            Y
        tenants with right of survivorship                               Las Vegas, NV 89113
        Gilbert L. Sperry Trustee of the Sperry Family Trust UDO         Suite 623 PO Box 439060      HFA- North Yonkers                Unknown            Y
        4/15/97                                                          San Diego, CA 921439060
        Gilbert Manuel, Trustee of the Gilbert Manuel Living Trust dated 4521 Pisa Dr                 Gilroy                            Unknown            Y
        1/3/92                                                           Reno, NV 89509
        Gilbert Manuel, Trustee of the Gilbert Manuel Living Trust dated 4521 Pisa Dr                 Gramercy Court Condos             Unknown            Y
        1/3/92                                                           Reno, NV 89509
        Gilbert Manuel, Trustee of the Gilbert Manuel Living Trust dated 4521 Pisa Dr                 HFA- Clear Lake                   Unknown            Y
        1/3/92                                                           Reno, NV 89509
        Gilbert Manuel, Trustee of the Gilbert Manuel Living Trust dated 4521 Pisa Dr                 Placer Vineyards                  Unknown            Y
        1/3/92                                                           Reno, NV 89509




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In re            USA Commercial Mortgage Company                        ,                                                                      Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                              Description and Location of Property                                                     Property


                                 Legal vesting                                       Mailing Address                   Loan Name                 Amount     Contingent
        Gilbert Van Damme Trustee of the Van Damme Family Trust          69 Ave Alphonse XIII          Tapia Ranch                              Unknown         Y
                                                                         Brussels , Belgium 1180
        Gilda Ferrara, an unmarried woman                                36 Pine Street                Fiesta USA/Stoneridge                    Unknown         Y
                                                                         Trumbull, CT 6611
        Gilles Marchand, a married man as his sole and separate property 512 Summer Mesa Dr            Riviera - Homes for America Holdings,    Unknown         Y
                                                                         Las Vegas, NV 89144           L.L.C.
        Gilles Marchand, a married man as his sole and separate property 512 Summer Mesa Dr            Marlton Square                           Unknown         Y
                                                                         Las Vegas, NV 89144
        Gina M. Goehner, an unmarried woman                              255 Veronica Ave              Bay Pompano Beach                        Unknown         Y
                                                                         Sparks, NV 89436
        Gladys Flanders, an unmarried woman                              P O Box 8926                  Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                         Incline Village, NV 89451
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht 630 West Hermosa Drive        BarUSA/$15,300,000                       Unknown         Y
        Trust dated 1/24/86                                              Fullerton, CA 92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht 630 West Hermosa Drive        Bay Pompano Beach                        Unknown         Y
        Trust dated 1/24/86                                              Fullerton, CA 92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht 630 West Hermosa Drive        Harbor Georgetown                        Unknown         Y
        Trust dated 1/24/86                                              Fullerton, CA 92835
        Glen J. Brecht & Janine K. Brecht Trustees of the Glen J. Brecht 630 West Hermosa Drive        Placer Vineyards                         Unknown         Y
        Trust dated 1/24/86                                              Fullerton, CA 92835
        Glenn B. Davis & Bernie S. Davis Trustees of the Davis           4104 Kietzke Ln # 185         Bay Pompano Beach                        Unknown         Y
        Revocable Living Trust UA 7/06/88                                Reno, NV 89502
        Glenn B. Davis & Bernie S. Davis Trustees of the Davis           4104 Kietzke Ln # 185         Fiesta Oak Valley                        Unknown         Y
        Revocable Living Trust UA 7/06/88                                Reno, NV 89502
        Glenn M. Donahue and Carrie Donahue, Trustees of the Glenn & 39 Bridgeport Rd                  Gramercy Court Condos                    Unknown         Y
        Carrie Donahue Living Trust dated 4/30/94                        Newport Beach, CA 92657
        Glenn M. Donahue and Carrie Donahue, Trustees of the Glenn & 39 Bridgeport Rd                  Gateway Stone                            Unknown         Y
        Carrie Donahue Living Trust dated 4/30/94                        Newport Beach, CA 92657
        Glenn W. Gaboury and Sharon M. Gaboury, husband and wife, as 1751 S.W. 18th Street             Lerin Hills                              Unknown         Y
        joint tenants with the rights of survivorship                    Pendleton, OR 97801
        Glenn W. Gaboury and Sharon M. Gaboury, husband and wife, as 1751 S.W. 18th Street             Bay Pompano Beach                        Unknown         Y
        joint tenants with the rights of survivorship                    Pendleton, OR 97801
        Glenn W. Graf Trustee of the Graf Family Trust dated 2/7/77      2613 White Pines Drive        Golden State Investments II              Unknown         Y
                                                                         Henderson, NV 89074
        Glenn W. Graf Trustee of the Graf Family Trust dated 2/7/77      2613 White Pines Drive        Bay Pompano Beach                        Unknown         Y
                                                                         Henderson, NV 89074
        Gloria J. Nelson, a married woman dealing with her sole &        408 N. Berry Pine Road        6425 Gess, LTD                           Unknown         Y
        separate property                                                Rapid City, SD 57702
        Gloria J. Nelson, a married woman dealing with her sole &        408 N. Berry Pine Road        Eagle Meadows Development                Unknown         Y
        separate property                                                Rapid City, SD 57702
        Gloria J. Nelson, a married woman dealing with her sole &        408 N. Berry Pine Road        Lerin Hills                              Unknown         Y
        separate property                                                Rapid City, SD 57702
        Gloria M. Swett, a widow and Deborah H. Nogaim, an unmarried 3635 Jewel Cave Drive             Margarita Annex                          Unknown         Y
        woman, as joint tenants with the rights of survivorship          Las Vegas, NV 89122
        Gloria M. Swett, a widow and Deborah H. Nogaim, an unmarried 3635 Jewel Cave Drive             Margarita Annex                          Unknown         Y
        woman, as joint tenants with the rights of survivorship          Las Vegas, NV 89122
        Gloria N. Cherrington Successor Trustee of the Frank G. Eliano 350 E. Desert Inn Rd #E-204     Amesbury/Hatters Point                   Unknown         Y
        1995 Revocable Trust dated 2/7/97                                Las Vegas, NV 89109
        Gloria N. Cherrington Successor Trustee of the Frank G. Eliano 350 E. Desert Inn Rd #E-204     Brookmere/Matteson $27,050,000           Unknown         Y
        1995 Revocable Trust dated 2/7/97                                Las Vegas, NV 89109
        Gloria N. Cherrington Trustee of the Gloria N. Cherrington Trust 350 E. Desert Inn Rd #E-204   Amesbury/Hatters Point                   Unknown         Y
        dated 10/13/04                                                   Las Vegas, NV 89109
        Gloria N. Cherrington Trustee of the Gloria N. Cherrington Trust 350 E. Desert Inn Rd #E-204   Brookmere/Matteson $27,050,000           Unknown         Y
        dated 10/13/04                                                   Las Vegas, NV 89109
        Gloria T. Pasqualotto Trustee of the Ampelio O. & Gloria T.      5755 S Duneville              Gilroy                                   Unknown         Y
        Pasqualotto Living Trust dated 8/7/97                            Las Vegas, NV 89118
        Gloria Valair, a single woman                                    3524 Webster Street           Amesbury/Hatters Point                   Unknown         Y
                                                                         San Francisco, CA 94123
        Gloria Valair, a single woman                                    3524 Webster Street           BarUSA/$15,300,000                       Unknown         Y
                                                                         San Francisco, CA 94123




SCHEDULES                                                                             Exhibit B-21                                                           PAGE 104
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In re             USA Commercial Mortgage Company                      ,                                                                      Case No. 06-10725-LBR
                                    Debtor                                                                                                                 (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                            Description and Location of Property                                                      Property


                                 Legal vesting                                      Mailing Address                    Loan Name                Amount     Contingent
        Gloria Valair, a single woman                                  3524 Webster Street            Bay Pompano Beach                        Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria Valair, a single woman                                  3524 Webster Street            Fiesta Oak Valley                        Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria Valair, a single woman                                  3524 Webster Street            Gramercy Court Condos                    Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria Valair, a single woman                                  3524 Webster Street            HFA- Clear Lake                          Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria Valair, a single woman                                  3524 Webster Street            6425 Gess, LTD                           Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria Valair, a single woman                                  3524 Webster Street            Brookmere/Matteson $27,050,000           Unknown         Y
                                                                       San Francisco, CA 94123
        Gloria W. Handelman and Jim Handelman, wife and husband, as    2324 Caserta Ct                Fiesta Oak Valley                        Unknown         Y
        joint tenants with the right of survivorship                   Henderson, NV 89074
        Gloria W. Handelman and Jim Handelman, wife and husband, as    2324 Caserta Ct                Fiesta Oak Valley                        Unknown         Y
        joint tenants with the right of survivorship                   Henderson, NV 89074
        Gold Plated LLC, Dwight W. Harouff, Manager                    5680 Ruffian Road              Midvale Marketplace, LLC                 Unknown         Y
                                                                       Las Vegas, NV 89149
        Gold Plated LLC, Dwight W. Harouff, Manager                    5680 Ruffian Road              Eagle Meadows Development                Unknown         Y
                                                                       Las Vegas, NV 89149
        Gold Plated LLC, Dwight W. Harouff, Manager                    5680 Ruffian Road              Marlton Square                           Unknown         Y
                                                                       Las Vegas, NV 89149
        Gold Rush Lounge, Inc., an Illinois Corporation                16636 Fairfax Court            Hasley Canyon                            Unknown         Y
                                                                       Tinley Park, IL 60477
        Gold Rush Lounge, Inc., an Illinois Corporation                16636 Fairfax Court            Hasley Canyon                            Unknown         Y
                                                                       Tinley Park, IL 60477
        Gonska Foundation, LLC, a Nevada limited liability company     7520 Bridlehorne Ave           Riviera - Homes for America Holdings,    Unknown         Y
                                                                       Las Vegas, NV 89131            L.L.C.
        Gonska Foundation, LLC, a Nevada limited liability company     7520 Bridlehorne Ave           HFA- North Yonkers                       Unknown         Y
                                                                       Las Vegas, NV 89131
        Gonska Foundation, LLC, a Nevada limited liability company     7520 Bridlehorne Ave           Lerin Hills                              Unknown         Y
                                                                       Las Vegas, NV 89131
        Gonska Foundation, LLC, a Nevada limited liability company     7520 Bridlehorne Ave           Marquis Hotel                            Unknown         Y
                                                                       Las Vegas, NV 89131
        Gordon Murray & Shirley Murray, husband & wife, as joint       8100 Sunset Cove Dr            Ashby Financial $7,200,000               Unknown         Y
        tenants with right of survivorship                             Las Vegas, NV 89128
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             6425 Gess, LTD                           Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             Placer Vineyards                         Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             Margarita Annex                          Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             Castaic Partners II, LLC                 Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             Eagle Meadows Development                Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Gordon N. Stimpson & Marjorie I. Stimpson Co-Trustees of The   728 Pinnacle Court             Gramercy Court Condos                    Unknown         Y
        Stimpson Family Trust Dated 5/9/00                             Mesquite, NV 89027
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P O Box 9288                   Margarita Annex                          Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P O Box 7804                   Margarita Annex                          Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P. O. Box 7804                 Margarita Annex                          Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P O Box 9288                   Placer Vineyards                         Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P O Box 7804                   Placer Vineyards                         Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452
        Grable B. Ronning Trustee of the Bosworth 1988 Family Trust    P. O. Box 7804                 Placer Vineyards                         Unknown         Y
        for the benefit of Eric Ronning dated 11/4/88                  Incline Village, NV 89452




SCHEDULES                                                                           Exhibit B-21                                                            PAGE 105
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In re             USA Commercial Mortgage Company                           ,                                                              Case No. 06-10725-LBR
                                     Debtor                                                                                                             (If known)




                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                     EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                                 Description and Location of Property                                              Property


                                  Legal vesting                                         Mailing Address                   Loan Name          Amount     Contingent
        Grable B. Ronning, an unmarried woman                               P O Box 9288                  Castaic Partners II, LLC          Unknown         Y
                                                                            Incline Village, NV 89452
        Grable B. Ronning, an unmarried woman                               P O Box 7804                  Castaic Partners II, LLC          Unknown         Y
                                                                            Incline Village, NV 89452
        Grable B. Ronning, an unmarried woman                               P. O. Box 7804                Castaic Partners II, LLC          Unknown         Y
                                                                            Incline Village, NV 89452
        Grable B. Ronning, an unmarried woman                               P O Box 9288                  Placer Vineyards                  Unknown         Y
                                                                            Incline Village, NV 89452
        Grable B. Ronning, an unmarried woman                               P O Box 7804                  Placer Vineyards                  Unknown         Y
                                                                            Incline Village, NV 89452
        Grable B. Ronning, an unmarried woman                               P. O. Box 7804                Placer Vineyards                  Unknown         Y
                                                                            Incline Village, NV 89452
        Grant J. Fischer Trustee of the G. J. Fischer Trust dated 11/9/92   813 Williams Place            HFA- North Yonkers                Unknown         Y
                                                                            Ojai, CA 93023
        Greg Milano & Jane Milano, husband & wife, as joint tenants         1105 Carousel                 Marlton Square 2nd                Unknown         Y
        with right of survivorship                                          Bedford, TX 76021
        Greg Revers, a married man dealing with his sole & separate         11055 Slater Ave              HFA- North Yonkers                Unknown         Y
        property                                                            Fountain Valley, CA 92708
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   Amesbury/Hatters Point            Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   Eagle Meadows Development         Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   Gramercy Court Condos             Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   HFA- Windham                      Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   HFA- North Yonkers                Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregor Kloenne & Otilla M. Kloenne Trustees of the Kloenne          P O Box 661                   Clear Creek Plantation            Unknown         Y
        Living Trust dated 3/11/87                                          Kailua, HI 96734
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Placer Vineyards 2nd              Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Placer Vineyards 2nd              Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Opaque/Mt. Edge $7,350,000        Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          HFA- Riviera 2nd                  Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         HFA- Riviera 2nd                  Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Marquis Hotel                     Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Marquis Hotel                     Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Marlton Square 2nd                Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Marlton Square 2nd                Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Gramercy Court Condos             Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Gramercy Court Condos             Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Fiesta USA/Stoneridge             Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct.         Fiesta USA/Stoneridge             Unknown         Y
                                                                            Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust       1982 Country Cove Ct          Hasley Canyon                     Unknown         Y
                                                                            Las Vegas, NV 89135




SCHEDULES                                                                                Exhibit B-21                                                    PAGE 106
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In re            USA Commercial Mortgage Company                     ,                                                                     Case No. 06-10725-LBR
                                  Debtor                                                                                                                (If known)




                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                             EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                            Current Market Value of
                                                                                                                                              Debtor's Interest in
                                                           Description and Location of Property                                                    Property


                               Legal vesting                                     Mailing Address                    Loan Name                Amount     Contingent
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct.        Hasley Canyon                            Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct         Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct.        Fiesta Oak Valley                        Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct         Cabernet                                 Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct.        Cabernet                                 Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct         Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory D. Yonai Trustee of the Gregory D. Yonai Family Trust 1982 Country Cove Ct.        Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory E. Weir, an unmarried man                             1901 Vallejo St Apt 8        Gilroy                                   Unknown         Y
                                                                      San Francisco, CA 94123
        Gregory J. Walch Trustee of the Gregory J. Walch and Shauna   344 Doe Run Circle           Marlton Square                           Unknown         Y
        M. Walch Family Trust dated 11/12/04                          Henderson, NV 89012
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        6425 Gess, LTD                           Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        6425 Gess, LTD                           Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Placer Vineyards                         Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Placer Vineyards                         Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Amesbury/Hatters Point                   Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Amesbury/Hatters Point                   Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        HFA- North Yonkers                       Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        HFA- North Yonkers                       Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Brookmere/Matteson $27,050,000           Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman Trustee of the Lillian M. Freeman Trust    32 Cross Ridge Street        Brookmere/Matteson $27,050,000           Unknown         Y
        dated 5/31/85                                                 Las Vegas, NV 89135
        Gregory L. Freeman, an unmarried man                          32 Cross Ridge Street        Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory L. Freeman, an unmarried man                          32 Cross Ridge Street        Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory L. Freeman, an unmarried man                          32 Cross Ridge Street        Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory L. Freeman, an unmarried man                          32 Cross Ridge Street        Brookmere/Matteson $27,050,000           Unknown         Y
                                                                      Las Vegas, NV 89135
        Gregory M. Brandin, an unmarried man and Robert Eric Brandin 2 La Lomita Street            Riviera - Homes for America Holdings,    Unknown         Y
        and Evelyn Mary Brandin, Trustees of The Brandin Family Trust Newbury Park, CA 91320       L.L.C.
        dated December 1980, as joint tenants with the rights of
        survivorship
        Gregory M. Brandin, an unmarried man and Robert Eric Brandin 726 Idaho Ave #305            Riviera - Homes for America Holdings,    Unknown         Y
        and Evelyn Mary Brandin, Trustees of The Brandin Family Trust Santa Monica, CA 90403       L.L.C.
        dated December 1980, as joint tenants with the rights of
        survivorship
        Gregory Scott Daniel, A single man                            20 Redonda                   Eagle Meadows Development                Unknown         Y
                                                                      Irvine, CA 92620
        Gregory V. Sak and Jana L. Sak, Trustees of The Sak Family    2512 Skippers Cove Ave       Eagle Meadows Development                Unknown         Y
        Trust dated 12-17-04                                          Henderson, NV 89052
        Gregory W. Stimpson & Carrie M. Stimpson, husband & wife, as 2665 Firenze Drive            6425 Gess, LTD                           Unknown         Y
        joint tenants with right of survivorship                      Sparks, NV 89434




SCHEDULES                                                                         Exhibit B-21                                                           PAGE 107
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In re            USA Commercial Mortgage Company                        ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                              Description and Location of Property                                               Property


                                 Legal vesting                                        Mailing Address                   Loan Name          Amount     Contingent
        Gregory W. Stimpson & Carrie M. Stimpson, husband & wife, as 2665 Firenze Drive                 Eagle Meadows Development         Unknown          Y
        joint tenants with right of survivorship                         Sparks, NV 89434
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             HFA- North Yonkers                Unknown          Y
                                                                         Payson, AZ 85541
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             HFA- North Yonkers                Unknown          Y
                                                                         Payson, AZ 85541
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             HFA- North Yonkers                Unknown          Y
                                                                         Payson, AZ 85541
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             Placer Vineyards                  Unknown          Y
                                                                         Payson, AZ 85541
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             Placer Vineyards                  Unknown          Y
                                                                         Payson, AZ 85541
        GSL Investments LLC, a Nevada limited liability company          310 N Grapevine Dr             Placer Vineyards                  Unknown          Y
                                                                         Payson, AZ 85541
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             6425 Gess, LTD                    Unknown          Y
        Kohler Living Trust dated 6/13-                                  San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             HFA- Clear Lake                   Unknown          Y
        Kohler Living Trust dated 6/13/89                                San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             Amesbury/Hatters Point            Unknown          Y
        Kohler Living Trust dated 6/13/89                                San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             BarUSA/$15,300,000                Unknown          Y
        Kohler Living Trust dated 6/13/89                                San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             Bay Pompano Beach                 Unknown          Y
        Kohler Living Trust dated 6/13/89                                San Mateo, CA 94403
        Guenther A. Kohler & Elfriede Kohler Trustees of the 1989        842 Overlook Court             Fiesta Oak Valley                 Unknown          Y
        Kohler Living Trust dated 6/13/89                                San Mateo, CA 94403
        Guenther Leopold & Adelle Leopold Trustees of the Guenther & 3080 Arguello Dr                   Anchor B, LLC                     Unknown          Y
        Adelle Leopold Family Trust dated 1/01/82                        Burlingame, CA 94010
        Guido Mandarino POD Maria Rocco                                  7951 Avalon Island Street      Cabernet                          Unknown          Y
                                                                         Las Vegas, NV 89139
        Gunter Volpel and Christiane Volpel, Trustees of the Volpel      90876 Libby Lane               6425 Gess, LTD                    Unknown          Y
        Trust dated 2/2/96                                               Coos Bay, OR 97420
        Guy Archer, a married man dealing with his sole & separate       1725 Fairfield Ave             Placer Vineyards                  Unknown          Y
        property                                                         Reno, NV 89509
        Guy Archer, a married man dealing with his sole & separate       1725 Fairfield Ave             Opaque/Mt. Edge $7,350,000        Unknown          Y
        property                                                         Reno, NV 89509
        Guy Archer, a married man dealing with his sole & separate       1725 Fairfield Ave             Bay Pompano Beach                 Unknown          Y
        property                                                         Reno, NV 89509
        Guy Archer, a married man dealing with his sole & separate       1725 Fairfield Ave             Midvale Marketplace, LLC          Unknown          Y
        property                                                         Reno, NV 89509
        Guy R. Blatt & Cherie A. Blatt, husband & wife, as joint tenants 2712 Pepperwood Pl             Amesbury/Hatters Point            Unknown          Y
        with right of survivorship                                       Hayward, CA 94541
        H. Daniel Whitman Trustee of the Whitman Trust dated 12/1/04 P O Box 10200                      Marlton Square 2nd                Unknown          Y
                                                                         Zephyr Cove, NV 89448
        H. Daniel Whitman Trustee of the Whitman Trust dated 12/1/04 P O Box 10200                      Marlton Square 2nd                Unknown          Y
                                                                         Zephyr Cove, NV 89448
        H. George Cabanting & Ann T. Cabanting, husband & wife, as       2442 Melody Lane               Amesbury/Hatters Point            Unknown          Y
        joint tenants with right of survivorship payable on death to     Reno, NV 89512
        George P. Cabanting
        H. George Cabanting & Ann T. Cabanting, husband & wife, as       2442 Melody Lane               Eagle Meadows Development         Unknown          Y
        joint tenants with right of survivorship payable on death to     Reno, NV 89512
        George P. Cabanting
        H. Lee Shapiro, a single man                                     777 S. Kihei Road #212         HFA- North Yonkers                Unknown          Y
                                                                         Kihei, HI 96753
        H. Lee Shapiro, a single man                                     777 S. Kihei Road #212         Wasco Investments                 Unknown          Y
                                                                         Kihei, HI 96753
        H. Lee Shapiro, a single man                                     777 S. Kihei Road #212         6425 Gess, LTD                    Unknown          Y
                                                                         Kihei, HI 96753
        Han K. Lee & Carol L. Lee, husband & wife, as joint tenants with 2910 Sarina Avenue             Fiesta Oak Valley                 Unknown          Y
        the right of survivorship                                        Henderson, NV 89014




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 108
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In re            USA Commercial Mortgage Company                       ,                                                                        Case No. 06-10725-LBR
                                   Debtor                                                                                                                    (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                             Description and Location of Property                                                       Property


                                Legal vesting                                       Mailing Address                          Loan Name            Amount     Contingent
        Han K. Lee & Carol L. Lee, husband & wife, as joint tenants with 2910 Sarina Avenue                  BarUSA/$15,300,000                  Unknown         Y
        the right of survivorship                                         Henderson, NV 89014
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill Lane               HFA- Windham                        Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill                    HFA- Windham                        Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill Lane               Placer Vineyards                    Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill                    Placer Vineyards                    Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill Lane               Brookmere/Matteson $27,050,000      Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hannah Brehmer, an unmarried woman & Marti McAllister, a          188 Beacon Hill                    Brookmere/Matteson $27,050,000      Unknown         Y
        married woman dealing with her sole & separate property, as joint Ashland, OR 97520
        tenants with right of survivorship
        Hans Arnold and Hendrika P. Arnold, Trustees of the Arnold        7844 Tiburon Court                 Harbor Georgetown                   Unknown         Y
        Family Trust dated 12/27/95                                       Sparks, NV 89436
        Hans J. Leer & Carolyn F. Leer, as joint tenants with right of    2024 Gentry Ln                     Lerin Hills                         Unknown         Y
        survivorship                                                      Carson City, NV 89701
        Hans J. Prakelt, an unmarried man                                 2401-A Waterman Blvd Suite 4-230   Golden State Investments II         Unknown         Y
                                                                          Fairfield, CA 94534
        Hans J. Prakelt, an unmarried man                                 2401-A Waterman Blvd Suite 4-230   Lerin Hills                         Unknown         Y
                                                                          Fairfield, CA 94534
        Harkley E. Boak & Carrie Boak, Husband and Wife as joint          2336 Sun Cliff Street              Eagle Meadows Development           Unknown         Y
        tenants with the of survivorship                                  Las Vegas, NV 89134
        Harold A. Thompson & Diana C. Thompson Trustees of the            973 Pete's Way                     Golden State Investments II         Unknown         Y
        Harold A. Thompson & Diana C. Thompson Revocable Family Sparks, NV 89434
        Trust dated 7/11/90
        Harold B. Miller Trustee of the 1994 Miller Family Trust          8800 Kingsmill Dr                  Marquis Hotel                       Unknown         Y
                                                                          Las Vegas, NV 89134
        Harold Corcoran & Joyce Corcoran, husband & wife, as joint        2501 Loggia                        HFA- North Yonkers                  Unknown         Y
        tenants with right of survivorship                                Newport Beach, CA 92660
        Harold Corcoran & Joyce Corcoran, husband & wife, as joint        2501 Loggia                        Placer Vineyards                    Unknown         Y
        tenants with right of survivorship                                Newport Beach, CA 92660
        Harold E. Pals Trustee of the Harold E. Pals Living Trust         226-2 Morgyn Lane                  Amesbury/Hatters Point              Unknown         Y
                                                                          Boulder City, NV 89005
        Harold Epstein Trustee of the Harold Epstein Revocable Living 40 W 3rd Ave Apt 703                   Ashby Financial $7,200,000          Unknown         Y
        Trust dated February 14, 1991                                     San Mateo, CA 94402
        Harold Epstein Trustee of the Harold Epstein Revocable Living 40 W 3rd Ave Apt 703                   HFA- Windham                        Unknown         Y
        Trust dated February 14, 1991                                     San Mateo, CA 94402
        Harold Epstein Trustee of the Harold Epstein Revocable Living 40 W 3rd Ave Apt 703                   Margarita Annex                     Unknown         Y
        Trust dated February 14, 1991                                     San Mateo, CA 94402
        Harold F. Clark Jr., a single man                                 555 Twining Flats Rd               Tapia Ranch                         Unknown         Y
                                                                          Aspen, CO 81611
        Harold G. Hartwell, an unmarried man                              3424 E Tonopah Ave                 HFA- North Yonkers                  Unknown         Y
                                                                          N Las Vegas, NV 89030
        Harold L. Miller Trustee of the Art-Kay Family Trust              55 S Valle Verde 235               Tapia Ranch                         Unknown         Y
                                                                          Henderson, NV 89012
        Harold L. Miller Trustee of the Art-Kay Family Trust              55 S Valle Verde 235               Bay Pompano Beach                   Unknown         Y
                                                                          Henderson, NV 89012
        Harold L. Miller Trustee of the Art-Kay Family Trust              55 S Valle Verde 235               Placer Vineyards 2nd                Unknown         Y
                                                                          Henderson, NV 89012
        Harold L. Miller Trustee of the Art-Kay Family Trust              55 S Valle Verde 235               Copper Sage Commerce Center, LLC    Unknown         Y
                                                                          Henderson, NV 89012




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In re             USA Commercial Mortgage Company                          ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                               Description and Location of Property                                              Property


                                 Legal vesting                                     Mailing Address                     Loan Name           Amount     Contingent
        Harold Pals Trustee of the Claire H. Pals Revocable Living Trust
                                                                       226 – 2 Morgyn Lane            Placer Vineyards                    Unknown          Y
        U/A dated 12/11/02                                             Boulder City, NV 89005
        Harold Sturza, an unmarried man transfer on death to Elyse     2705 Orchid Valley Drive       HFA- Clear Lake                     Unknown          Y
        Smerling, a married woman                                      Las Vegas, NV 89134
        Harold Sturza, an unmarried man transfer on death to Elyse     2705 Orchid Valley Drive       Brookmere/Matteson $27,050,000      Unknown          Y
        Smerling, a married woman                                      Las Vegas, NV 89134
        Harriet Bender Trustee of the Bender Family Trust dtd 7/30/92  5461A Paseo Del Lago East      Marlton Square                      Unknown          Y
        Survivors Trust                                                Laguna Woods, CA 92653
        Harriet Bender Trustee of the Bender Family Trust dtd 7/30/92  5461A Paseo Del Lago East      Marlton Square                      Unknown          Y
        Survivors Trust                                                Laguna Woods, FL 92637
        Harriet Bender Trustee of the Bender Family Trust dtd 7/30/92  5461A Paseo Del Lago East      Tapia Ranch                         Unknown          Y
        Survivors Trust                                                Laguna Woods, CA 92653
        Harriet Bender Trustee of the Bender Family Trust dtd 7/30/92  5461A Paseo Del Lago East      Tapia Ranch                         Unknown          Y
        Survivors Trust                                                Laguna Woods, FL 92637
        Harriet Bender Trustee of The Bender Family Trust, By-Pass     5461A Paseo Del Lago East      6425 Gess, LTD                      Unknown          Y
        Trust , dated 7/30/92                                          Laguna Woods, CA 92653
        Harriet Bender Trustee of The Bender Family Trust, By-Pass     5461A Paseo Del Lago East      6425 Gess, LTD                      Unknown          Y
        Trust , dated 7/30/92                                          Laguna Woods, FL 92637
        Harriet Bender Trustee of The Bender Family Trust, By-Pass     5461A Paseo Del Lago East      Bay Pompano Beach                   Unknown          Y
        Trust , dated 7/30/92                                          Laguna Woods, CA 92653
        Harriet Bender Trustee of The Bender Family Trust, By-Pass     5461A Paseo Del Lago East      Bay Pompano Beach                   Unknown          Y
        Trust , dated 7/30/92                                          Laguna Woods, FL 92637
        Harry B. McHugh Trustee of the Harry B. McHugh Revocable       525 Court St.                  Fiesta Oak Valley                   Unknown          Y
        Trust dated 3/12/01                                            Reno, NV 89501
        Harvey A. Kornhaber, a single man                              P O Box 10376                  Placer Vineyards                    Unknown          Y
                                                                       Truckee, CA 96162
        Harvey A. Kornhaber, a single man                              P O Box 10376                  Gramercy Court Condos               Unknown          Y
                                                                       Truckee, CA 96162
        Harvey A. Kornhaber, a single man                              P O Box 10376                  Copper Sage Commerce Center, LLC    Unknown          Y
                                                                       Truckee, CA 96162
        Harvey Andrew Rineer III Trustee for the Harvey Andrew Rineer 3756 Sauceda Lane               Gramercy Court Condos               Unknown          Y
        III Trust UTA dated 11/15/02                                   Las Vegas, NV 89103
        Harvey Andrew Rineer III Trustee for the Harvey Andrew Rineer 3756 Sauceda Lane               HFA- Clear Lake                     Unknown          Y
        III Trust UTA dated 11/15/02                                   Las Vegas, NV 89103
        Harvey D. Ader & Marjorie Ader Trustees for the Ader Family    404 Cross Street               Amesbury/Hatters Point              Unknown          Y
        Trust                                                          Henderson, NV 89015
        Harvey J. McShaffrey & Christina F. McShaffrey Trustees of the PO Box 560                     Bay Pompano Beach                   Unknown          Y
        McShaffrey Living Trust dated 3/27/81                          Big Bear, CA 92315
        Harvey J. McShaffrey & Christina F. McShaffrey Trustees of the PO Box 560                     Fiesta USA/Stoneridge               Unknown          Y
        McShaffrey Living Trust dated 3/27/81                          Big Bear, CA 92315
        Heather Winchester & William Winchester, husband and wife as 2215 Stowe Drive                 Bay Pompano Beach                   Unknown          Y
        joint tenants with the right of survivorship                   Reno, NV 89511
        Heidi R. Dixon, Trustee Margaret Patterson Living Trust Dated 210 N Mall Dr Unit 78           Gramercy Court Condos               Unknown          Y
        11/9/04                                                        St George, UT 84790
        Heidi R. Dixon, Trustee Margaret Patterson Living Trust Dated 210 N. Mall Drive Unit 78       Gramercy Court Condos               Unknown          Y
        11/9/04                                                        St. George, UT 84790
        Heinrich Richard Weber & Brigitte S. Weber, husband & wife, as 2099 Westglen Ct               HFA- Clear Lake                     Unknown          Y
        joint tenants with right of survivorship                       Reno, NV 89523
        Helen C. Makepeace Trustee of the Helen C. Makepeace           2445 Harden Ridge Drive        Marlton Square                      Unknown          Y
        Survivor's Trust UAD 06/18/97                                  Henderson, NV 89052
        Helen C. Makepeace Trustee of the Helen C. Makepeace           2445 Harden Ridge Drive        HFA- Clear Lake                     Unknown          Y
        Survivor's Trust UAD 06/18/97                                  Henderson, NV 89052
        Helen Clifton Trustee of the Clifton Family Trust              10812 Windrose Point           Amesbury/Hatters Point              Unknown          Y
                                                                       Las Vegas, NV 89144
        Helen N. Graeber, a single woman                               P O Box 48                     Anchor B, LLC                       Unknown          Y
                                                                       Yazoo City, MS 39194
        Helen R. Gray Trustee of the Helen R. Gray Revocable Trust     118 S 1470 W                   BarUSA/$15,300,000                  Unknown          Y
        dated 1/17/92                                                  Provo, UT 84601




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In re            USA Commercial Mortgage Company                         ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                            (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                              Description and Location of Property                                               Property


                                 Legal vesting                                        Mailing Address                   Loan Name          Amount     Contingent
        Helen R. Pile, a widow & William E. Pile, a married man dealing 5118 Range View Ave             Placer Vineyards 2nd              Unknown          Y
        with his sole & separate property, as joint tenants with right of Los Angeles, CA 90042
        survivorship
        Helen T. Bahneman                                                 930 Tahoe Blvd 802            Fiesta Oak Valley                 Unknown          Y
                                                                          Incline Village, NV 89451
        Helena A. Bova, a single woman                                    8137 Regis Way                Tapia Ranch                       Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                Cabernet                          Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                HFA- North Yonkers                Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                HFA- Riviera 2nd                  Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                Marlton Square 2nd                Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                Shamrock Tower, LP                Unknown          Y
                                                                          Los Angeles, CA 90045
        Helena A. Bova, a single woman                                    8137 Regis Way                Placer Vineyards                  Unknown          Y
                                                                          Los Angeles, CA 90045
        Helms Homes, LLC, a Nevada limited liability company              809 Upland Boulevard          6425 Gess, LTD                    Unknown          Y
                                                                          Las Vegas, NV 89107
        Helms Homes, LLC, a Nevada limited liability company              809 Upland Boulevard          Gramercy Court Condos             Unknown          Y
                                                                          Las Vegas, NV 89107
        Helms Homes, LLC, a Nevada limited liability company              809 Upland Boulevard          HFA- Clear Lake                   Unknown          Y
                                                                          Las Vegas, NV 89107
        Helms Homes, LLC, a Nevada limited liability company              809 Upland Boulevard          Placer Vineyards                  Unknown          Y
                                                                          Las Vegas, NV 89107
        Helms Homes, LLC, a Nevada limited liability company              809 Upland Boulevard          Brookmere/Matteson $27,050,000    Unknown          Y
                                                                          Las Vegas, NV 89107
        Helmut O. Przystaw & Erika L. Przystaw, as joint tenants with     1609 Wheatgrass Dr            Placer Vineyards                  Unknown          Y
        right of survivorship                                             Reno, NV 89509
        Helmut O. Przystaw & Erika L. Przystaw, as joint tenants with     1609 Wheatgrass Dr            Eagle Meadows Development         Unknown          Y
        right of survivorship                                             Reno, NV 89509
        Hendarsin Lukito & Shu S. Lukito, husband & wife, as joint        3009 Beaverwood Ln            BarUSA/$15,300,000                Unknown          Y
        tenants with the right of survivorship                            Silver Springs, MD 20906
        Henri L. Louvigny & Marcelle A. Louvigny Co-Trustees For The 2648 Aspen Valley Ln               Placer Vineyards                  Unknown          Y
        Benefit Of The Henry L. Louvigny & Marcelle A. Louvigny           Sacramento, CA 95835
        Family Trust dated 10/18/84
        Henri L. Louvigny & Marcelle A. Louvigny Co-Trustees For The 2648 Aspen Valley Ln.              Placer Vineyards                  Unknown          Y
        Benefit Of The Henry L. Louvigny & Marcelle A. Louvigny           Sacramento, CA 95835
        Family Trust dated 10/18/84
        Henri L. Louvigny & Marcelle A. Louvigny Co-Trustees For The 2648 Aspen Valley Ln               Tapia Ranch                       Unknown          Y
        Benefit Of The Henry L. Louvigny & Marcelle A. Louvigny           Sacramento, CA 95835
        Family Trust dated 10/18/84
        Henri L. Louvigny & Marcelle A. Louvigny Co-Trustees For The 2648 Aspen Valley Ln.              Tapia Ranch                       Unknown          Y
        Benefit Of The Henry L. Louvigny & Marcelle A. Louvigny           Sacramento, CA 95835
        Family Trust dated 10/18/84
        Henry E. Pattison & Ruth V. Pattison, joint tenants with right of 5219 West Ave L14             Eagle Meadows Development         Unknown          Y
        survivorship                                                      Quartz Hill, CA 93536
        Henry E. Pattison & Ruth V. Pattison, joint tenants with right of 5219 West Ave L14             HFA- North Yonkers                Unknown          Y
        survivorship                                                      Quartz Hill, CA 93536
        Henry E. Pattison & Ruth V. Pattison, joint tenants with right of 5219 West Ave L14             Marquis Hotel                     Unknown          Y
        survivorship                                                      Quartz Hill, CA 93536
        Henry E. Pattison & Ruth V. Pattison, joint tenants with right of 5219 West Ave L14             Brookmere/Matteson $27,050,000    Unknown          Y
        survivorship                                                      Quartz Hill, CA 93536
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161                  Tapia Ranch                       Unknown          Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161                  Shamrock Tower, LP                Unknown          Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 111
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In re            USA Commercial Mortgage Company                       ,                                                              Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                            Description and Location of Property                                              Property


                                Legal vesting                                      Mailing Address                   Loan Name           Amount    Contingent
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161               BarUSA/$15,300,000                Unknown            Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161               Ashby Financial $7,200,000        Unknown            Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161               6425 Gess, LTD                    Unknown            Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145
        Henry J. Obermuller & Mengia K. Obermuller Trustees of the        P O Box 1161               Amesbury/Hatters Point            Unknown            Y
        Henry & Mengia Obermuller Trust dated 9/14/90                     Tahoe City, CA 96145
        Henry L. Letzerich and Norma W. Letzerich, husband and wife,      2322 Joshua Circle         Cabernet                          Unknown            Y
        as joint tenants with the rights of survivorship                  Santa Clara, UT 84765
        Henry L. Letzerich and Norma W. Letzerich, husband and wife,      2322 Joshua Circle         Lerin Hills                       Unknown            Y
        as joint tenants with the rights of survivorship                  Santa Clara, UT 84765
        Herbert Lum Trustee of the Herbert Lum Trust dated 11/27/96       5783 Ballenger Drive       Placer Vineyards 2nd              Unknown            Y
                                                                          Las Vegas, NV 89122
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as 50 Nottingham Drive        Bay Pompano Beach                 Unknown            Y
        joint tenants with right of survivorship                          Old Bridge, NJ 8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as 50 Nottingham Drive        Fiesta Oak Valley                 Unknown            Y
        joint tenants with right of survivorship                          Old Bridge, NJ 8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as 50 Nottingham Drive        6425 Gess, LTD                    Unknown            Y
        joint tenants with right of survivorship                          Old Bridge, NJ 8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as 50 Nottingham Drive        Tapia Ranch                       Unknown            Y
        joint tenants with right of survivorship                          Old Bridge, NJ 8857
        Herbert Slovis, a single man & Julie B. Slovis, a single woman as 50 Nottingham Drive        Brookmere/Matteson $27,050,000    Unknown            Y
        joint tenants with right of survivorship                          Old Bridge, NJ 8857
        Herbert Sonnenklar & Norma R. Sonnenklar, husband & wife, as 2501 Poinciana Drive            Amesbury/Hatters Point            Unknown            Y
        joint tenants with right of survivorship                          Weston, FL 33327
        Herbert Sonnenklar & Norma R. Sonnenklar, husband & wife, as 2501 Poinciana Drive            Eagle Meadows Development         Unknown            Y
        joint tenants with right of survivorship                          Weston, FL 33327
        Herbert Sonnenklar & Norma R. Sonnenklar, husband & wife, as 2501 Poinciana Drive            Gramercy Court Condos             Unknown            Y
        joint tenants with right of survivorship                          Weston, FL 33327
        Herbert Sonnenklar & Norma R. Sonnenklar, husband & wife, as 2501 Poinciana Drive            HFA- North Yonkers                Unknown            Y
        joint tenants with right of survivorship                          Weston, FL 33327
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & NULL                           Fiesta USA/Stoneridge             Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 NULL
                                                                          NULL, NULL
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             Fiesta USA/Stoneridge             Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             Fiesta USA/Stoneridge             Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & NULL                           HFA- North Yonkers                Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 NULL
                                                                          NULL, NULL
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             HFA- North Yonkers                Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             HFA- North Yonkers                Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & NULL                           6425 Gess, LTD                    Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 NULL
                                                                          NULL, NULL
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             6425 Gess, LTD                    Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Herbert W. Mueller & Linda Mueller, Trustees of the Herbert & 2479 San Sebastian             6425 Gess, LTD                    Unknown            Y
        Linda Mueller Trust dated 2/10/93                                 Los Osos, CA 93402
        Hermaine Hinden & Seymour Hinden Trustees of the Hermaine 2721 Orchid Valley Drive           Brookmere/Matteson $27,050,000    Unknown            Y
        & Seymour Hinden Living Trust dated 2/22/00                       Las Vegas, NV 89134
        Herman M. Adams, Brian M. Adams & Anthony G. Adams as             1341 Cashman Drive         Gateway Stone                     Unknown            Y
        Joint Tenants                                                     Las Vegas, NV 89102
        Herman M. Adams, Brian M. Adams & Anthony G. Adams as             1341 Cashman Drive         Gilroy                            Unknown            Y
        Joint Tenants                                                     Las Vegas, NV 89102




SCHEDULES                                                                           Exhibit B-21                                                     PAGE 112
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In re            USA Commercial Mortgage Company                        ,                                                                             Case No. 06-10725-LBR
                                   Debtor                                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                       Current Market Value of
                                                                                                                                                         Debtor's Interest in
                                                              Description and Location of Property                                                            Property


                                 Legal vesting                                       Mailing Address                           Loan Name                Amount     Contingent
        Herman M. Adams, Brian M. Adams & Anthony G. Adams as             1341 Cashman Drive                  Huntsville                               Unknown         Y
        Joint Tenants                                                     Las Vegas, NV 89102
        Herman M. Adams, Brian M. Adams & Anthony G. Adams as             1341 Cashman Drive                  Wasco Investments                        Unknown         Y
        Joint Tenants                                                     Las Vegas, NV 89102
        Herman, Inc., a California corporation                            4590 Eucalyptus Ave Ste A           BarUSA/$15,300,000                       Unknown         Y
                                                                          Chino, CA 91710
        Herman, Inc., a California corporation                            4590 Eucalyptus Ave Ste A           BarUSA/$15,300,000                       Unknown         Y
                                                                          Chino, CA 91710
        Herman, Inc., a California corporation                            4590 Eucalyptus Ave Ste A           BarUSA/$15,300,000                       Unknown         Y
                                                                          Chino, CA 91710
        Hilary A. Huffman & Cynthia L. Huffman Trustees of the            140 Gazelle Rd                      Gramercy Court Condos                    Unknown         Y
        Huffman Family Trust dated 5/28/98                                Reno, NV 89511
        Hilary A. Huffman & Cynthia L. Huffman Trustees of the            140 Gazelle Rd                      Placer Vineyards 2nd                     Unknown         Y
        Huffman Family Trust dated 5/28/98                                Reno, NV 89511
        Hillari Tischler payable on death to Howard Tischler              7408 Doe Avenue                     Marlton Square                           Unknown         Y
                                                                          Las Vegas, NV 89117
        Hoffman Family Investments LP, an Iowa limited partnership        5764 Flintcrest Drive               Tapia Ranch                              Unknown         Y
                                                                          Burlington, IA 52601
        Hollis Lee Saulsberry, Trustee of the Saulsberry Revocable Inter- 13600 Marina Point Dr Unit 801      Eagle Meadows Development                Unknown         Y
        Vivos Trust dated 9/9/82                                          Marina Del Ray, CA 90292
        Holly Combs Trustee of the Montana Skies Ret Trust dated          International Business Management   Marquis Hotel                            Unknown         Y
        1/1/99                                                            9696 Culver Blvd Suite 203
                                                                          Culver City, CA 90232
        Holly J. Pickerel, a single woman                                 3415 Cooper Street                  Lerin Hills                              Unknown         Y
                                                                          San Diego, CA 92104
        Holly J. Pickerel, a single woman                                 3415 Cooper Street                  Bay Pompano Beach                        Unknown         Y
                                                                          San Diego, CA 92104
        Holly J. Pickerel, a single woman                                 3415 Cooper Street                  Marlton Square                           Unknown         Y
                                                                          San Diego, CA 92104
        Holly J. Pickerel, a single woman                                 3415 Cooper Street                  Marlton Square 2nd                       Unknown         Y
                                                                          San Diego, CA 92104
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                HFA- Windham                             Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                HFA- Windham                             Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Fort Lauderdale, FL 33305           L.L.C.
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Riviera - Homes for America Holdings,    Unknown         Y
                                                                          Ft Lauderdale, FL 33305             L.L.C.
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Placer Vineyards                         Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Placer Vineyards                         Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Margarita Annex                          Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Margarita Annex                          Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Wasco Investments                        Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Wasco Investments                        Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Huntsville                               Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                Huntsville                               Unknown         Y
                                                                          Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                HFA- Riviera 2nd                         Unknown         Y
                                                                          Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company              2515 N Atlantic Blvd                HFA- Riviera 2nd                         Unknown         Y
                                                                          Ft Lauderdale, FL 33305




SCHEDULES                                                                             Exhibit B-21                                                                  PAGE 113
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In re             USA Commercial Mortgage Company                      ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                               Description and Location of Property                                            Property


                                 Legal vesting                                     Mailing Address                     Loan Name          Amount    Contingent
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           HFA- North Yonkers                Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           HFA- North Yonkers                Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           6425 Gess, LTD                    Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           6425 Gess, LTD                    Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Harbor Georgetown                 Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Harbor Georgetown                 Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Marlton Square                    Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Marlton Square                    Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Amesbury/Hatters Point            Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Amesbury/Hatters Point            Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Anchor B, LLC                     Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Anchor B, LLC                     Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Bay Pompano Beach                 Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Bay Pompano Beach                 Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Castaic Partners II, LLC          Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Castaic Partners II, LLC          Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Gilroy                            Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Gilroy                            Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Fort Lauderdale, FL 33305
        Homfeld II, LLC, a Florida limited liability company           2515 N Atlantic Blvd           Brookmere/Matteson $27,050,000    Unknown            Y
                                                                       Ft Lauderdale, FL 33305
        Horizon Investment Management, LLC                             P O Box 8173                   Eagle Meadows Development         Unknown            Y
                                                                       Truckee, CA 96162
        Horizon Investment Management, LLC                             P O Box 8173                   Eagle Meadows Development         Unknown            Y
                                                                       Truckee, CA 96162
        Houghton Dental Corp Profit Sharing Plan for benefit of        2871 Pinta                     Gramercy Court Condos             Unknown            Y
        Geraldine Houghton                                             Perris, CA 92571
        Howard C. Sayler & Phyllis L. Sayler Trustees of the Sayler    P O Box 1311                   Fiesta Oak Valley                 Unknown            Y
        Family Trust dated 9/2/98                                      Kings Beach, CA 96143
        Howard C. Sayler & Phyllis L. Sayler Trustees of the Sayler    P O Box 1311                   Marquis Hotel                     Unknown            Y
        Family Trust dated 9/2/98                                      Kings Beach, CA 96143
        Howard Connell & Lorene Connell, husband & wife, as joint      1001 Jennis Silver Street      Fiesta USA/Stoneridge             Unknown            Y
        tenants with right of survivorship                             Las Vegas, NV 89145
        Howard Connell & Lorene Connell, husband & wife, as joint      1001 Jennis Silver Street      Brookmere/Matteson $27,050,000    Unknown            Y
        tenants with right of survivorship                             Las Vegas, NV 89145
        Howard D. Brooks & Doreen C. Brooks Trustees of the Brooks     1894 Hwy 50 Ste 4 # 344        6425 Gess, LTD                    Unknown            Y
        Living Trust dated 6/30/97                                     Carson City, NV 89701
        Howard D. Brooks & Doreen C. Brooks Trustees of the Brooks     1894 Hwy 50 Ste 4 # 344        HFA- Clear Lake                   Unknown            Y
        Living Trust dated 6/30/97                                     Carson City, NV 89701
        Howard D. Brooks & Doreen C. Brooks Trustees of the Brooks     1894 Hwy 50 Ste 4 # 344        Marlton Square                    Unknown            Y
        Living Trust dated 6/30/97                                     Carson City, NV 89701




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In re            USA Commercial Mortgage Company                        ,                                                                     Case No. 06-10725-LBR
                                    Debtor                                                                                                                 (If known)




                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                 EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                               Current Market Value of
                                                                                                                                                 Debtor's Interest in
                                                              Description and Location of Property                                                    Property


                                 Legal vesting                                      Mailing Address                           Loan Name         Amount     Contingent
        Howard G. Schrock & June Schrock, joint tenants with right of    5571 Barcelona Ct                   Gilroy                            Unknown         Y
        survivorship                                                     Sparks, NV 89436
        Howard Kolodny Trustee of the Howard Kolodny Trust dated         4404 Portico Place                  BarUSA/$15,300,000                Unknown         Y
        3/22/99                                                          Encino, CA 91316
        Howard Kolodny Trustee of the Howard Kolodny Trust dated         4404 Portico Place                  Eagle Meadows Development         Unknown         Y
        3/22/99                                                          Encino, CA 91316
        Howard L. Craig & Frankye D. Craig Trustees of the Craig         1735 Caughlin Creek Road            Eagle Meadows Development         Unknown         Y
        Living Trust dated 08/10/00                                      Reno, NV 89509
        Howard L. Craig & Frankye D. Craig Trustees of the Craig         1735 Caughlin Creek Road            Eagle Meadows Development         Unknown         Y
        Living Trust dated 08/10/00                                      Reno, NV 89509
        Howard L. Craig & Frankye D. Craig Trustees of the Craig         1735 Caughlin Creek Road            Placer Vineyards                  Unknown         Y
        Living Trust dated 08/10/00                                      Reno, NV 89509
        Howard L. Craig & Frankye D. Craig Trustees of the Craig         1735 Caughlin Creek Road            Placer Vineyards                  Unknown         Y
        Living Trust dated 08/10/00                                      Reno, NV 89509
        Howard Nehdar Custodian for Kyle Nehdar, UGMA                    5737 Kanan Rd # 125                 Lerin Hills                       Unknown         Y
                                                                         Agoura Hills, CA 91301
        Howard Nehdar Custodian for Kyle Nehdar, UGMA                    28955 Bardell Dr                    Lerin Hills                       Unknown         Y
                                                                         Agoura Hills, CA 91301
        Howard P. Weiss & Curtis Weiss, as joint tenants with right of   2871 San Lago Court                 Brookmere/Matteson $27,050,000    Unknown         Y
        survivorship                                                     Las Vegas, NV 89121
        Howard S. Smith & Louise T. Smith Trustees of the Smith Family 2299 Pebblestone Lane                 Opaque/Mt. Edge $7,350,000        Unknown         Y
        Living Trust                                                     Lincoln, CA 95648
        Howard S. Smith & Louise T. Smith Trustees of the Smith Family 2299 Pebblestone Lane                 Brookmere/Matteson $27,050,000    Unknown         Y
        Living Trust                                                     Lincoln, CA 95648
        Howard Samsen & Vera Samsen, husband & wife, as joint tenants 9948 Arbuckle Drive                    HFA- Clear Lake                   Unknown         Y
        with right of survivorship                                       Las Vegas, NV 89134
        Huiyon Neilan, a married woman dealing with her sole &           P O Box 96001                       Amesbury/Hatters Point            Unknown         Y
        separate property & Jennifer Neilan, an unmarried woman, as      Las Vegas, NV 89193
        joint tenants with right of survivorship
        Humberto D'Elia, a single man                                    72 Paradise Pkway                   Harbor Georgetown                 Unknown         Y
                                                                         Henderson, NV 89074
        Iain B. Finlayson Trustee of the Finlayson 1991 Family Trust     7330 Edna Avenue                    Fiesta USA/Stoneridge             Unknown         Y
                                                                         Las Vegas, NV 89117
        Iain B. Finlayson Trustee of the Finlayson 1991 Family Trust     7330 Edna Avenue                    Gramercy Court Condos             Unknown         Y
                                                                         Las Vegas, NV 89117
        Ian A. Falconer, a single man                                    PO Box 48447 Bentall Center         Ashby Financial $7,200,000        Unknown         Y
                                                                         Vancouver, BC
        Ian A. Falconer, a single man                                    PO Box 48447 Bentall Center         Shamrock Tower, LP                Unknown         Y
                                                                         Vancouver, BC
        Ian A. Falconer, a single man                                    PO Box 48447 Bentall Center         BarUSA/$15,300,000                Unknown         Y
                                                                         Vancouver, BC
        Ian A. Falconer, a single man                                    PO Box 48447 Bentall Center         Amesbury/Hatters Point            Unknown         Y
                                                                         Vancouver, BC
        Ian A. Falconer, a single man                                    PO Box 48447 Bentall Center         HFA- North Yonkers                Unknown         Y
                                                                         Vancouver, BC
        India C. High, a single woman                                    1 Bon Secour Way Ste 135            Marlton Square                    Unknown         Y
                                                                         Portsmouth, VA 23703
        Inge Grist, an unmarried woman                                   Ave. Paseo De La Marina Norte 535   Freeway 101                       Unknown         Y
                                                                         Apartamento # 504
                                                                         Puerto Vallarta, Jalisco 48300
        Inge Grist, an unmarried woman                                   Ave. Paseo De La Marina Norte 535   HFA- Clear Lake                   Unknown         Y
                                                                         Apartamento # 504
                                                                         Puerto Vallarta, Jalisco 48300
        Ingrid A. Rutherford, Trustee of the Ingrid A. Rutherford Family P.O. Box l4l6                       Amesbury/Hatters Point            Unknown         Y
        Trust dated 7/8/99                                               San Andreas, CA 95249
        Ingrid A. Rutherford, Trustee of the Ingrid A. Rutherford Family P.O. Box l4l6                       Gilroy                            Unknown         Y
        Trust dated 7/8/99                                               San Andreas, CA 95249
        Ingrid A. Rutherford, Trustee of the Ingrid A. Rutherford Family P.O. Box l4l6                       Gramercy Court Condos             Unknown         Y
        Trust dated 7/8/99                                               San Andreas, CA 95249




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In re             USA Commercial Mortgage Company                          ,                                                             Case No. 06-10725-LBR
                                     Debtor                                                                                                           (If known)




                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                    EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                          Current Market Value of
                                                                                                                                            Debtor's Interest in
                                                                 Description and Location of Property                                            Property


                                  Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Iona Pete Bakas Halliday, a single woman                           P O Box 39147                Eagle Meadows Development         Unknown          Y
                                                                           Ft Lauderdale, FL 33339
        Ira Jay Shapiro, an unmarried man & Blanche Shapiro, an            82-41 257th Street           Lerin Hills                       Unknown          Y
        unmarried woman, as joint tenants with the right of survivorship   Floral Park, NY 11004
        Ira Jay Shapiro, an unmarried man & Blanche Shapiro, an            82-41 257th Street           Lerin Hills                       Unknown          Y
        unmarried woman, as joint tenants with the right of survivorship   Floral Park, NY 11004
        Ira Jay Shapiro, an unmarried man & Blanche Shapiro, an            82-41 257th Street           Marlton Square 2nd                Unknown          Y
        unmarried woman, as joint tenants with the right of survivorship   Floral Park, NY 11004
        Ira Jay Shapiro, an unmarried man & Blanche Shapiro, an            82-41 257th Street           Marlton Square 2nd                Unknown          Y
        unmarried woman, as joint tenants with the right of survivorship   Floral Park, NY 11004
        IRA Services/First Regional Bank for the benefit of Dale           1 Charmaine Court            Gateway Stone                     Unknown          Y
        Westerhout IRA                                                     Novato, CA 94949
        IRA Services/First Regional Bank for the benefit of Dale           1 Charmaine Ct               Gateway Stone                     Unknown          Y
        Westerhout IRA                                                     Novato, CA 94949
        IRA Services/First Regional Bank for the benefit of Dale           1 Charmaine Court            BarUSA/$15,300,000                Unknown          Y
        Westerhout IRA                                                     Novato, CA 94949
        IRA Services/First Regional Bank for the benefit of Dale           1 Charmaine Ct               BarUSA/$15,300,000                Unknown          Y
        Westerhout IRA                                                     Novato, CA 94949
        Irene M. Miller Trustee of the Irene M. Miller Revocable Trust     617 Sycamore Ave             Opaque/Mt. Edge $7,350,000        Unknown          Y
        dated 12/14/00                                                     S. Milwaukee, WI 53172
        Irene M. Miller Trustee of the Irene M. Miller Revocable Trust     617 Sycamore Ave             HFA- North Yonkers                Unknown          Y
        dated 12/14/00                                                     S. Milwaukee, WI 53172
        Irene Trapman, an unmarried woman & Anton Trapman, an              67 25 Clyde St Apt # 2E      HFA-Clear Lake 2nd                Unknown          Y
        unmarried man, as joint tenants with the right of survivorship     Forest Hills, NY 11375
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Eagle Meadows Development         Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Placer Vineyards                  Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Marquis Hotel                     Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Tapia Ranch                       Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Bay Pompano Beach                 Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Amesbury/Hatters Point            Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Huntsville                        Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Gramercy Court Condos             Unknown          Y
                                                                           Boulder City, NV 89005
        Iris G. Corley Trustee of the Iris G. Corley Trust dated 9/19/84   1289 Ironwood St             Brookmere/Matteson $27,050,000    Unknown          Y
                                                                           Boulder City, NV 89005
        Irwin Cohen & Marilyn T. Cohen Trustees of the Cohen Living        9004 Rockville Ave           6425 Gess, LTD                    Unknown          Y
        Trust dated 3/6/90                                                 Las Vegas, NV 89143
        Irwin Cohen & Marilyn T. Cohen Trustees of the Cohen Living        9004 Rockville Ave           Hasley Canyon                     Unknown          Y
        Trust dated 3/6/90                                                 Las Vegas, NV 89143
        Irwin Cohen & Marilyn T. Cohen Trustees of the Cohen Living        9004 Rockville Ave           Brookmere/Matteson $27,050,000    Unknown          Y
        Trust dated 3/6/90                                                 Las Vegas, NV 89143
        Irwin Schneider & Ursula Schneider, husband & wife, as joint       25A Eastgate Drive           Bay Pompano Beach                 Unknown          Y
        tenants with right of survivorship                                 Boynton Beach, FL 33436
        Ivan Loebs, a married man dealing with his sole & separate         236 Garrett Avenue           Goss Road                         Unknown          Y
        property                                                           Chula Vista, CA 91910
        J V Marrone Trustee for the benefit of The J V Marrone             55 Colonial Drive            Eagle Meadows Development         Unknown          Y
        Revocable Trust dated 12/12/95                                     Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone             55 Colonial Drive            Placer Vineyards                  Unknown          Y
        Revocable Trust dated 12/12/95                                     Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone             55 Colonial Drive            HFA- North Yonkers                Unknown          Y
        Revocable Trust dated 12/12/95                                     Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone             55 Colonial Drive            Fiesta Oak Valley                 Unknown          Y
        Revocable Trust dated 12/12/95                                     Rancho Mirage, CA 92270




SCHEDULES                                                                              Exhibit B-21                                                    PAGE 116
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In re            USA Commercial Mortgage Company                       ,                                                                        Case No. 06-10725-LBR
                                   Debtor                                                                                                                    (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                 Current Market Value of
                                                                                                                                                   Debtor's Interest in
                                                             Description and Location of Property                                                       Property


                                Legal vesting                                        Mailing Address                     Loan Name                Amount     Contingent
        J V Marrone Trustee for the benefit of The J V Marrone              55 Colonial Drive           Bay Pompano Beach                        Unknown         Y
        Revocable Trust dated 12/12/95                                      Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone              55 Colonial Drive           BarUSA/$15,300,000                       Unknown         Y
        Revocable Trust dated 12/12/95                                      Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone              55 Colonial Drive           Hasley Canyon                            Unknown         Y
        Revocable Trust dated 12/12/95                                      Rancho Mirage, CA 92270
        J V Marrone Trustee for the benefit of The J V Marrone              55 Colonial Drive           Brookmere/Matteson $27,050,000           Unknown         Y
        Revocable Trust dated 12/12/95                                      Rancho Mirage, CA 92270
        J. Douglas Kirk and Catherine Kirk, Trustees of the Kirk Family 8 Belcanto                      6425 Gess, LTD                           Unknown         Y
        Trust dated 8/24/99                                                 Irvine, CA 92614
        J. Jarrell Estes & Sarah S. Estes, husband & wife, as joint tenants 3557 Brookwood Road         Amesbury/Hatters Point                   Unknown         Y
        with right of survivorship                                          Birmingham, AL 35223
        J. Kord Kelley, a married man dealing with his sole & separate      21 Wilcox St Unit C         Marquis Hotel                            Unknown         Y
        property                                                            Castle Rock, CO 80104
        J. Laurel Bushman Trustee of the Grant M. & J. Laurel Bushman PO Box 576                        Eagle Meadows Development                Unknown         Y
        Family Trust                                                        Overton, NV 89040
        J. Laurel Bushman Trustee of the Grant M. & J. Laurel Bushman PO Box 576                        Marlton Square                           Unknown         Y
        Family Trust                                                        Overton, NV 89040
        J. Richard McMichael & Karen L. McMichael Trustees of the           13840 18th Ave SW           Placer Vineyards                         Unknown         Y
        McMichael Living Trust dated 12/16/88                               Seattle, WA 98166
        Jack A. Krietzburg & Sharon M. Krietzburg Trustees of the           214 Calle Galisteo          Gramercy Court Condos                    Unknown         Y
        Crosstown Living Trust dated 11/12/98 (#3496-4193)                  Sante Fe, NM 87505
        Jack B Morton & Joy N Morton, husband & wife, as joint tenants 6921 Highway 67 East             HFA- North Yonkers                       Unknown         Y
        with right of survivorship                                          Alvarado, TX 76009
        Jack Faradjollah & Sharon Faradjollah, husband & wife, as joint 10851 Furlong Drive             Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                                  Santa Ana, CA 92705
        Jack Faradjollah & Sharon Faradjollah, husband & wife, as joint 10851 Furlong Drive             Wasco Investments                        Unknown         Y
        tenants with right of survivorship                                  Santa Ana, CA 92705
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint 20155 NE 38th Ct Unit 1603        Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                                  Aventura, FL 33180
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint 20155 NE 38th Ct Unit 1603        Bay Pompano Beach                        Unknown         Y
        tenants with right of survivorship                                  Aventura, FL 33180
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint 20155 NE 38th Ct Unit 1603        HFA- Windham                             Unknown         Y
        tenants with right of survivorship                                  Aventura, FL 33180
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint 20155 NE 38th Ct Unit 1603        Marlton Square 2nd                       Unknown         Y
        tenants with right of survivorship                                  Aventura, FL 33180
        Jack Goldenthal & Sylvia Goldenthal, husband & wife, as joint 20155 NE 38th Ct Unit 1603        Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                                  Aventura, FL 33180
        Jack Humphry & Alice Humphry Trustees of the Humphry 1999 3825 Champagne Wood Drive             Margarita Annex                          Unknown         Y
        Trust                                                               North Las Vegas, NV 89031
        Jack Humphry & Alice Humphry Trustees of the Humphry 1999 3825 Champagne Wood Drive             Placer Vineyards                         Unknown         Y
        Trust                                                               North Las Vegas, NV 89031
        Jack Humphry & Alice Humphry Trustees of the Humphry 1999 3825 Champagne Wood Drive             Amesbury/Hatters Point                   Unknown         Y
        Trust                                                               North Las Vegas, NV 89031
        Jack J. Beaulieu Trustee of the Jack J. Beaulieu Revocable Living 2502 Palma Vista Ave          HFA- Clear Lake                          Unknown         Y
        Trust dated 9/1/94                                                  Las Vegas, NV 89121
        Jack J. Beaulieu Trustee of the Jack J. Beaulieu Revocable Living 2502 Palma Vista Ave          Fiesta Oak Valley                        Unknown         Y
        Trust dated 9/1/94                                                  Las Vegas, NV 89121
        Jack J. Beaulieu Trustee of the Jack J. Beaulieu Revocable Living 2502 Palma Vista Ave          Gramercy Court Condos                    Unknown         Y
        Trust dated 9/1/94                                                  Las Vegas, NV 89121
        Jack L. Rankin, a married man dealing with his sole & separate 2128 Rainbow Falls               Gramercy Court Condos                    Unknown         Y
        property                                                            Las Vegas, NV 89134
        Jack L. Rankin, a married man dealing with his sole & separate 2128 Rainbow Falls               Brookmere/Matteson $27,050,000           Unknown         Y
        property                                                            Las Vegas, NV 89134
        Jack M. Dunphy, a married man dealing with his sole & separate 3898 Chase Glen Circle           Riviera - Homes for America Holdings,    Unknown         Y
        property                                                            Las Vegas, NV 89121         L.L.C.
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust          3150 E Tropicana #234       Gramercy Court Condos                    Unknown         Y
        dated 6/28/88                                                       Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust          3150 E Tropicana #234       Margarita Annex                          Unknown         Y
        dated 6/28/88                                                       Las Vegas, NV 89121




SCHEDULES                                                                            Exhibit B-21                                                             PAGE 117
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In re             USA Commercial Mortgage Company                         ,                                                             Case No. 06-10725-LBR
                                    Debtor                                                                                                           (If known)




                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                   EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                         Current Market Value of
                                                                                                                                           Debtor's Interest in
                                                               Description and Location of Property                                             Property


                                 Legal vesting                                       Mailing Address                   Loan Name          Amount     Contingent
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Huntsville                        Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Harbor Georgetown                 Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        HFA- Windham                      Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Placer Vineyards                  Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Fiesta USA/Stoneridge             Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Fiesta Oak Valley                 Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Eagle Meadows Development         Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Bay Pompano Beach                 Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Amesbury/Hatters Point            Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        6425 Gess, LTD                    Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        HFA- North Yonkers                Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Gateway Stone                     Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Clear Creek Plantation            Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack Polen Trustee of the Jack & Gladys Polen Family Trust        3150 E Tropicana #234        Brookmere/Matteson $27,050,000    Unknown           Y
        dated 6/28/88                                                     Las Vegas, NV 89121
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants   9900 Wilbur May Pkwy #4701   Tapia Ranch                       Unknown           Y
        with right of survivorship                                        Reno, NV 89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants   9900 Wilbur May Pkwy #4701   Shamrock Tower, LP                Unknown           Y
        with right of survivorship                                        Reno, NV 89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants   9900 Wilbur May Pkwy #4701   HFA- North Yonkers                Unknown           Y
        with right of survivorship                                        Reno, NV 89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants   9900 Wilbur May Pkwy #4701   Bay Pompano Beach                 Unknown           Y
        with right of survivorship                                        Reno, NV 89521
        Jack R. Clark & Linda C. Reid, husband & wife, as joint tenants   9900 Wilbur May Pkwy #4701   HFA- Clear Lake                   Unknown           Y
        with right of survivorship                                        Reno, NV 89521
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     Gramercy Court Condos             Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     Gramercy Court Condos             Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     Eagle Meadows Development         Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     Eagle Meadows Development         Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     HFA- North Yonkers                Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack R. Mennis & Susan A. Mennis, husband & wife, as joint        4074 Little Spring Drive     HFA- North Yonkers                Unknown           Y
        tenants with right of survivorship                                Allison Park, PA 15101
        Jack Snow & Heidi Snow, husband & wife, as joint tenants with     P.O. Box 67                  6425 Gess, LTD                    Unknown           Y
        right of survivorship                                             Zephyr, NV 89448
        Jacqueline Barbara Valiente Trustee of the Jacqueline Barbara     8804 Rio Grande Falls        Harbor Georgetown                 Unknown           Y
        Valiente Revocable Living Trust                                   Las Vegas, NV 89178
        Jacqueline Corkill, an unmarried woman & David Corkill, an        7057 Lexington Avenue 106    Bay Pompano Beach                 Unknown           Y
        unmarried man, as joint tenants with right of survivorship        Los Angeles, CA 90038
        Jacqueline Corkill, an unmarried woman & David Corkill, an        7057 Lexington Avenue 106    HFA- North Yonkers                Unknown           Y
        unmarried man, as joint tenants with right of survivorship        Los Angeles, CA 90038
        Jacqueline S. Stroehmann, an unmarried woman                      349 Lincoln Ave.             Placer Vineyards                  Unknown           Y
                                                                          Williamsport, PA 17701




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In re            USA Commercial Mortgage Company                         ,                                                            Case No. 06-10725-LBR
                                   Debtor                                                                                                          (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                       Current Market Value of
                                                                                                                                         Debtor's Interest in
                                                             Description and Location of Property                                             Property


                                Legal vesting                                        Mailing Address                    Loan Name        Amount    Contingent
        Jacqueline Thurmond, a married woman dealing with her sole &     1512 MacDonald Ranch Dr       Amesbury/Hatters Point          Unknown            Y
        separate property & Traci Landig, a married woman dealing with   Henderson, NV 89012
        her sole & separate property
        Jacqueline Thurmond, a married woman dealing with her sole &     347 Marlin Cove Road          Amesbury/Hatters Point          Unknown            Y
        separate property & Traci Landig, a married woman dealing with   Henderson, NV 89012
        her sole & separate property
        Jacqueline Thurmond, a married woman dealing with her sole &     1512 MacDonald Ranch Dr       Amesbury/Hatters Point          Unknown            Y
        separate property & Traci Landig, a married woman dealing with   Henderson, NV 89012
        her sole & separate property
        Jacqueline Thurmond, a married woman dealing with her sole &     1512 MacDonald Ranch Dr       Margarita Annex                 Unknown            Y
        separate property with Traci Landig as Beneficiary               Henderson, NV 89012
        Jacqueline Thurmond, a married woman dealing with her sole &     347 Marlin Cove Road          Margarita Annex                 Unknown            Y
        separate property with Traci Landig as Beneficiary               Henderson, NV 89012
        Jacqueline Thurmond, a married woman dealing with her sole &     1512 MacDonald Ranch Dr       Margarita Annex                 Unknown            Y
        separate property with Traci Landig as Beneficiary               Henderson, NV 89012
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         Gateway Stone                   Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         Marlton Square                  Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         HFA- Windham                    Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         Fiesta USA/Stoneridge           Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         Bay Pompano Beach               Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Coy & Margaret G. Coy Trustees of the James A. Coy      3333 Royal Glen Court         Fiesta Oak Valley               Unknown            Y
        & Margaret G. Coy Revocable Trust dated 9/27/00                  Las Vegas, NV 89117
        James A. Hodgson & Cynthia H. Hodgson Trustees of the            20758 N Enchantment Dr        Clear Creek Plantation          Unknown            Y
        Hodgson Living Trust dated 1/12/90                               Surprise, AZ 85387
        James A. Hodgson & Cynthia H. Hodgson Trustees of the            20758 N Enchantment Dr        HFA- North Yonkers              Unknown            Y
        Hodgson Living Trust dated 1/12/90                               Surprise, AZ 85387
        James Allen Linthicum and Carol Diane Linthicum, Trustees of     21886 Wilson Court            Bay Pompano Beach               Unknown            Y
        the Linthicum Revocable Trust, dated 1/14/80                     Cupertino, CA 95014
        James Allen Linthicum and Carol Diane Linthicum, Trustees of     21886 Wilson Court            Eagle Meadows Development       Unknown            Y
        the Linthicum Revocable Trust, dated 1/14/80                     Cupertino, CA 95014
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Anchor B, LLC                   Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Anchor B, LLC                   Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Placer Vineyards                Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Placer Vineyards                Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Margarita Annex                 Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Margarita Annex                 Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Marlton Square                  Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Marlton Square                  Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Tapia Ranch                     Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Tapia Ranch                     Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Amesbury/Hatters Point          Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Amesbury/Hatters Point          Unknown            Y
        Family Trust                                                     Las Vegas, NV 89123




SCHEDULES                                                                             Exhibit B-21                                                   PAGE 119
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In re            USA Commercial Mortgage Company                         ,                                                                Case No. 06-10725-LBR
                                    Debtor                                                                                                             (If known)




                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                  EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                           Current Market Value of
                                                                                                                                             Debtor's Interest in
                                                              Description and Location of Property                                                Property


                                 Legal vesting                                       Mailing Address                   Loan Name            Amount     Contingent
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     HFA- Clear Lake                     Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     HFA- Clear Lake                     Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Brookmere/Matteson $27,050,000      Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Brookmere/Matteson $27,050,000      Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Copper Sage Commerce Center, LLC    Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell & Reba Jo Cardwell Trustees of the Cardwell    505 E Windmill Ln 1-B-158     Copper Sage Commerce Center, LLC    Unknown         Y
        Family Trust                                                     Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     Fiesta USA/Stoneridge               Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     Fiesta USA/Stoneridge               Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     HFA- Clear Lake                     Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     HFA- Clear Lake                     Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Cardwell Trustee of the Cardwell Charitable Trust       505 E Windmill Ln 1-B-158     Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Las Vegas, NV 89123
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Gramercy Court Condos               Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Harbor Georgetown                   Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 HFA- North Yonkers                  Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Eagle Meadows Development           Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 BarUSA/$15,300,000                  Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Placer Vineyards                    Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Fiesta Oak Valley                   Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Corison Trustee of the James B. Corison Trust dated     P O Box 21214                 Brookmere/Matteson $27,050,000      Unknown         Y
        12/3/98                                                          Riverside, CA 92516
        James B. Schryver Trustee of the James B. Schryver 1990 Trust    41880 Creighton Rd            Ashby Financial $7,200,000          Unknown         Y
        dated 12/6/90                                                    Fall River Mills, CA 96028
        James Brady & Evelyn Brady, husband & wife                       10701 S E Evergreen Hwy       BarUSA/$15,300,000                  Unknown         Y
                                                                         Vancouver, WA 98664
        James Brady & Evelyn Brady, husband & wife                       10701 S E Evergreen Hwy       Brookmere/Matteson $27,050,000      Unknown         Y
                                                                         Vancouver, WA 98664
        James C. Still, a married man dealing with his sole & separate   25 Townhouse Ln               Gramercy Court Condos               Unknown         Y
        property                                                         Corpus Christi, TX 78412
        James C. Still, a married man dealing with his sole & separate   25 Townhouse Ln               Hasley Canyon                       Unknown         Y
        property                                                         Corpus Christi, TX 78412
        James C. Still, a married man dealing with his sole & separate   25 Townhouse Ln               Fiesta Oak Valley                   Unknown         Y
        property                                                         Corpus Christi, TX 78412
        James C. Wu & Jeanne K. Wu Trustees of the Wu Family Trust       67 Marsh Road                 Amesbury/Hatters Point              Unknown         Y
        dated 06/19/91                                                   Atherton, CA 94027
        James C. Wu & Jeanne K. Wu Trustees of the Wu Family Trust       67 Marsh Road                 BarUSA/$15,300,000                  Unknown         Y
        dated 06/19/91                                                   Atherton, CA 94027
        James C. Wu & Jeanne K. Wu Trustees of the Wu Family Trust       67 Marsh Road                 Gramercy Court Condos               Unknown         Y
        dated 06/19/91                                                   Atherton, CA 94027
        James C. Wu & Jeanne K. Wu Trustees of the Wu Family Trust       67 Marsh Road                 HFA- Riviera 2nd                    Unknown         Y
        dated 06/19/91                                                   Atherton, CA 94027




SCHEDULES                                                                             Exhibit B-21                                                      PAGE 120
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In re            USA Commercial Mortgage Company                       ,                                                               Case No. 06-10725-LBR
                                    Debtor                                                                                                          (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
                Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                              Description and Location of Property                                             Property


                                 Legal vesting                                   Mailing Address                     Loan Name            Amount    Contingent
        James Cameron & Kirsten Cameron, husband & wife, as joint   774 Mays Blvd 10 PMB 313         Huntsville                         Unknown            Y
        tenants with right of survivorship                          Incline Village, NV 89451
        James Cameron & Kirsten Cameron, husband & wife, as joint   774 Mays Blvd 10 PMB 313         Marquis Hotel                      Unknown            Y
        tenants with right of survivorship                          Incline Village, NV 89451
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      Placer Vineyards 2nd               Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      Placer Vineyards 2nd               Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      HFA- Windham                       Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      HFA- Windham                       Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      Cabernet                           Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, a married man dealing with his sole & separate9775 S Maryland Pkwy # F102      Cabernet                           Unknown            Y
        property                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      HFA- Riviera 2nd                   Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      HFA- Riviera 2nd                   Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Marquis Hotel                      Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Marquis Hotel                      Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Amesbury/Hatters Point             Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Amesbury/Hatters Point             Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Hasley Canyon                      Unknown            Y
                                                                    Las Vegas, NV 89123
        James Cielen, an unmarried man                              9775 S Maryland Pkwy # F102      Hasley Canyon                      Unknown            Y
                                                                    Las Vegas, NV 89123
        James Columbus Presswood & Sharon Elaine Presswood Trustees 9227 Arbor Trail Drive           Opaque/Mt. Edge $7,350,000         Unknown            Y
        of the Presswood Living Trust dated 12/18/02                Dallas, TX 75243
        James Columbus Presswood & Sharon Elaine Presswood Trustees 9227 Arbor Trail Drive           Opaque/Mt. Edge $7,350,000         Unknown            Y
        of the Presswood Living Trust dated 12/18/02                Dallas, TX 75243
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    Bay Pompano Beach                  Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   Bay Pompano Beach                  Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    HFA- North Yonkers                 Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   HFA- North Yonkers                 Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    Tapia Ranch                        Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   Tapia Ranch                        Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    Placer Vineyards                   Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   Placer Vineyards                   Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    Marquis Hotel                      Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   Marquis Hotel                      Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 PO Box 775107                    Margarita Annex                    Unknown            Y
                                                                    Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                 P O Box 775107                   Margarita Annex                    Unknown            Y
                                                                    Steam Boat Springs, CO 80477




SCHEDULES                                                                         Exhibit B-21                                                        PAGE 121
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In re            USA Commercial Mortgage Company                      ,                                                                        Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                            Description and Location of Property                                                       Property


                                Legal vesting                                      Mailing Address                     Loan Name                 Amount     Contingent
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  Huntsville                               Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 Huntsville                               Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  HFA- Windham                             Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 HFA- Windham                             Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  6425 Gess, LTD                           Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 6425 Gess, LTD                           Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  Eagle Meadows Development                Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 Eagle Meadows Development                Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  Freeway 101                              Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 Freeway 101                              Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  BarUSA/$15,300,000                       Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 BarUSA/$15,300,000                       Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  Amesbury/Hatters Point                   Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 Amesbury/Hatters Point                   Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  HFA- Clear Lake                          Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 HFA- Clear Lake                          Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     PO Box 775107                  Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Dery & Ann R. Dery, husband & wife                     P O Box 775107                 Brookmere/Matteson $27,050,000           Unknown         Y
                                                                        Steam Boat Springs, CO 80477
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. NULL                             Fiesta Oak Valley                        Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           NULL
                                                                        NULL, NULL
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. 17502 N Rainbow Blvd             Fiesta Oak Valley                        Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           Surprise, AZ 85734
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. NULL                             Placer Vineyards                         Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           NULL
                                                                        NULL, NULL
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. 17502 N Rainbow Blvd             Placer Vineyards                         Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           Surprise, AZ 85734
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. NULL                             Opaque/Mt. Edge $7,350,000               Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           NULL
                                                                        NULL, NULL
        James D. Gillmore & Lynn M. Gillmore Trustees of the James D. 17502 N Rainbow Blvd             Opaque/Mt. Edge $7,350,000               Unknown         Y
        Gillmore & Lynn M. Gillmore Living Trust dated 2/2/05           Surprise, AZ 85734
        James E. Ahern & Mildred Ahern Joint Tenants With Of            3065 N 158th Ave               Amesbury/Hatters Point                   Unknown         Y
        Survivorship                                                    Goodyear, AZ 85338
        James E. Ahern, an unmarried man                                6766 Runnymede Drive           Anchor B, LLC                            Unknown         Y
                                                                        Sparks, NV 89436
        James E. Ahern, an unmarried man                                6766 Runnymede Drive           Opaque/Mt. Edge $7,350,000               Unknown         Y
                                                                        Sparks, NV 89436
        James E. Hill, a married man dealing with his sole and separate 7855 N Pershing Ave            Riviera - Homes for America Holdings,    Unknown         Y
        property                                                        Stockton, CA 95207             L.L.C.




SCHEDULES                                                                           Exhibit B-21                                                             PAGE 122
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In re            USA Commercial Mortgage Company                       ,                                                                     Case No. 06-10725-LBR
                                   Debtor                                                                                                                 (If known)




                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                              Current Market Value of
                                                                                                                                                Debtor's Interest in
                                                            Description and Location of Property                                                     Property


                                Legal vesting                                     Mailing Address                    Loan Name                 Amount     Contingent
        James E. Lofton & Denise G. Lofton, husband & wife as joint      1573 Diamond County Dr      6425 Gess, LTD                           Unknown         Y
        tenants with right of survivorship                               Reno, NV 89521
        James E. Lofton & Denise G. Lofton, husband & wife as joint      1573 Diamond County Dr      Bay Pompano Beach                        Unknown         Y
        tenants with right of survivorship                               Reno, NV 89521
        James E. Lofton & Denise G. Lofton, husband & wife as joint      1573 Diamond County Dr      Shamrock Tower, LP                       Unknown         Y
        tenants with right of survivorship                               Reno, NV 89521
        James E. Mathieson & Doris R. Mathieson, husband & wife, as      5100 Jordan Frey Unit 101   Brookmere/Matteson $27,050,000           Unknown         Y
        joint tenants with right of survivorship                         Las Vegas, NV 89130
        James F. Heaton and Nadine B. Heaton, Trustees of The Heaton     P O Box 120                 Lerin Hills                              Unknown         Y
        Family Trust Dated December 4, 1995                              Gunlock, UT 84733
        James F. Huthert & Elizabeth A. Huthert                          487 Sudden Valley           HFA- Windham                             Unknown         Y
                                                                         Bellingham, WA 98229
        James F. Huthert & Elizabeth A. Huthert                          487 Sudden Valley           Wasco Investments                        Unknown         Y
                                                                         Bellingham, WA 98229
        James F. Lawrence and Arla M. Lawrence, trustees of The James 14412 N. Giant Saguaro Place   HFA-Clear Lake 2nd                       Unknown         Y
        F. Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04 Tucson, AZ 85737
        James F. Lawrence and Arla M. Lawrence, trustees of The James 14412 N. Giant Saguaro Place   Marlton Square 2nd                       Unknown         Y
        F. Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04 Tucson, AZ 85737
        James F. Lawrence and Arla M. Lawrence, trustees of The James 14412 N. Giant Saguaro Place   Riviera - Homes for America Holdings,    Unknown         Y
        F. Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04 Tucson, AZ 85737                 L.L.C.
        James F. Lawrence and Arla M. Lawrence, trustees of The James 14412 N. Giant Saguaro Place   Tapia Ranch                              Unknown         Y
        F. Lawrence and Arla Lawrence Revocable Trust Dated 1-19-04 Tucson, AZ 85737
        James Feeney Trustee of the E & M Hardware Profit Sharing Plan P O Box 19122                 Fiesta Oak Valley                        Unknown         Y
                                                                         Reno, NV 89511
        James Feeney Trustee of the E & M Hardware Profit Sharing Plan P O Box 19122                 Fiesta USA/Stoneridge                    Unknown         Y
                                                                         Reno, NV 89511
        James Feeney Trustee of the E & M Hardware Profit Sharing Plan P O Box 19122                 Ten-Ninety, Ltd./$4,150,000              Unknown         Y
                                                                         Reno, NV 89511
        James G. Barnhart & Mary Ann Barnhart Trustees of the            10311 Sweet Fennel Drive    Amesbury/Hatters Point                   Unknown         Y
        Barnhart Family Trust dated 10/2/92                              Las Vegas, NV 89135
        James Gary MachettaTrustee of the James Gary Machetta Trust P O Box 2242                     BarUSA/$15,300,000                       Unknown         Y
        dated 7/9/02                                                     Denver, CO 80201
        James Gary MachettaTrustee of the James Gary Machetta Trust P O Box 2242                     Shamrock Tower, LP                       Unknown         Y
        dated 7/9/02                                                     Denver, CO 80201
        James Gee Ton & Dorothy Ton Trustees of the Ton 1998             10405 Trenton Place         Eagle Meadows Development                Unknown         Y
        Revocable Trust                                                  Las Vegas, NV 89134
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  Amesbury/Hatters Point                   Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  Tapia Ranch                              Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  Placer Vineyards                         Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  Opaque/Mt. Edge $7,350,000               Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  Fiesta Oak Valley                        Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James H. Lidster & Phyllus M. Lidster Trustees of the James H. P O Box 2577                  HFA- North Yonkers                       Unknown         Y
        Lidster Family Trust dated 1/20/92                               Minden, NV 89423
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      Eagle Meadows Development                Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      Wasco Investments                        Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      Placer Vineyards 2nd                     Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      Hasley Canyon                            Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      HFA- Riviera 2nd                         Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive      Brookmere/Matteson $27,050,000           Unknown         Y
                                                                         Las Vegas, NV 89122




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In re            USA Commercial Mortgage Company                      ,                                                                        Case No. 06-10725-LBR
                                   Debtor                                                                                                                   (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                                Current Market Value of
                                                                                                                                                  Debtor's Interest in
                                                             Description and Location of Property                                                      Property


                                Legal vesting                                       Mailing Address                    Loan Name                 Amount     Contingent
        James J. Duffy Jr. Trustee of the Duffy 1986 Trust dated 6/18/86 4569 South Sacks Drive        Cabernet                                 Unknown         Y
                                                                         Las Vegas, NV 89122
        James J. Goertz & Phyllis A. Goertz Trustees of the Goertz       5210 Mountcrest Lane          HFA- North Yonkers                       Unknown         Y
        Family Trust dated 1/31/03                                       Reno, NV 89523
        James Klega & Shirley Klega Trustees of the James & Shirley      6805 Anteus Court             Tapia Ranch                              Unknown         Y
        Klega Trust dated 06/22/95                                       Las Vegas, NV 89131
        James Klega & Shirley Klega Trustees of the James & Shirley      6805 Anteus Court             Riviera - Homes for America Holdings,    Unknown         Y
        Klega Trust dated 06/22/95                                       Las Vegas, NV 89131           L.L.C.
        James L. Schulte and Cynthia L. Schulte, husband and wife as     1973 N. Nellis #180           Tapia Ranch                              Unknown         Y
        joint tenants with the right of survivorship                     Las Vegas, NV 89115
        James Liem Trustee of the Liem Family Trust                      3324 East Valley Vista        6425 Gess, LTD                           Unknown         Y
                                                                         Paradise Valley, AZ 85253
        James Liem Trustee of the Liem Family Trust                      3324 East Valley Vista        Brookmere/Matteson $27,050,000           Unknown         Y
                                                                         Paradise Valley, AZ 85253
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd                     Placer Vineyards                         Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd.                    Placer Vineyards                         Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd                     Shamrock Tower, LP                       Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd.                    Shamrock Tower, LP                       Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd                     Golden State Investments II              Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James M. McConnell and Maudrene F. McConnell, Trustees of 970 Fairway Blvd.                    Golden State Investments II              Unknown         Y
        the McConnell Family Trust dated 12/3/81                         Incline Village, NV 89451
        James Michael Henry, a married man dealing with his sole &       629 Backbone Mountain Drive   Eagle Meadows Development                Unknown         Y
        separate property                                                Henderson, NV 89012
        James Michael Moore & Jody C. Moore, husband & wife, as joint 2009 Willow Tree Ct              Placer Vineyards                         Unknown         Y
        tenants with right of survivorship                               Thousand Oaks, CA 91362
        James Michael Moore & Jody C. Moore, husband & wife, as joint 2009 Willow Tree Ct              Freeway 101                              Unknown         Y
        tenants with right of survivorship                               Thousand Oaks, CA 91362
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   Amesbury/Hatters Point                   Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   Amesbury/Hatters Point                   Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   HFA- North Yonkers                       Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   HFA- North Yonkers                       Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   HFA- Riviera 2nd                         Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Deglandon, an unmarried man & Maureen Detoy, an         P O Box 958                   HFA- Riviera 2nd                         Unknown         Y
        unmarried woman, as joint tenants with right of survivorship     North San Juan, CA 95960
        James N. Nicksick & Z. Kay Nicksick Trustees of the Nicksick     4337 Fanuel Street            Fiesta Oak Valley                        Unknown         Y
        Family Trust dtd 3/19/98                                         San Diego, CA 92109
        James Nikolovski & Natalija Nikolovski, husband & wife, as joint 6529 Crest Top Drive          Amesbury/Hatters Point                   Unknown         Y
        tenants with right of survivorship                               West Bloomfield, MI 48322
        James Nikolovski & Natalija Nikolovski, husband & wife, as joint 6529 Crest Top Drive          Brookmere/Matteson $27,050,000           Unknown         Y
        tenants with right of survivorship                               West Bloomfield, MI 48322
        James P. Randisi and Mary M. Randisi, husband and wife, as       806 Chestnut Glen Garth       Lerin Hills                              Unknown         Y
        joint tenants with the rights of survivorship                    Towson, MD 21204
        James Paul Goode, an unmarried man                               300 John Thomas Ln            Marquis Hotel                            Unknown         Y
                                                                         Reno, NV 89506
        James Paul Goode, an unmarried man                               300 John Thomas Lane          Marquis Hotel                            Unknown         Y
                                                                         Reno, NV 89506
        James Paul Goode, an unmarried man                               300 John Thomas Ln            Marlton Square 2nd                       Unknown         Y
                                                                         Reno, NV 89506
        James Paul Goode, an unmarried man                               300 John Thomas Lane          Marlton Square 2nd                       Unknown         Y
                                                                         Reno, NV 89506




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In re            USA Commercial Mortgage Company                      ,                                                                Case No. 06-10725-LBR
                                   Debtor                                                                                                           (If known)




                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                               EXHIBIT B-21
               Other Contingent and Uniquidated Claims of Every Nature, Including Tax Refunds, Counterclaims of the Debtor, and Rights to Setoff Claims

                                                                                                                                        Current Market Value of
                                                                                                                                          Debtor's Interest in
                                                             Description and Location of Property                                              Property


                                Legal vesting                                    Mailing Address                  Loan Name              Amount     Contingent
        James Paul Goode, an unmarried man                            300 John Thomas Ln            HFA- Windham                        Unknown           Y
                                                                      Reno, NV 89506
        James Paul Goode, an unmarried man                            300 John Thomas Lane          HFA- Windham                        Unknown           Y
                                                                      Reno, NV 89506
        James Paul Goode, an unmarried man                            300 John Thomas Ln            Ashby Financial $7,200,000          Unknown           Y
                                                                      Reno, NV 89506
        James Paul Goode, an unmarried man                            300 John Thomas Lane          Ashby Financial $7,200,000          Unknown           Y
                                                                      Reno, NV 89506
        James Paul Goode, an unmarried man                            300 John Thomas Ln            Margarita Annex                     Unknown           Y
                                                                      Reno, NV 89506
        James Paul Goode, an unmarried man                            300 John Thomas Lane          Margarita Annex                     Unknown           Y
                                                                      Reno, NV 89506
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     HFA- North Yonkers                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   HFA- North Yonkers                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    HFA- North Yonkers                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     6425 Gess, LTD                      Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   6425 Gess, LTD                      Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    6425 Gess, LTD                      Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     Copper Sage Commerce Center, LLC    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   Copper Sage Commerce Center, LLC    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    Copper Sage Commerce Center, LLC    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     BarUSA/$15,300,000                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   BarUSA/$15,300,000                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    BarUSA/$15,300,000                  Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     Bay Pompano Beach                   Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   Bay Pompano Beach                   Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    Bay Pompano Beach                   Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     Freeway 101                         Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   Freeway 101                         Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    Freeway 101                         Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     HFA- Clear Lake                     Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   HFA- Clear Lake                     Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    HFA- Clear Lake                     Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W Sahara Ave PMB 220     Placer Vineyards                    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave. PMB 220   Placer Vineyards                    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117
        James R. Bonfiglio & Donna M. Bonfiglio General Partners of   8635 W. Sahara Ave PMB 220    Placer Vineyards                    Unknown           Y
        the Broadwalk Investments Limited Partnership                 Las Vegas, NV 89117




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